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                      Exhibit 2
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                                   U.S. Department of Justice

                                   United States Attorney
                                   Northern District of Illinois
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                                                 August 8, 2022

Via Email and U.S. Mail (Enclosures)

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Counsel for Derrel McDavid                                 Counsel for Derrel McDavid

        Re:      United States v. Robert Sylvester Kelly, et al., No. 19 CR 567

Dear Counsel:

     The government submits this supplemental expert disclosure for Dr. Darrel
Turner, pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G).

        Background and Qualifications

       Dr. Darrel Turner has spent approximately 18 years in the field of clinical
psychology. As described in his curriculum vitae, Dr. Turner has extensive experience
conducting forensic and trial evaluations of adults and juveniles. In his private
clinical practice, Dr. Turner has treated hundreds of victims of sexual abuse. Dr.
Turner is one of fifteen Experts in Offender Psychology appointed to the U.S.
Department of Justice National Strategy SME Child Exploitation and Human
Trafficking Council to U.S. Congress. Dr. Turner regularly presents on topics related
to child exploitation, including the grooming process. For example, Dr. Turner is
scheduled to present at the internationally recognized Crimes Against Children
Conference in Dallas, Texas, during the week of August 8, 2022. Specifically, Dr.
Turner will be giving presentations about grooming and detecting deception among
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child molesters. Dr. Turner has also presented on his peer-reviewed publication,
“Grooming and Other Offense-Related Behaviors in Child Molestation Cases: An
Analysis of Offender Self-Reported Behaviors and Beliefs.” See Exhibit A.

       Dr. Turner has been qualified as a clinical and forensic psychology expert in
numerous court cases, including over a dozen federal criminal cases. See Case List,
attached as Exhibit B. For example, a transcript of Dr. Turner’s testimony in United
States v. Telles, Case No. 16 CR 424 (N.D. Cal. 2019), an online enticement and
international child sex traveler case, was provided to you with the government’s
expert disclosure dated July 1, 2022. The Ninth Circuit affirmed the conviction in
that case and upheld Dr. Turner’s testimony on the topics of grooming and victims’
delayed disclosure of abuse. See United States v. Telles, 18 F.4th 290, 302-03 (9th Cir.
2021). Additional transcripts of Dr. Turner’s testimony in child exploitation cases are
enclosed with this supplemental disclosure, including:

      United States v. Ebert, Case No. 19 CR 244 (W.D.N.C. 2020) (Exhibit C)
      United States v. Disney, Case No. 12 CR 287 (E.D. Pa. 2013) (Exhibit D)
      United States. v. Gillis, Case No. 15 CR 226 (M.D. Fla. 2016) (offender risk
       assessment) (Exhibit E)


       Expected Testimony

       Dr. Turner will present general expert testimony on the topics listed in the
government’s disclosure dated July 1, 2022. These topics fall into two main categories:
(1) the grooming behavior of sex offenders against children; and (2) delayed/partial
disclosures by victims. Dr. Turner’s opinions are based on his training, experience,
and research, as detailed in his curriculum vitae. Dr. Turner has not reviewed any
case-specific materials for this case and has not been provided with any facts specific
to the offender or victims in this case, other than the names of the defendants.

       Specifically, Dr. Turner is expected to testify about the following:

       The process of grooming

       Grooming in the context of child molestation by adults is the process by which
offenders isolate intended victims, gradually introduce sexual themes and behaviors
to systematically desensitize victims to the introduction of sex into the relationship,
and prevent victims from disclosing.

        Various specific behaviors have been identified by researchers and scholars as
grooming by adult offenders, such as identifying or targeting specific children, giving
gifts, giving compliments, special treatment or special activities, engaging in peer-
like environments and sexual desensitizing, isolation, placing the responsibility on

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the child, secrecy, and favoritism. Grooming is directly intended to facilitate access
to the victim, however, the process also serves to manipulate family members of
potential victims and individuals in the victim’s social network, in order to facilitate
abuse.

       The offender isolates the victim in an effort to destroy the victim’s frame of
reference. The offender then becomes the frame of reference for the victim. Once the
offender has isolated the victim, the offender often gradually introduces sexual
themes, which may include jokes, references to pornography, other sexual images or
references, so that the victim slowly becomes adjusted to sexual acts being a part of
the relationship. This is the process by which an offender “normalizes” sexual acts
with the child victim.

       Research shows that grooming establishes an emotional connection,
establishing trust and rapport between the offender and the victim. The offender uses
the grooming process to pick up on insecurities and vulnerabilities of the victim and
then uses these to develop trust and dependency. Offenders typically demonstrate
antisocial behaviors that enable them to act as master manipulators of insecure and
vulnerable victims. Offenders will often target victims who are disenchanted with
home-life and life circumstances, display insecurities or depression, and are therefore
easier to manipulate and control.

      The grooming process can also involve gifts (according to one study, 43% of
offenders report using gifts), but these gifts are often tied to the emotional connection
with the victim and can reinforce this relationship on multiple levels.

      Isolation often causes the child victim to feel complicit in the activities,
including the abuse, and very often leads the victim to feel an emotional connection
with the offender. These very by-products of the grooming phase are a direct cause of
delayed or non-disclosure of child sexual abuse.

      Delayed disclosure

       The process of grooming develops a strong emotional connection between the
offender and the victim. In one study, 46% of victims reported being in love with or
feeling a close friendship with the offender.

       Because the grooming process has established trust and an emotional
connection, the victim has already been taught not to disclose. The victim may be
afraid of getting in trouble. The offender has groomed the victim away from their
family and authority figures who would be the figures they would disclose to.

       Of those victims who do disclose their sexual abuse, a significant number don’t
disclose until adulthood. Over half of victims wait at least three years to disclose fully.

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A very small percentage of sexual abuse crimes are reported; a very small percentage
of all sexual abuse crimes result in criminal convictions. Victims will often defend the
offender. Partial disclosure of the abuse is also a common result after a victim has
been groomed by an offender. The victim will often test how adults react to partial
details of the abuse to see whether it is safe to tell all of the details.

       In support of his opinions, Dr. Turner will reference his own clinical
experience, research, and expertise. He will also reference findings from some of the
following studies:

      Akdeniz, Y. (2009). Internet Child Pornography and the Law: National and
       International Responses. Surrey: Ashgate Publishing.
      Beauregard, E., Proulx, J., Rossmo, D.K., Leclerc, B., & Allaire, J.F. (2007). A
       script analysis of patterns in the hunting process of serial sex offenders.
       Criminal Justice and Behavior, 34, 1069-1084.
      Bennett, N., & O’Donohue, W. (2014). The construct of grooming in child sexual
       abuse: conceptual and measurement issues. Journal Of Child Sexual Abuse,
       23(8), 957-976. doi:10.1080/10538712.2014.960632.
      Black, P. J., Wollis, M., Woodworth, M., & Hancock, J. T. (2015). Research
       article: A linguistic analysis of grooming strategies of online child sex
       offenders: Implications for our understanding of predatory sexual behavior in
       an increasingly computer-mediated world. Child Abuse & Neglect, 44140-149.
       doi:10.1016/j.chiabu.2014.12.004.
      Brackenridge, C. H. (2001). Spoilsports: Understanding and preventing sexual
       exploitation in sports. London, England: Routledge.
      Christiansen, J. R., & Blake, R. H. (1990). The grooming process in father-
       daughter incest. In A. L. Horn (Ed.) The incest perpetrator: A family member
       no one wants to treat (pp. 88 – 98). Thousand Oaks, CA: Sage.
      Craven, S., Brown, S., & Gilchrist, E. (2006). Sexual grooming of children:
       Review of literature and theoretical considerations.” Journal of Sexual
       Aggression, 12, 287-299.
      Elliott, I. A. (2017). A Self-Regulation Model of Sexual Grooming. Trauma,
       Violence, & Abuse, 18, 83-97.
      Elliott, M., Browne, K., & Kilcoyne, J. (1995). Child sexual abuse prevention:
       What offenders tell us. Child Abuse and Neglect, 19, 579-594.
      European Online Grooming Project: Webster, S., Davidson, J. Bifulco, A.,
       Gottschalk, P., Caretti, V., Pham, T., Grove-Hills, J., Turley, C., Tompkins, C.,
       Ciulla, S., Milazzo, V., Schimmenti, A., & Craparo, G. 2012. European Online
       Grooming Project Final Report. European Union. Retrieved April 21, 2012
       (http://www.european-online-grooming-project.com/).
      Finkelhor, D. (1984). Child sexual abuse: New theory and research. New York,
       NY: Free Press
      Hanson, R. K. & Morton-Bourgon, K. E. (2005). The characteristics of
       persistent sexual offenders: A meta-analysis of recidivism studies. Journal of

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      Consulting and Clinical Psychology, 73, 1154-1163. doi: 10.1037/0022-
      006X.73.6.1154.
     Hare, R. D. (2003). Hare PCL-R, 2nd edition. New York: Multi-Health Systems.
     Howitt, D. (1995). Pedophiles and sexual offences against children. Oxford,
      England: John Wiley and Sons.
     Kaufman, K.L., Hilliker, D.R., & Daleiden, E.L. (1996). Subgroup differences
      in the modus operandi of adolescent sexual offenders. Child Maltreatment, 1,
      17-24.
     Leberg, E. (1997). Understanding child molesters: Taking charge. Thousand
      Oaks, CA: Sage.
     McAlinden, A.M. (2006). ‘Setting ‘em up’. Personal, familial, and institutional
      grooming in the sexual abuse of children. Social and Legal Studies, 15, 339-
      362.
     McElvaney, R. (2015). Disclosure of child sexual abuse: Delays, non-disclosure,
      and partial disclosure. What the research tells us and implications for practice.
      Child Abuse Review, 24, 159-169.
     Moors, R., & Webber, R. (2012). The dance of disclosure: Online self-disclosure
      of sexual assault. Qualitative Social Work, 12, 799-815.
     O’Connell, R. (2003). A typology of cyber sexploitation and online grooming
      practices. Preston, England: University of Central Lancashire. Retrieved from
      http://www.uclan.ac.uk/host/cru/docs/cru010.pdf
     Olson, L.N., Daggs, J.L., Ellevoild, B.L., & Rogers, T.K. (2007). Entrapping the
      innocent: Toward a theory of child sexual predators’ luring communication.
      Communication Theory, 17, 231-251.
     Ospina, M., Harstall, C., & Dennet, L. (2010). “Sexual exploitation of children
      and youth over the internet: A rapid review of the scientific literature.”
      Retrieved May 2, 2012 (http://www.ihe.ca/documents/Online%20Sexual
      %20Exploitation.pdf).
     Ost, S. (2009). Child Pornography and Sexual Grooming: Legal and Societal
      Responses. Cambridge: Cambridge University Press.
     Proeve, M., & Howells, K. (2002). “Shame and guilt in child sexual offenders.”
      International Journal of Offender Therapy and Comparative Criminology, 46,
      657-667.
     Przbylski, Roger (2015). Recidivism of Adult Sexual Offenders. Sex Offender
      Management Assessment and Planning Initiative Research Brief.
     Salter, A.C. (1988). Treating Child Sex Offenders and Victims: A Practical
      Guide. London: Sage Productions.
     Smallbone, S., & Wortley, R. (2000). Child sexual abuse in Queensland:
      Offender characteristics and modus operandi: Full report. Brisbane, Australia:
      Queensland Crime Commission.
     Sullivan, J., & Beech (2004). A comparative study of demographic data relating
      to intra- and extra-familial child sexual abusers and professional perpetrators.
      Journal of Sexual Aggression, 10, 39-50.


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     van Dam, C. (2001). Identifying child molesters: Preventing child sexual abuse
      by recognizing the patterns of offenders. Binghamton, NY: The Haworth Press.
     Ward, T. (2000). Sexual offenders’ cognitive distortions as implicit theories.”
      Aggression and Violent Behavior, 5, 491-507.
     Whittle, H. (2015). A comparison of victim and offender perspectives of
      grooming and sexual abuse. Deviant Behavior, 36, 539-564.
     Whittle, H., Hamilton-Giachritses, C., Beech, A., & Collings, G. (2013). A
      review of young people’s vulnerabilities to online grooming. Aggression and
      Violent Behavior, 18, 135-146.
     Whittle, H., Hamilton-Giachritses, C., Beech, A., & Collings, G. (2013a). A
      review of online grooming: Characteristics and concerns.” Aggression and
      Violent Behavior, 18, 62-70.
     Williams, R., Elliott, I. A., & Bech, A. R. (2014). Identifying sexual grooming
      themes used by internet sex offenders. Deviant Behavior, 34, 135-152.
      Doi:10.1080/01639625.2012.707550
     Wolf, S.C. (1984). A model of sexual aggression/addiction. Journal of Social
      Work and Human Sexuality, 7, 131-148.


      The below articles are also enclosed, for your reference.

     Somer, Variables in Delayed Disclosure of Childhood Sexual Abuse (Exhibit F)
     Hebert, Prevalence of Childhood Sexual Abuse and Timing of Disclosure in a
      Representative Sample of Adults from Quebec (Exhibit G)
     London, Disclosure of Child Sexual Abuse (Exhibit H)


                                              Very truly yours,

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                       By:    Elizabeth R. Pozolo
                                              Elizabeth R. Pozolo
                                              Jeannice W. Appenteng
                                              Jason A. Julien
                                              Brian Williamson
                                              Assistant United States Attorneys




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                     Exhibit A
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Running head: GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                 1




 Grooming and other Offense-Related Behaviors in Child Molestation Cases: An Analysis of

                      Offender Self-Reported Behaviors and Beliefs
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                       2


                                              Abstract

Most scholars agree that adult offenders who perpetrate sexual abuse of children engage in

preparatory grooming behaviors to facilitate this abuse. The current study explored this

phenomenon from the perspective of child molesters - gathering information from sexual

offenders about this constellation of behaviors and their attitudes and beliefs surrounding it.

Adult first-time male sex offenders (N = 23) in a post-conviction outpatient treatment program

with one or more child victims volunteered to participate in an anonymous study examining

grooming behaviors. Participants engaged in a structured interview about specific grooming

behaviors which also included a free-response portion in which offenders discussed their own

grooming behaviors as well as their general thoughts on grooming in general. This portion also

included the offender’s thoughts on grooming as a construct (i.e., does it exist) and the

qualitative difference between grooming a child for sexual purposes and pursuing a sexual

relationship with a consenting adult (47.8% felt there was no difference between the two sets of

behaviors). Data analysis also suggested five distinct indexes: the Grooming Index, Predatory

Behavior Index, Efforts to Avoid Detection Index, Perpetuating Behavior Index, and Cognitive

Distortion Index. Results are discussed in relation to applied field settings.

       Keywords: sexual offender, grooming, child sexual abuse
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                       3


  Grooming and other Offense-Related Behaviors in Child Molestation Cases: An Analysis of

                       Offender Self-Reported Behaviors and Beliefs

       Grooming in the context of child molestation by adults is the process by which offenders

isolate intended victims, gradually introduce sexual themes and behaviors to systematically

desensitize victims to the introduction of sex into the relationship, and prevent victims from

disclosing. Though many definitions have been proffered, these fundamental aspects are agreed

upon by the majority of authors in the field (Whittle, 2015; Olson, Daggs, Ellevoid, & Rogers,

2007; McAlinden, 2006; Elliot, 2017; & Whittle, Hamilton-Giachritsis, & Beech, 2015). Some

scholars do not, however, include disclosure prevention in their conceptualization of this

construct (Williams, Elliott, & Beech, 2013). Regardless, this preparatory process has been

acknowledged by most scholars in the field of adults who sexually offend against children

(Beauregard, Proulx, Rossmo, Leclerc, & Allaire, 2007; Finkelhor, 1984; Kaufman, Hilliker, &

Daleiden, 1996; Smallbone & Wortley, 2000; Wolf, 1984). Grooming is directly intended to

facilitate access to the victim, however; the process also serves to manipulate family members of

potential victims and individuals in the victim’s social network in order to facilitate abuse as well

(McAlinden, 2006; Craven, Brown, & Gilchrist, 2006). Grooming can involve physical,

psychological, and social or community-based strategies to facilitate and perpetration of sexual

abuse (Leberg, 1997). Various specific behaviors have been identified by researchers and

scholars, such as identifying or targeting specific children (van Dam, 2001; Brackenridge, 2001),

engaging in peer-like environments and sexual desensitizing (van Dam, 2001), tickling and

bathing (Howitt, 1995; Bennett & O’Donohue, 2014), isolation (van Dam, 2001; Brackenridge,

2001; McAlinden, 2006; Whittle et. Al, 2015; Elliott, 2017), placing the responsibility on the
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                          4


child (van Dam, 2001), secrecy (Brackenridge, 2001; Christiansen & Blake, 1990), and

favoritism (Christiansen & Blake, 1990).

       Most theoretical approaches to grooming suggest a stage or model process, whereby

offenders engage in steps to facilitate the sexual abuse. A brief overview of one such stage

theory, as developed by O’Connel (2003), follows. The first stage, known as the Friendship

Forming Stage, involves the offender making contact with the targeted victim and establishing

rapport, such as learning about likes and dislikes. This friendship is furthered in the next stage,

the Relationship Forming Stage, whereby the offender discusses more personal constructs, such

as family, friends, and social lives, and compassion is shown. The offender then engages in the

Risk Assessment Stage, which involves more careful analysis of both the intended victim’s

behavior patterns and the likelihood of being caught. In the Exclusivity Stage, which follows,

offenders make efforts to avoid detection through isolating the victim. This may also involve

threats against the victim to guarantee secrecy, which could involve threats of violence, threats

about the impact on the victim’s family, or even threats about the potential loss of the

relationship with the offender (Black et al., 2015). Lastly, the Sexual Stage takes place, during

which the offender engages in sexualized behavior with the victim including viewing

pornography, having sexualized conversations, and discussing the next step of a sexual

relationship. Again, numerous models have been proposed which explain the process of

grooming equally as thoroughly (McAlinden, 2006; Williams, Elliott, and Beech, 2013) to

include Elliott’s Self-Regulation Model of Sexual Grooming (2017), and Olson et. al’s 2007

study examining Child Sexual Predators’ luring communication patterns (2007).

        However, although some have postulated definitions and mechanisms, no true consensus

exists in the clinical, research, or forensic fields as to what grooming actually entails, making
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                           5


description and adequate measurement nearly impossible. Bennet and O’Donohue (2014), rightly

noting this, attempted to generate a uniform approach to defining it, synthesizing scholar

definitions into a two part definition of grooming:“(a) the behavior being evaluated must in and

of itself be inappropriate and a case for this inappropriateness must be made, and (b) a sound

argument must be presented that the behavior or behaviors increases the likelihood of future

sexual abuse” (p 969). They provide examples of behavior that meet their criteria, such as:

sexualization of relationships, gift giving, inappropriate touching, isolation, favoritism, secrecy,

boundary violations, and providing the child with substances (e.g., drugs and alcohol).

       Research of grooming has increased in quantity over the last decade, with some works

examining the consequences of legal and societal responses to grooming and the use of child

pornography (Ost, 2009; Akdeniz, 2009). Additionally, a large body of work examines the

quality of grooming in the context of the internet (Whittle, Hamilton-Giachritsis, Beech, 2014;

Whittle, Hamilton-Giachritses, Beech, Collings, 2013; Whittle, Hamilton-Giachritsis, Beech,

2014; and Kloess, Hamilton-Giachritsis, & Beech, 2017). Among the most seminal of these

works is the European Grooming Project report on online grooming (2012).

       In the present study, we sought to further the growing understanding of grooming

behaviors by conducting structured interviews of adult male sexual offenders who offended

against children focusing on specific grooming and offense-related behaviors as well as their

opinions about grooming in general. This allowed for examination of what offenders believe to

constitute grooming behaviors, how these behaviors take place, and the context in which they

emerge. Of particular interest was sexual offenders’ perceptions about what does and does not

constitute grooming, as we believe this can help inform clinical work, research, and forensic

practice, including cause, effect, treatment, and prevention of sexual abuse. We foresee
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                         6


information gained from this research being directly applicable in applied work, such as forensic

psychology (i.e. risk assessment evaluations and treatment of sex offenders and their victims)

and law enforcement (i.e. formulating interview approaches of suspects). In our opinion,

informing the knowledge base about particular behaviors with information from the persons that

engage in them is of particular benefit given that the “outside” view of these behaviors by those

involved in such cases may not accurately represent the view held by those perpetrating. Such

an understanding will, hopefully, facilitate communication with offenders by professionals in

mental health or legal capacities.

                                             Method

       We conducted structured interviews with 23 first-time sexual offenders enrolled in a post-

prison release group outpatient sexual offender treatment program. All offenders were adult

males who had offended against at least one child and had been convicted. The treatment

program is a condition of their supervised release (eg. parole, probation, deferred adjudication),

and it is facilitated by Master’s level Licensed Sex Offender Treatment Providers. Participants

were compensated by being allowed to miss one homework assignment or one group meeting

without sanction by the outpatient facility. A Licensed Clinical Forensic Psychologist conducted

the interviews which each lasted approximately 45 minutes.

       In addition, participants were guaranteed that the treatment providers at the outpatient

clinic where they received treatment would neither ask researchers about participant responses

nor would researchers discuss the offenders’ responses with treatment clinic. Given the

propensity of sex offenders to engage in positive impression management and tendency to be less

than completely forthright about the extent of their abusive behaviors (Salter, 1988; Proeve &
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                        7


Howells, 2002), this aspect of the study was important in the effort to obtain valid and accurate

responses from the participants.

Materials and Procedure

       Structured interview. Participants in our study underwent a structured interview to

assess their beliefs and behaviors related to sexual offending behaviors and grooming. A

Licensed Clinical Forensic Psychologist asked them specific questions pertaining to known

grooming behaviors (eg., isolating the victim, giving gifts, showing special attention to the

intended victim), as well as those related to predatory behavior, efforts to avoid detection, and

behaviors that perpetuate or promote sexual dysregulation or offending. Participants were also

asked general opinion questions about grooming (e.g., whether it is an actual phenomenon,

whether it differs from an adult male pursuing an adult female for consensual sex), and open-

ended questions about which grooming behaviors they perpetrated. Participants were also asked

to discuss grooming behaviors in general in the open-ended portion of the interview, not

necessarily specific behaviors in which they themselves had engaged. This line of questioning

occurred regardless of whether they themselves believed they groomed their own victims. The

offenders also provided information about their victims, their behavior during the offense (e.g.,

using substances during the offense), the presence of a personal sexual abuse history, the use of

pornography either with victims or as a means of masturbatory fantasy, and basic demographic

information.

       Grooming Index. We created a Grooming Index, which was a sum of the items that

tapped specific grooming behaviors that the sexual offenders were asked to endorse as either

having engaged or not engaged in during the time period prior to their sexual offending with

their victim(s) or immediately surrounding it. This Index included the following behaviors:
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                         8


talking about sex with the victim, graduated touching, giving compliments, giving gifts, showing

adult-only pornography to the victim, showing child-involved pornography to the victim, being

nude in the home (without a sexual nature), making online contact, and consuming alcohol with

the child victim.

       Predatory Behavior Index. We created a Predatory Behavior Index, which was a sum of

items that tapped specific predatory behaviors that sexual offenders were asked to endorse as

engaging or not engaging in during the time period prior to their sexual offending with their

victim(s) or immediately surrounding it. This Index included the following behaviors: targeting

families with children, seeking employment with access to children, and isolating their victim

away from others.

       Efforts to Avoid Detection Index. We created an Efforts to Avoid Detection Index,

which was a sum of items that tapped specific detection-avoiding behaviors. The sexual

offenders were asked to indicate whether they did or did not engage in these behaviors during the

time period prior to their sexual offending with their victim(s) or immediately surrounding it.

This Index included the following behaviors: using physical violence, threatening physical

violence, asking the victim not to tell others, telling the victim not to tell others, warning the

victim of the impact disclosing would have on the victim’s family, warning the victim that others

would disbelieve the victim, and threatening the victim with the loss of his/her relationship with

the offender.

       Perpetuating Behavior Index. We created a Perpetuating Behavior Index, which was a

sum of items that tapped specific behaviors that perpetuate or promote sexual dysregulation or

offending that sexual offenders were asked to endorse as engaging or not engaging in during the

time period prior to their sexual offending with their victim(s) or immediately surrounding it.
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                                          9


This Index included the following behaviors: viewing child pornography, masturbating to

fantasies or actions similar to the perpetrator’s offending, viewing pornography similar to the

offense (eg. viewing pornography involving sex with a babysitter when the intended victim was

working as a babysitter for the offender), and masturbating to memories of the abuse of the

victim.

          Cognitive Distortions Index. We created a Cognitive Distortions Index, which was a sum

of items that tapped specific endorsement of items indicative of thinking errors supportive of

offense behaviors. The offenders were asked to indicate yes or no agreement with two statements

surrounding their victim(s): 1) feeling the victim(s) wanted the sexual contact, and 2) feeling the

victim(s) initiated the sexual contact.

          Free-Response Grooming Behavior Items. The sexual offenders were additionally asked

two free-response questions related to grooming behaviors. The first required the offenders to

describe grooming behaviors they participated in, while the second required offenders to

describe grooming behaviors in general and what the process of grooming might entail. These

free-response items were coded into categories based upon their free responses, resulting in 11

total categories: Complimenting, Giving Gifts, Special Activities, Special Treatment,

Desensitization, Rapport, Trust, Manipulation, Rationalization, Access, and Other.

          Opinion Questions. The participants were asked opinion questions about grooming.

Specifically, they were asked to respond to whether they participated in grooming, if grooming

actually existed and occurred in the community (i.e., was it a real construct), and if the types of

behaviors used on children in grooming were the same types of behaviors used on adults in

courting (i.e., is grooming children the same as “grooming” adults who are the object of sexual

interest).
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                                             Results

       The 23 male sexual offenders in our sample were, on average, 32.04 years old (SD =

10.12) at the time of their offense and 40.70 years old (SD = 12.80) at the time of the study. The

majority (52.2%, n = 12) identified as Hispanic, 34.8% (n = 8) identified as Caucasian, two

offenders identified as African American (8.7%), while one offender identified as Asian (4.3%).

All had been convicted of at least one contact sexual offense against a minor, had received some

sort of sanction through the court, and were currently in free society under some type of

supervision and receiving mandatory sex offender treatment. The offenders had an average of

1.48 victims (SD = 1.16, range = 1 – 5). The average time between meeting their victim(s) and

engaging in illegal sexual behavior ranged from 1 to 5,110 days/14 years (M = 997.12 days/2.73

years, SD = 1,477.24 days/ 4.05 years, Median = 365.00 days/1 year).

Grooming Index

       The Grooming Index was composed of yes or no responses to the following eight

behaviors: giving compliments (60.9%), graduated touching (52.2%), giving gifts (43.5%),

talking about sex with the victim (34.8%), consuming alcohol with the child victim (30.4%).

showing adult-only pornography to the victim (21.7%), %), making online contact (17.4%),

being nude in the home (without a sexual nature; 13.0%), and showing child-involved

pornography to the victim (4.3%). On average, the participants endorsed 2.78 behaviors (SD =

1.81, range = 0 – 6). The Total Grooming Index Score was positively correlated with the Total

Predatory Behavior Score (r = .45, p = .031).

Predatory Behavior Index

       The Predatory Behavior Index was composed of yes or no responses to the following

three items: isolating their victim away from others (56.5%), targeting families with children
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(4.3%), and seeking employment with access to children (4.3%). On average, the participants

endorsed 0.65 behaviors (SD = 0.57, range = 0 – 2). The Predatory Behavior Index Score was

positively correlated with the Grooming Index Score (described previously), as well as the

Cognitive Distortions Index (r = .42, p = .044).

Efforts to Avoid Detection Index

       The Efforts to Avoid Detection Index was composed of yes or no responses to the

following six items: asking or telling the victim not to tell others (30.4%), using physical

violence (17.4%), threatening the victim with the loss of his/her relationship with the offender

(13.0%), threatening physical violence (4.3%), warning the victim of the impact disclosing

would have on the victim’s family (4.3%), and warning the victim that others would disbelieve

the victim (4.3%). On average, the participants endorsed 0.74 behaviors (SD = 0.92, range = 0 –

3). The Predatory Behavior Index Score was positively correlated with the Cognitive Distortions

Index (r = .45, p = .033).

Perpetuating Behavior Index

       The Perpetuating Behavior Index was composed of yes or no responses to the following

four items: masturbating to memories of the victim (17.4%), masturbating to fantasies or actions

similar to the perpetrator’s offending (8.7%), viewing child pornography (4.3%), and viewing

pornography similar to the offense (4.3%). On average, the participants endorsed 0.35 behaviors

(SD = 0.57, range = 0 – 2). The Perpetuating Behavior Index was not significantly related to any

of the other Indexes.

Cognitive Distortions Index

       The Cognitive Distortions Index was composed of yes or no responses to the following

two items: feeling the victim(s) wanted the sexual contact (69.6%) and feeling the victim(s)
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initiated the sexual contact (30.4%). On average, the participants endorsed 1.13 thoughts (SD =

0.76, range = 0 – 2). The Cognitive Distortions Index was significant correlated with the Efforts

to Avoid Detection Index and the Predatory Behavior Index (both as previously described).

Free-Response Grooming Behavior Items

       The offenders provided 132 free response answers to the two questions pertaining to the

grooming behaviors in which they engaged and in what behaviors they constituted grooming in

general. These answers could differ from the Index scores in that those were specific probes

requiring yes/no answers while these grooming questions were asked prior to those. This allowed

for un-cued answers and, thus, an untainted analysis of grooming behaviors in which these

sexual offenders believed they may have been engaging. Table 1 presents the responses coded

into 11 categories, based on deductive coding strategies, summarized by what the offenders

believed to be their grooming behaviors in comparison to of what they believed grooming

behaviors in general likely consisted. Offenders saw themselves as engaging more in categories

such as Special Treatment and Desensitization and provided notably more Rationalizations than

they attributed to occurring in grooming in general. They were more likely to attribute Giving

Gifts, Rapport, Trust, and Manipulation as occurring during grooming but engaged in by

themselves.

Opinion Questions

       When asked whether they participated in grooming, only 43.5% affirmatively answered

that they had engaged in grooming behaviors, although 87.0% agreed that grooming existed and

occurred in the community (i.e., was it a real construct). Perhaps most interesting, 47.8% of the

offenders stated that the types of behaviors used by adults on children during the grooming
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process were no different than the types of behaviors adults use on adults in courting (i.e., “Is

grooming children the same as “grooming” adults of sexual interest?”).

                                            Discussion

       Overall, the sexual offenders in our sample perpetuated a wide array of grooming-related

behaviors across a number of different domains. For instance, nearly 60% endorsed at least one

item on the Grooming Index (giving compliments), while nearly 57% endorsed at least one item

on the Predatory Behavior Index (isolating their victim). However, what we find to be most

notable is that participants believe that grooming of intended child victims for sexual assault by

an adult was no different from behaviors engaged in by an adult who is attempting to establish a

sexual relationship with another consenting adult. Nearly half (47.8%) of participants indicate

there was no difference between these two wholly opposite sexual behaviors. This finding,

combined with the finding regarding the belief among participants that their child victims desired

the sexual contact (69.6%) and the finding that nearly one third indicated that they felt the child

victim(s) actually initiated the sexual contact, were among the most frequently endorsed items in

the current study. These findings reflect the findings of Ward regarding victim blame among

child molesters (2000). While it is not uncommon for offenders to engage in victim blame, these

findings may be attributable to a “two-way street” of sexualization of children by pedophiles.

That is, while pedophilic offenders are sexually attracted to children, they also attribute sexual

desires, motivations, thoughts, and actions to children that non-pedophiles do not. If pedophilic

offenders view children (at times) not as victims, but as willing sexual participants, then risk

assessment evaluators, psychologists, psychiatrists, victim advocates, law enforcement, treatment

providers, and other multidisciplinary team members involved in cases of sexual offenses against

children may be well served to incorporate this understanding into their interactions with
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offenders. It may be understandably difficult for non-pedophiles to accept this possibility and

put themselves in a position to discuss the abuse with the offender in this context, yet it may

provide an insight into the thinking and behavior of the offender that would not be accessible

otherwise. It is also of note that the Cognitive Distortion Index contained the most frequent

endorsement of its items – second only to the Grooming Index –, and offenders were most likely

to attribute “rationalization” to themselves than they were any other free-response coded

behavior (25.4%).

       Another notable finding was that downward social comparison is also evident in the

results of our study. Our participants, like many other offenders, view their offenses as being

“not as bad” as “those other offenders.” The offenders who engaged in digital fondling, for

example, of a child view their behavior as being “not as bad” as an offender who engages in

genital intercourse with a child. That offender who does engage in sexual intercourse with a

child will not view his behaviors as being “as bad” as an offender who engages in violent

coercion of his victim for sexual purposes. Initiating clinical contact with adults who sexually

offend against children with this knowledge will aid the evaluator (detective, CPS worker) in

establishing rapport for the purposes of gaining the most information from this offender.

Offenders, though not asked to comment on “other” or “most” offenders, did tend to respond to

questions about grooming in general in this manner. This phenomenon may inform potential

alternatives to direct questioning of an offender when defense mechanisms are preventing

progress in an interview or treatment session. A review of Table 1 reveals that the more openly

manipulative behaviors associated with grooming are more often attributed to “other” offenders.

For example, giving gifts, establishing trust, and manipulation are significantly more attributed

to other offenders.
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       We also found that grooming also appears to be much more of an emotional construct

than one involving actual tangible gifts, money, alcohol or drugs, etc. This finding is

commensurate with previous research by Leberg (1997) and McClinden (2006) that address the

emotional and psychological aspects of the grooming process. (The majority of free-response

grooming behaviors as well as items endorsed during direct questioning are related to

establishing an emotional relationship with the intended victim(s). For example, giving gifts

(43.5%) or providing alcohol (30.4%) were the only grooming behaviors that involved tangible

items as addressed in O’Connel 2003 study as well as others (Ospina, Harstall, & Dennet (2010);

Whittle et al. 2013a). Other behaviors such as giving compliments (60.9%), and free response

behaviors such as special activities, special treatment, desensitization, rapport, trust, and

manipulation were endorsed with far more frequency. This finding likely reflects two

phenomena, the first being that predators are aware of effective means with which to gain the

trust and establish a relationship with their intended victim(s). The second aspect represented by

this finding is that many pedophiles emotionally identify with children, a risk factor identified in

the seminal Hanson et. al meta-analysis (2004), This second aspect includes engaging in

activities most commonly enjoyed by children (i.e., frequenting certain child-themed

establishments, playing, video games, frequenting locations often visited by children, etc.). This

positioning of oneself in environments in which an offender has easy access to children is

reflected in the research as well (Sullivan & Beech, 2004).

       Importantly, nearly all of the above noted grooming activities involve isolating the

intended victim. Isolating the victim as a direct question was endorsed by 56.5% of the

participants and was among the most highly endorsed items in the entire study. Isolation of an

intended victim serves to allow for the graduated introduction of sexual themes (i.e., through
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graduated touching (52.2%), talking about sex with the victim (34.8%), showing adult-only

pornography to the victim (21.7%), %), being nude in the home (without a sexual nature;

(13.0%), entering into the relationship without a social frame of reference to inhibit the

offender’s ability to do so. Many of these themes (isolation, graduated introduction of sexual

themes) have been discussed in theoretical discussions of grooming and were borne out in the

current study (Craven et. al, 2006; Whittle et. al, 2015). In a sense, the offender, with enough

isolation, becomes the victim’s frame of reference, and is able to repeatedly reinforce the notion

of sex between the child and adult as a “normal,” “positive,” and “universal” idea. This also

serves, over the course of the abuse, to cause the child victim to feel complicit in the activities,

including the abuse, and very often leads the victim to feel an emotional connection with the

offender. These very by-products of the grooming phase are a direct cause of delayed or non-

disclosure of child sexual abuse (Moors et. al, 2012; McElvaney, 2015). It is important to note

that, in support of this notion, threatening the victim that he or she would lose the relationship

with the perpetrator (13%) was among the three most frequently endorsed items in the Efforts to

Avoid Detection Index, including asking or telling the victim not to tell others (30.4%), and

using physical violence (17.4%). This means that, essentially, the grooming process creates such

a perceived bond between the victim and the offender that an offender is able to continue to

abuse the victim by threatening (in a less direct manner), “If you tell, I won’t be able to abuse

you like this anymore.” This finding replicates a previous finding from a research study by

Elliott et. al (1995).

        Overall, the indexes established by the analysis of data are informative and revealing of

offender behavior, and they are an effective manner in which to conceptualize the grooming

process. While grooming behaviors will differ from one case to another, there are certain themes
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common to grooming across cases, and understanding these themes can facilitate the overall

understanding of sexual offending against children by adults and aid in the detection, evaluation,

prosecution, and treatment of these offenders. It may also provide a framework with which

layperson triers of fact may understand the complicated aspects of grooming, sexual assault of

children, and the subsequent and often “counter-intuitive” behaviors of the victims that occur

after the abuse and as a result of the grooming process (i.e., delayed disclosure, non-disclosure,

seeming defensive of the offender, etc.).

Limitations and Future Directions

The sample in our study had two interrelated limitations. First, the sample size is relatively small,

and, of course, more participants could have added to the robustness of the findings. Second,

they were engaged in treatment, which would have impacted the amount of knowledge and

insight they had about their grooming behaviors and grooming behaviors in general. However,

we believe the strengths of our study far outweigh this limitation, and we believe that, given the

lack of uniformity in answers, although they were all in the same treatment program, their

responses obviously contained authenticity (as opposed to rote recollection of treatment

concepts). We see future research building upon our free-response questions. Specifically, the

purpose of the free-response portion of the interview was to allow offenders to provide their own

description of the grooming process, as opposed to attempting to “box” offenders into a pre-

conceived notion of what grooming involves by using pre-existing questionnaires or instruments

designed by persons who study these behaviors but have not themselves engaged in them. A

follow-up study that included data gleaned from the free-form responses in the direct question

and answer portion may help provide even more data to assist in the understanding of what is,

unfortunately, a growing problem in our society.
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Conclusions

       In this study, we asked sexual offenders about the practices they engage in related to

grooming and their opinions about such practices. We found sexual offenders to provide valuable

insight into the field’s limited understanding of this complex system of behaviors. These results

have direct field implications as they relate to apprehension, assessment, risk management, and

treatment of sexual offenders, as well as research and theoretical importance.
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GROOMING AND OTHER OFFENSE-RELATED BEHAVIORS                                        23


Table 1.

Percentage of Response to Grooming Behavior Items for Self-Perpetrated and Other-
Perpetrated Opinions of Offenders


Type of Grooming Behavior         Self-Perpetrated (%)     Other-Perpetrated (%)
Complimenting                              6.3                      1.5
Giving Gifts                               4.8                     20.6
Special Activities                         4.8                      8.8
Special Treatment                         12.7                      5.9
Desensitization                           17.5                      7.4
Rapport                                    7.9                     14.7
Trust                                      3.2                     11.8
Manipulation                               9.5                     17.6
Rationalization                           25.4                      1.5
Access                                     3.2                      4.4
Other                                      4.8                      5.9
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                      Exhibit B
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Carden, Kenneth              Tarrant                           Depo/Trial
Trevino, Richard             Webb                              Depo/Trial
Falcon, Philip Jr            Newton                            Depo/Trial
Rhinehart, Charles           Galveston                         Depo/Trial
Cain, Leon                   Tarrant                           Depo/Trial
Sanchez, Justin              Tarrant                           Depo/Trial
Stonecipher, Timothy         Harris                            Depo/Trial
Limon, Raymond               Nueces                            Depo/Trial
Vela, Juan                   Nueces                            Depo/Trial
Garcia, Rolando              Travis                            Depo/Trial
Joiner, Gregory              Grayson                           Depo/Trial
Riggs, Ronald                Gregg                             Depo/Trial
Metcalf, Daniel              Bowie                             Depo/Trial
Ovalle, Jose                 Nueces                            Depo/Trial
Shelton, Justin              Denton                            Depo/Trial
Guzman, Daniel               Galveston                         Depo/Trial
Throm, Robert                Jefferson                         Depo/Trial
Woods, Joe                   Tarrant                           Depo/Trial
Barnes, Kenneth              Grayson                           Depo/Trial
Farley, Gerald               Denton                            Depo/Trial
Scott, David                 Bell                              Depo/Trial
Summers, Michael             Galveston                         Depo/Trial
Wiley, Richard Sr.           Wharton                           Depo/Trial
Eddings, Jeffrey             Tarrant                           Depo
Pansky, Andrew               Harris                            Depo/Trial
Salderna, Martin             San Patricio                      Depo/Trial
Claxton, Michael             Ellis                             Depo/Trial
Coles, Willie                Tarrant                           Depo/Trial
West, Cedric                 Dallas                            Depo/Trial
Vela, Genaro                 Hidalgo                           Depo/Trial
Parfait, Hal Vernon          Brazos                            Depo/Trial
Nolan, Gary                  Bexar                             Depo/Trial
Delarosa, Juan Carlos        Fayette                           Depo/Trial
Mayo, Vance Allen            Ellis                             Depo/Trial
Danas, March                 Harris                            Depo/Trial
Bohannan, Michael            Montgomery                        Depo/Trial
Pena, Andrew                 Hale                              Depo/Trial
Brice, Gene                  Dallas                            Depo
Hill, William                Harris                            Depo/Trial
Jackson, Derrick             Tarrant                           Depo/Trial
Revels, Kendrick             Dallas                            Depo/Trial


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Encalade, Lonnie             Harris                            Depo/Trial
Hale, Stephen                Harris                            Depo/Trial
Auvil, George                Shelby                            Depo/Trial
Gutierrez, Louis             Harris                            Depo
Torres, Pedro                Tarrant                           Depo/Trial
Nickerson, Charles           Bell                              Depo
Atchison, Thomas             Harris                            Depo/Trial
Encalade, Lonnie             Harris                            Depo/Trial
Ybarra, Sammy                Bear                              Depo/Trail
Howard, Robert               Harris                            Depo/Trial




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                      Exhibit C
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
      ________________________________
                                      )
      UNITED STATES OF AMERICA,       )
                                      )
                                      ) DOCKET NO. 3:19-CR-244
                  vs.                 )
                                      ) VOLUME II OF III
      WILLIAM JON PATRIC EBERT,       )
                                      )
                    Defendant.        )
      ________________________________)


                      TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                     BEFORE THE HONORABLE FRANK D. WHITNEY,
                       UNITED STATES DISTRICT COURT JUDGE
                      THURSDAY, JULY 16, 2020 AT 8:40 A.M.

      APPEARANCES:
      On Behalf of the Government:
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      On Behalf of the Defendant:
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                         JILLIAN M. TURNER, RMR, CRR, CRC
                      Official U.S. District Court Reporter
                           United States District Court
                            Charlotte, North Carolina




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                                                                               209

 1                               DIRECT EXAMINATION
 2      BY MR. LINDAHL:
 3      Q.   Good afternoon.      Would you please introduce yourself to
 4      our jury and spell your name for our court reporter.
 5      A.   Yes.    I'm Darrel Turner.      And my name is spelled
 6      D-a-r-r-e-l, Turner, T-u-r-n-e-r.
 7                  Are you the court reporter?
 8      Q.   Dr. Turner, are you working currently?
 9      A.   Yes.
10      Q.   And where are you working?
11      A.   Well, right now I'm working in North Carolina.              I have
12      an office in Louisiana where I'm licensed, and I have an
13      office in Texas where I'm licensed as well.            I generally
14      travel a lot and work all across the United States.
15      Q.   What is your position?
16      A.   I'm a clinical psychologist, a doctor of clinical
17      psychology, and I focus on forensic psychology.
18      Q.   Can you tell the jurors what clinical psychology is?
19      A.   Sure.   Clinical psychology requires a doctorate or a PhD
20      in psychology, and it is dealing with patients, testing,
21      making diagnoses, treatment plans, generally treating
22      patients for mental illness.
23      Q.   You mentioned a focus in forensic psychology.              Can you
24      tell the jurors what forensic psychology is.
25      A.   Sure.   Forensic psychology is when the law and




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                                   D. TURNER - DIRECT                           210

 1      psychology meet for whatever reason.          There's certain
 2      questions that have to be answered with a knowledge of the
 3      law of a certain jurisdiction.        That just means a certain
 4      place or area.    And an expertise in psychology.
 5           And so forensic psychology is when those areas combine,
 6      and my work is relevant in a courtroom setting, whether it's
 7      criminal or civil.
 8      Q.   Can you tell me how many years you have worked as a
 9      clinical psychologist with specialty in forensic psychology?
10      A.   Sure.   I was licensed in 2013, so about eight years.
11      And then I've been doing this work under some supervision
12      since about 2007 or 2008.       So about 13 years.
13      Q.   Dr. Turner, will you describe your educational
14      background that led you to the career that you're in today?
15      A.   Yes, sir.    I have a bachelor's in psychology from
16      McNeese State University in Louisiana.           I have a master's
17      degree in counseling psychology also from McNeese.              And I
18      have a PhD or a doctorate in clinical psychology from Sam
19      Houston State University in Huntsville, Texas.             I completed a
20      predoctoral internship with the Federal Bureau of Prisons at
21      the Federal Correctional Institution at FCI Fort Worth.               And
22      I've worked for the Federal Government as a staff
23      psychologist and a forensic psychologist and a correctional
24      psychologist, and I'm currently in private practice.
25      Q.   So does that overview provide all the jobs that you've




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                                   D. TURNER - DIRECT                          211

 1      had in psychology since you got your doctorate?
 2      A.   Yes, sir.
 3      Q.   What was your role with the Bureau of Prisons?
 4      A.   My role with the Bureau of Prisons was acting as a
 5      correctional psychologist and a forensic psychologist during
 6      my year of supervision there, which is -- I just explained
 7      what forensic psychology is.        And in correctional psychology
 8      is working specifically with inmates and problems that they
 9      may have.
10           And then my work as a staff psychologist was at a
11      penitentiary, which is a very high security facility, so it
12      was responding to a lot of emergencies, sexual assaults,
13      physical assaults, and things of that nature.            So that was --
14      those are some of my duties with the Federal Bureau of
15      Prisons.
16      Q.   Thank you, Doctor.
17           You took us through the Government work leading up to
18      your current role in private practice.           How long have you
19      been in private practice?
20      A.   I've been in private practice since 2012.
21      Q.   And you talked about being licensed in Louisiana.               Is
22      that a license in clinical psychology?
23      A.   Yes.
24      Q.   Do you have any certifications that you can speak to?
25      A.   I'm certified in Louisiana on a registry to provide




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                                   D. TURNER - DIRECT                          212

 1      treatment for sex offenders in the state of Louisiana.
 2      Q.   Dr. Turner, how much of your practice is focused now on
 3      forensic psychology?
 4      A.   I think if I had to break it down now, I'd say it's
 5      about half and half.      It's about half clinical work and then
 6      half forensic work.
 7      Q.   Do you have a specialty within your forensic psychology
 8      practice?
 9      A.   Yes.
10      Q.   And what would that be?
11      A.   My specialty within my forensic psychology practice is
12      in the area of sexual offending, specifically adults who
13      sexually offend against children, how they go about doing
14      that, how that impacts the child victims, and different
15      aspects involved in that process.
16      Q.   So does your specialty as you've described include a
17      focus on a grooming practices employed by adult sex offenders
18      who prey on minors?
19      A.   Yes.   That's a big part of what I do, yes.
20      Q.   Would it also include minor victims and how they behave
21      in sex abuse cases?
22      A.   Yes, the impact of sexual abuse on minor victims, or
23      sometimes adult victims who were offended against as minors.
24      Q.   So in your career, have you worked with specifically sex
25      offenders who target minor children as in met with them and




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                                   D. TURNER - DIRECT                          213

 1      done -- and practiced with them as a patient?
 2      A.   Yes.
 3      Q.   Do you have a rough estimate as to the number of these
 4      kind of offenders that you've interviewed as part of your
 5      practice?
 6      A.   If we're just looking at interviews, so sex offenders
 7      who have sexually offended against minors that I've
 8      interviewed in one capacity or another, it's thousands.
 9      Q.   And have you also worked by interviewing childhood
10      victims of sexual abuse?
11      A.   Yes, either while they're still children or while --
12      after they've become an adult.
13      Q.   Do you have an idea as to how many of this kind of
14      interview you conducted in your career?
15      A.   It would be less.      It would still be a lot.         I would
16      say -- I would say it's certainly in the hundreds, but not as
17      many as I have dealt with in the offender realm.
18      Q.   In this specialty, specifically grooming behaviors and
19      victim behaviors in sexual abuse cases involving minors, have
20      you done any research?
21      A.   Yes.
22      Q.   Can you describe that for the jurors.
23      A.   Sure.   So I've been contacted twice by the United States
24      Senate to participate in developing research for them in the
25      area of adults who sexually offend against children,




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                                   D. TURNER - DIRECT                          214

 1      profiling their personalities and some of the behaviors that
 2      we can expect to see.      One of those was in about 2015, and
 3      one of those was about two months ago.
 4           I've been contacted by the FBI, the Naval Criminal
 5      Investigative Service, Department of Homeland Security and
 6      different federal agents to consult in cases involving sexual
 7      abuse of children by adults.
 8           I've worked with state agencies.          I've worked with
 9      prosecution.    I've worked with defense.         I've worked directly
10      for the courts in some cases.        So lots of -- lots of
11      different ways.
12      Q.   So it's common for you to work on pending criminal cases
13      involving charges related to the sexual abuse of children?
14      A.   Yes.
15      Q.   I believe you mentioned that for this particular
16      purpose, you've been hired both by the prosecution and the
17      defense?
18      A.   Correct.
19      Q.   Have you ever testified before as an expert witness in
20      this area regarding adult offenders who prey on minor victims
21      and victim behaviors?
22      A.   Many times, yes.
23      Q.   Would the testimony have occurred in both state and
24      federal court?
25      A.   Yes.




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                                   D. TURNER - DIRECT                          215

 1      Q.   How many times have you testified as an expert in adults
 2      who sexually offend against children regarding grooming
 3      practices and victim behavior?
 4      A.   I don't know.     I couldn't tell you a number.           You know,
 5      that's -- it's the majority of what I do.
 6           So in most of the cases that I testify, I'm going to
 7      talk about grooming behavior.        I'm going to talk about the
 8      impact of sexual abuse on a child.          And that's going to be
 9      true whether I'm in court testifying or whether I'm providing
10      training or presentation, which I've done internationally in
11      a number of different countries.
12           So I can't really give you a number.           It would be a lot
13      of speculation on my part.
14      Q.   Well, let me ask you:       Have you testified in state court
15      more than 20 times?
16      A.   Oh, yes.
17      Q.   More than 50 times?
18      A.   Yes.
19      Q.   More than 100 times?
20      A.   Yes.
21      Q.   And in each of those circumstances, you were accepted by
22      the Court and allowed to give your opinion?
23      A.   Yes.
24      Q.   Have you testified in federal court more than 20 times?
25      A.   Yes.




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                                   D. TURNER - DIRECT                          216

 1      Q.   More than 50 times?
 2      A.   Probably not more than 50 times in federal court, no.
 3      Q.   And in each of those circumstances, you were accepted by
 4      the Court as an expert and allowed to give your opinion?
 5      A.   Yes.
 6      Q.   And when it comes to actual in-court testimony, have you
 7      testified on behalf of both the prosecution and the
 8      defendant?
 9      A.   Yes, sir.
10                  MR. LINDAHL:    Your Honor, at this time the
11      Government will move to tender Dr. Turner as an expert in the
12      grooming behavior and techniques of adult offenders who
13      sexually abuse minors and the characteristics of sexually
14      abused children.
15                  THE COURT:    One moment.     Can you repeat that?
16                  MR. LINDAHL:    Yes, Your Honor.       The Government is
17      tendering Dr. Turner as an expert in the grooming behavior --
18                  THE COURT:    Yes.
19                  MR. LINDAHL:    -- and techniques of adult offenders
20      who sexually abuse minors and characteristics of sexually
21      abused children.
22                  THE COURT:    All right.     Would you like to voir dire
23      the witness now or do it later in cross?
24                  MR. OLSINSKI:     Yeah, I would, Your Honor.
25                  THE COURT:    You may proceed.




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                                   D. TURNER - DIRECT                          217

 1      Q.    Dr. Turner, is there -- you testified both to grooming
 2      and the behavior of alleged victims?
 3      A.    Yes.
 4      Q.    And you've testified in both those matters 50 times, 100
 5      times?
 6      A.    Yes.
 7      Q.    So there is -- you're telling the Court there is a set
 8      way that victims behave?
 9      A.    No.    What I'm telling the Court is that there is a lot
10      that we know about how the majority of victims behave, and
11      there's a lot that we know about how -- the way a victim is
12      groomed impacts the way that they behave and the way that
13      they may or may not disclose as well as when they may or may
14      not disclose.
15      Q.    And when you say you know a lot, how much is a lot?
16      A.    Enough that there are people like me that are qualified
17      as experts to do this kind of work and testify in court on
18      it.
19      Q.    Well, I guess I should rephrase that question.             A lot of
20      information regarding how victims act.           You know, there's no
21      scientific conclusion on how victims act, correct?
22      A.    Well, what we know is that there's no -- there's no
23      corner that we can box victims into to say that a victim who
24      is 12 years old who is sexually abused by someone with this
25      particular relationship will behave this way.            But we do know




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                                   D. TURNER - DIRECT                          218

 1      certain things about their likelihood of, say, disclosing.
 2      Q.   Um-hum.
 3      A.   We know things about their likelihood of to whom they
 4      will disclose, how much they will disclose, based on things
 5      like whether they have a good socioeconomic background, based
 6      on whether they have a good social support group, based on --
 7      I mean, we even know things about whether or not if they've
 8      been abused before and made an outcry before to their mother
 9      but haven't been believed by their mother, how much less
10      likely they are to disclose if it were to happen again.
11           So there's a lot of information that we do know, and
12      there's a lot of information that we can say -- that we
13      can -- because what happens is a lot of people testify, for
14      example, that Victim A did not do this, and this is what
15      victims usually do.     Therefore, Victim A must not really be a
16      victim.
17      Q.   Um-hum.
18      A.   And that's a dangerous assumption to make.             And so in
19      the studying that we've done of victims, we're able to say,
20      you know, that's not always the case.          That's not necessarily
21      the case.   It's not fair to say that because he, you know,
22      told two different stories across a six-month period, that he
23      must be lying.
24      Q.   Now, when you say you have statistics, you're talking
25      about studies?




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                                   D. TURNER - DIRECT                          219

 1      A.   Correct.
 2      Q.   Studies you've done?
 3      A.   I've authored studies.        I have one study that is
 4      published in the U.S. Bulletin.         I have other studies that
 5      have been peer reviewed and presented at professional
 6      meetings or like --
 7      Q.   And those studies are on how victims react?
 8      A.   They're on how victims can react and then behavior of
 9      offenders, grooming behavior as well as victim behavior and
10      how it is impacted by how they were groomed.
11           And also other information that's very important in
12      these types of cases, such as percentages of child victims
13      that wait at least five years before they disclose, or the
14      percentage of child victims that wait until they're an adult
15      to disclose, things like that that we previously thought
16      didn't really happen.
17           You know, we picture kids running and finding the first
18      adult that they can find and telling the whole story the
19      first time.    But we know from these types of studies and in
20      talking with victims over time and publishing these studies
21      and getting together at professional meetings and conferences
22      and going over the data, we know a lot now that we didn't
23      know, you know, even 10 years ago.
24                 THE COURT:     Let me cut in here.
25                 Mr. Olsinski, are you opposing Dr. Turner as an




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                                   D. TURNER - DIRECT                            220

 1      expert at this point?
 2                 MR. OLSINSKI:      Well, I don't know that -- I haven't
 3      gotten any clarification in terms of what he testifies is
 4      nothing more than just -- you know, it may be this, it may be
 5      that.    I mean, I don't know if there's -- he'd be an expert
 6      on it.    It could possibly be a million other things.            He
 7      hasn't given me any kind of --
 8                 THE COURT:     All right.     He's testified over 50
 9      times in federal court, over one hundred times in state
10      court.
11                 MR. OLSINSKI:      Um-hum.
12                 THE COURT:     So --
13                 MR. OLSINSKI:      Well, I mean, that may well be true.
14      But, I mean, it doesn't add any more validity to him saying
15      statistically, 50 percent of people disclose this way.               I
16      mean, I don't think that's --
17                 THE COURT:     Well, the Court actually has heard
18      enough.   The Court does make the determination whether an
19      individual is qualified.
20                 Sorry I didn't have my mic close to my mask.
21                 So the Court at this time does believe the
22      Government has sufficiently shown that Dr. Turner is -- has
23      specialized knowledge and can be deemed an expert under
24      Rule 702 of the Federal Rules of Evidence in grooming
25      behavior and techniques of adult offenders who sexually abuse




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                                   D. TURNER - DIRECT                          221

 1      minors and the characteristics of sexually abused children.
 2                 With that said, ladies and gentlemen, even though
 3      the Court qualifies someone or allows someone to be qualified
 4      as an expert, you still make the decisions here.             And so if
 5      you want to reject the expert's testimony, you're permitted
 6      to do that.    You make the determination.
 7                 But the Court has determined that the witness does
 8      qualify as an expert, as I've already claimed -- already
 9      identified the area, grooming behavior, et cetera, et cetera.
10      But with that said, I turn it back over to the Government.
11                 MR. LINDAHL:     Thank you, Your Honor.
12      Q.   Dr. Turner, with regard to the case on trial this week,
13      have you reviewed any of the specific evidence in this
14      matter?
15      A.   No, sir.
16      Q.   Are you familiar with any of the facts?
17      A.   Very, very basic facts.
18      Q.   Can you give us an idea of what you've been told before
19      your testimony?
20      A.   I'm aware that -- that the alleged victim has accused
21      her biological father of sexually perpetrating against her
22      beginning at about age 11, and that there was some delay in
23      disclosure, and that's all I know.
24      Q.   So with your testimony today, do you intend on offering
25      up what's known as blind expertise?




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                                   D. TURNER - DIRECT                          222

 1      A.   Yes, sir.
 2      Q.   Can you explain what that means?
 3      A.   Yes, sir.    So blind expertise is when I have not
 4      evaluated the person that's been accused of a crime.              I've
 5      not read details of an alleged offense.           I've not interviewed
 6      or evaluated the alleged victim of an offense.
 7           I'm here to provide information about an area that I'm
 8      an expert in because of the work that I've done and the
 9      experience that I have in that area.          And the reason for that
10      is because there are so many common threads in these types of
11      offenses that can be confusing to triers of fact; triers of
12      fact being jurors or a judge.
13           So it's to help people that are making legal decisions
14      understand matters where psychology and the law meet.
15      Q.   And for your testimony today, are you being paid by the
16      United States?
17      A.   Yes.
18      Q.   At what rate?
19      A.   250 an hour.
20      Q.   Since entering private practice, do you charge an hourly
21      rate in all criminal investigations or pending cases that you
22      assist with?
23      A.   Yes.
24      Q.   So that would include both cases where you have been
25      hired by the prosecution and cases where you've been hired by




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                                   D. TURNER - DIRECT                          223

 1      a defendant?
 2      A.   Yes.
 3      Q.   I'm going to turn now to sex offenses.
 4           With regard to sex crimes, have you found in your
 5      research a difference in matters involving adult victims with
 6      those that involve children victims?
 7      A.   Yes.
 8      Q.   Can you tell us a little about that.
 9      A.   When a child is targeted and is sexually abused, their
10      response is going to generally be different than the response
11      would be of an adult in a variety of ways.
12      Q.   With that said, can you give us some unique issues that
13      relate to child victims in these kind of cases?
14      A.   Sure.    Child victims have yet to have gained an
15      understanding about a lot of different relationships:               Sexual
16      relationships, familial relationships, relationships with
17      trust, romantic relationships.        And so when a child is
18      sexually abused, especially by someone that they know, it can
19      be very confusing to that child, and it can lead to all kinds
20      of factors that make it difficult for that child to fully
21      disclose that they have been sexually abused by that
22      individual.
23      Q.   Dr. Turner, would you please define grooming behavior as
24      it relates to sex offenses involving children?
25      A.   Sure.    So there's lots of big long definitions, but the




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                                   D. TURNER - DIRECT                          224

 1      one that I think is most concise and that covers everything
 2      the best is grooming behavior are behaviors that are engaged
 3      in by potential child sexual predators in order to gain
 4      access to a victim, in order to increase the likelihood of
 5      that victim willingly -- and I put that in quotes because
 6      they're children, and they cannot willingly engage in sex --
 7      but "willingly" meaning not fight back, and then prevent
 8      disclosure as best they can.        In other words, prevent that
 9      child from telling anyone about the sexual abuse.              And that's
10      what grooming is, behaviors that make that likely to happen.
11      Q.    So beyond that general definition you've provided, are
12      there specific different types of grooming behaviors?
13      A.    Yes.
14      Q.    And are -- in your research and in your practice, have
15      you found that the behaviors implemented can have a different
16      impact when dealing with prepubescent victims when compared
17      with adolescent victims?
18      A.    Yes.
19      Q.    What age range is typically associated with a
20      prepubescent victim?
21      A.    When we talk about prepubescent victims, we're generally
22      talking in clinical terms of someone that's under the age of
23      13.
24      Q.    And what about with regard to an adolescent victim?
25      A.    An adolescent victim is generally referring to someone




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                                   D. TURNER - DIRECT                           225

 1      that is older than 13 or 13 and older.           And generally puberty
 2      is the mark that we're aiming for there.           Someone that has
 3      either not been through puberty or someone that has been
 4      through puberty.
 5      Q.   Is there typically a difference in understanding and
 6      attitude toward sex between prepubescent children and
 7      adolescent children?
 8      A.   Yes.
 9      Q.   Can you explain that?
10      A.   Well, quite simply, in prepubescent children, there
11      really isn't much of an attitude towards sex.            Prepubescent
12      children don't know a whole lot about sex.            They're not
13      generally driven by sexual goals or sexual desires.              They
14      don't have sexual motives, sexual fantasies like we see in
15      post-prepubescent children who have started to have those
16      fantasies and started to feel sexual arousal and sexual
17      attraction.    So there's a world of difference in the two.
18      Q.   And are there certain behaviors or patterns that occur
19      across most cases involving an offender grooming a
20      prepubescent child victim?
21      A.   Can you repeat that question, please?
22      Q.   Sure.    Are there certain behaviors or patterns that
23      occur across most cases involving an offender who is grooming
24      a prepubescent victim?
25      A.   Yes.




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                                   D. TURNER - DIRECT                          226

 1      Q.   Can you talk more about that?
 2      A.   Sure.   One thing that we're going see in nearly every
 3      case is an effort by the offender to isolate the child victim
 4      as much as possible and as often as possible.            We're also
 5      going to see a gradual, that is, an over time introduction of
 6      sex and sexual themes in an attempt to normalize sex and
 7      introduce sex to that prepubescent child.
 8      Q.   And does an isolated prepubescent victim tend to
 9      simplify an offender's ability to shape their attitude
10      towards sex?
11      A.   Yes.
12      Q.   Can sexual grooming occur in family units?
13      A.   Yes.
14      Q.   In a parent-child relationship?
15      A.   Yes.
16      Q.   Are there any sexual grooming behaviors that are unique
17      in a sex crime occurring in a parent-child relationship?
18      A.   Well, one of the things that we see unfortunately in a
19      situation where the sexual abuse is being perpetrated by a
20      parent on a child, especially a biological child, is that a
21      lot of the work involved in grooming is essentially already
22      done for that perpetrator.       They've already had access to
23      isolation of that victim whenever they want.            They can teach
24      that victim anything they want to know about sex because
25      they're the parent that usually teaches a child, you know,




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                                   D. TURNER - DIRECT                          227

 1      what we hope a child is being taught about sex.             So it
 2      facilitates the grooming process when the offender is a
 3      parent a great deal.
 4      Q.   What role does emotional connection have as it relates
 5      to grooming?
 6      A.   One of the things that were found in research, and in my
 7      research in particular, finding over and over is that the
 8      more people think of grooming as -- especially in younger
 9      children, fireworks, quarters, cotton candy, what we're
10      really seeing is an effort to establish a trusting
11      relationship.
12           So for younger kids, it is done a lot of times by giving
13      gifts and things like that, but we see the gifts change when
14      the victims get older.      It might turn into alcohol or
15      marijuana or the ability to stay out later, get away with
16      certain things.
17      Q.   You talked about how grooming techniques can have an
18      impact on a child victim's willing participation in sex
19      abuse.   Can you expand upon that and describe how emotional
20      connection might play into that?
21      A.   Sure.   So there's a study that shows that about
22      30 percent to 40 percent of police officers who are involved
23      in cases where children have been sexually abused feel that
24      the child is somehow in love with the perpetrator.              A child
25      who has been groomed, what has happened is a relationship, a




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                                   D. TURNER - DIRECT                          228

 1      trusting emotional relationship has been formed in which that
 2      child feels a connection to the offender, which seems to go
 3      against everything that we would think.
 4           We would think they would want nothing to do with that
 5      offender, but what we find is the offense.            Very often
 6      they're very defensive of that offender.           They yearn to
 7      continue to be around that offender, and they may even feel
 8      guilty or feel as though they're somewhat responsible for the
 9      abuse that took place.
10      Q.   Dr. Turner, I want to turn you back to the family
11      structure as it relates to these kind of crimes.
12           Can you tell us, what are some ways that perpetrators
13      are able to isolate victims within a family unit?
14      A.   Well, it's as simple as choosing which child to spend
15      most of your time with.       What we see in families where a
16      child is being molested is that that child is very often
17      singled out more than other children to do things with,
18      whether it's staying up late and watch movies or go to the
19      mall.   They are very often given an ability to get away with
20      things.   They don't get in trouble for what the other
21      children get in trouble for.        Those are some of the ways that
22      we see isolation within a family context.
23      Q.   And how, in a family context, does minor victim's need
24      for or effort to seek approval impact an offender's ability
25      to groom that victim?




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                                   D. TURNER - DIRECT                          229

 1      A.   Well, if we take sex out of the picture, all of us just
 2      think for a second about how we felt about our parents when
 3      we were growing up.     That's a very, very powerful
 4      relationship.
 5           Now you imagine if that parent had inserted a sexual
 6      aspect to that relationship.        It's going to be extremely
 7      confusing for that child, and it's going to give that parent
 8      a great deal of control over what that child does and does
 9      not do.
10      Q.   Dr. Turner, can you describe the concept of normalizing
11      as it relates to a grooming behavior in these cases?
12      A.   Sure.    We talked earlier about children who generally
13      don't think about sex yet.       They're not motivated by sex.
14      They don't make decisions based on sex, especially if they're
15      prepuberal.
16           Normalizing is when the groomer or the potential
17      offender makes sex something that is okay to talk about, that
18      is okay to joke about, it is okay to do.           And so that's what
19      normalizing is.
20      Q.   Does that include conversations about masturbation?
21      A.   Yes, it can.
22      Q.   What about pornography?        Does that play a role in some
23      of the cases you've analyzed?
24      A.   Absolutely, both child and adult pornography.
25      Q.   And are there circumstances where normalizing can




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                                   D. TURNER - DIRECT                          230

 1      include establishing a comfort level with being nude in front
 2      of the adult offender?
 3      A.   Absolutely.
 4      Q.   When we were speaking about prepubescent victims, you
 5      mentioned the origin of grooming at that point, the
 6      isolation, the beginning to expose them to sexually -- sexual
 7      topics.   Do these grooming cases tend to operate in a
 8      progression where the techniques develop toward illegal
 9      sexual contact?
10      A.   Yes, they do.
11      Q.   Can you talk more about that?
12      A.   Well, we don't see these cases start off with, you know,
13      going to the movies together and then, you know, having oral
14      sex with one another.      It's a gradual thing.        It's comments
15      made about the way a child looks.         You look cute in that.
16      You look pretty today.      You look pretty like your mom.           It's
17      pats on the bottom, rubbing shoulders, sexual jokes, maybe
18      sexual pornography in the form of jokes, and then moving on
19      to things that are and would be considered illegal.              That's
20      generally the normalizing process, and it happens over time.
21      Q.   Dr. Turner, are there circumstances in these cases where
22      offenders successfully normalize illegal sexual conduct in
23      their victims?
24      A.   Absolutely.
25      Q.   Has -- could that include the creation of child




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 1      pornography?
 2      A.   Yes.
 3      Q.   How does that impact a minor victim's understanding of
 4      whether what they're doing is right or wrong?
 5      A.   You said the creation of child pornography?
 6      Q.   Including, yeah.
 7      A.   Well, if we're talking about creating child pornography,
 8      then we're talking about a child who is now seeing themselves
 9      naked and often engaging in sexual activities, and there's
10      generally a threat that that is going to be shown to other
11      people.
12           So as a means of normalizing sex, showing pornography is
13      one thing.   Showing child pornography to normalize sex among
14      children in adults is another.        Producing child pornography
15      with the victim would -- would -- that's a totally different
16      ballgame in terms of control over a victim.
17      Q.   And a participant in that kind of contact, a victim
18      participant, how is it the normalizing may impact their
19      ability to know whether something like that is right or wrong
20      if the grooming started at a prepubescent time in their life?
21      A.   Well, because our parents are the ones that tell us
22      what's right and what's wrong.        They're the ones that tell us
23      not to put our hand on the stove and not to cross the street
24      without looking left and right.         So if they're the ones that
25      are also telling us that it's okay to let me take these




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 1      pictures or okay for you to take these pictures, whatever the
 2      case may be, then that's going to be looked on as the truth,
 3      especially if there has been sufficient isolation so that you
 4      don't have people in their environment telling them that it's
 5      odd, that it's wrong or that you should report that.              That's
 6      the whole point of isolation as well.          So I don't know if
 7      that backs over an old question.
 8      Q.   Dr. Turner, in a parent-child relationship in these
 9      cases, how does the offender use grooming to prevent the
10      victims from reporting to other family members?
11      A.   Well, in a lot of cases, in a majority of cases, that's
12      done through guilt.     And the guilt is often in the form of
13      either you're just as guilty in all of this as I am; or if
14      you tell, here are some negative things that will happen to
15      our family as a result.       I could get taken away.        Your mom
16      won't be able to support you-all, things of that nature.
17      Those, I would say, would be the two biggest grooming factors
18      in order to prevent disclosure in that context.
19      Q.   Is it uncommon to see grooming occur between a parent
20      and child in these kind of cases over a period of six years?
21      A.   No.
22      Q.   How does -- do these grooming techniques impact child
23      victims as it relates to reporting after the abuse has ended?
24      A.   Well, a lot of times when the child is considering
25      reporting, there are two main things that they're concerned




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 1      with.   One is am I going to be believed; and two is am I
 2      going to get in trouble somehow for this; with a close third
 3      being, you know, is my family going to completely implode
 4      like I've been warned they would.
 5           And so what we see in a lot of disclosure when it does
 6      happen is it happens later.        Eighty percent of the time it
 7      happens after they've reached adulthood, and we see this
 8      gradual sort of dipping their toe in the pool.             So it's
 9      telling a little bit to see if they're going to be believed
10      or if the world is going to explode; and then maybe a little
11      while later, telling a little bit more.           There's -- we tend
12      to see a gradual progression.
13           But the more direct answer to your question is we're
14      going to see a delayed disclosure process, and very
15      oftentimes, a step-wise disclosure process.
16                  MR. LINDAHL:    No further questions, Your Honor.
17                  THE COURT:    All right.     Defense witness.
18                  MR. OLSINSKI:     Thank you, Your Honor.
19                                CROSS-EXAMINATION
20      BY MR. OLSINSKI:
21      Q.   Now, you testified about the isolation phase of
22      grooming?
23      A.   Yes, sir.
24      Q.   And that the person tries to keep the victim away from
25      other people?




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 1      A.   Yes, sir.
 2      Q.   Away from a reference point?
 3      A.   Right.    Away from someone who will kind of undo what
 4      they've done so far in the grooming process.
 5      Q.   Okay.    And that this isolation is a form of
 6      brainwashing?
 7      A.   I never used the word brainwashing.
 8      Q.   You haven't used that in previous testimony you've
 9      given?
10      A.   I may have.     I didn't use it today.
11      Q.   Okay.    So when you testified in the United States v.
12      David Tellis (phonetic) on October 17th in Oakland,
13      California, you didn't use the term brainwashing?
14      A.   I may have.     You -- you said it today, and I was just
15      saying that I didn't say it today.
16      Q.   Okay.    But that's what you're getting at with the
17      isolation, is to try and control the child?
18      A.   Yes.
19      Q.   To brainwash?
20      A.   You could -- you could look at it like that, yes.
21      Q.   And the whole goal of that is the further away to get
22      from, like you said, a reference point, the easier it is to
23      control?
24      A.   Yes.
25                  MR. OLSINSKI:     Nothing further, Your Honor.




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 1                 THE COURT:     Redirect?
 2                 MR. LINDAHL:     No, Your Honor.
 3                 THE COURT:     All right.     Can we release Dr. Turner?
 4                 MR. LINDAHL:     Yes.    The Government would be
 5      requesting that he be released from his subpoena.
 6                 THE COURT:     Yes.
 7                 MR. LINDAHL:     Yes, Your Honor.
 8                 MR. OLSINSKI:      No objection.
 9                 THE COURT:     No problem, right?
10                 MR. OLSINSKI:      No.
11                 THE COURT:     All right.     Dr. Turner, thank you very
12      much.   You're released.
13                 THE WITNESS:     Thank you, Your Honor.
14                 MR. LINDAHL:     Your Honor, the Government is
15      bringing in our next witness.        It will be Michael Ebert.         But
16      I am requesting a sidebar before this witness testifies.
17                 THE COURT:     All right.     Quick sidebar.
18                 (At sidebar on the record:)
19                 THE COURT:     All right.
20                 MR. LINDAHL:     Thank you, Your Honor.
21                 Your Honor, the Government is making a motion in
22      limine in advance of this individual's testimony to preclude
23      him from being able to testify about having undergone the
24      EMDR procedure in his own therapy or any opinion evidence
25      that may be elicited with respect to his own impact having




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                      Exhibit E
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 1                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
 2                                  ORLANDO DIVISION

 3
      UNITED STATES OF AMERICA,          )
 4                                       )
               Plaintiff,                )          Case Number
 5                                       )
                        v.               )    6:15-cr-226-Orl-41GJK
 6                                       )
      DANE GILLIS,                       )
 7                                       )
               Defendant.                )
 8                                       )

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10
                             Transcript of the sentencing
11
                    before the Honorable Carlos E. Mendoza
12
                          September 21, 2016; 9:04 a.m.
13
                                   Orlando, Florida
14

15

16    Appearances:

17    Counsel for Plaintiff:        Karen L. Gable
                                     Emily C.L. Chang
18

19    Counsel for Defendant:        Karla M. Reyes
                                     James T. Skuthan
20

21
           Proceedings recorded by mechanical stenography,
22    transcript produced by computer.

23
                                Diane Peede, RMR, CRR
24                      Federal Official Court Reporter
                    401 West Central Boulevard, Suite 4600
25                          Orlando, Florida  32801
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 3
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 4    Direct by Ms. Reyes                                              10
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 5    Redirect by Ms. Reyes                                            28

 6
                                    Darrel Turner
 7    Direct by Ms. Gable                                              32
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 8    Redirect by Ms. Gable                                            62

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 1    that's not yours and I'll have them clean up after you.

 2                 Ms. Reyes, do you have any further witnesses to

 3    call at this time?

 4                 MS. REYES:     No, Your Honor.

 5                 THE COURT:     Will your client be making a statement

 6    to the Court before we move on to the government's case?

 7                 MS. REYES:     Can he be the last one to speak, Your

 8    Honor?

 9                 THE COURT:     He can be the last one.

10                 MS. REYES:     Thank you.

11                 THE COURT:     Ms. Gable, do you have any witnesses

12    you'd like to call at this time?

13                 MS. GABLE:     We do, Your Honor.        We call Dr. Darrel

14    Turner.

15                 THE COURTROOM DEPUTY:        Please come forward and be

16    sworn.    Raise your right hand.

17                 Do you solemnly swear or affirm under the penalty

18    of perjury that the testimony you give will be the truth, the

19    whole truth and nothing but the truth?

20                 DR. DARREL TURNER:        Yes, ma'am.

21                 DARREL TURNER, PLAINTIFF'S WITNESS, SWORN

22                 THE COURTROOM DEPUTY:        Have a seat there, please.

23                 THE COURT:     All right.      And once seated, please

24    make yourself comfortable with the chair's proximity to the

25    microphone, state your full name into that microphone,
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 1    spelling your last name.

 2                 THE WITNESS:      Yes, Your Honor.       My name is Dr.

 3    Darrel Turner, last name T-u-r-n-e-r.

 4                 THE COURT:     Ms. Gable, your witness.

 5                 MS. GABLE:     Thank you.

 6                                DIRECT EXAMINATION

 7    BY MS. GABLE:

 8    Q      Good morning, Dr. Turner.         What do you do for a living?

 9    A      I'm a clinical and forensic psychologist.

10    Q      Where do you practice?

11    A      I'm sorry.     I'm licensed in the states of Louisiana and

12    in Texas.

13    Q      Did you go to school?

14    A      I did, yes.

15    Q      Where did you go to school and what degrees did you

16    receive?

17    A      I have a bachelor's degree in psychology from McNeese

18    State University in Louisiana, a master's degree in

19    counseling psychology from the same institution, and a Ph.D.

20    in clinical psychology from Sam Houston State University in

21    Huntsville, Texas.

22    Q      Do you conduct psychosexual risk assessments?

23    A      I do, yes.

24    Q      What are those?

25    A      It's the use of factors that are supported in research
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 1    to be either risk factors or protective factors.                It's

 2    looking at all of them in totality, and it is determining,

 3    based on those research-supported factors, to what degree a

 4    person represents risk to re-offend.

 5    Q      How many risk assessments have you conducted?

 6    A      I don't know an exact number.          It's hundreds.      It's -- I

 7    would say it's the majority of my forensic practice.

 8    Q      And in what capacity or for what agencies have you

 9    conducted risk assessments?

10    A      I work with the State of Texas.           There's a Civil

11    Commitment Program there for sexually violent predators, and

12    I've worked with the defense as well as prosecution in that

13    context.     I've worked with federal defense attorneys, federal

14    prosecutors, local, state defense and prosecutors, sometimes

15    court-appointed as well.

16    Q      Have you conducted any research or done any research in

17    the area of psychosexual risk assessment?

18    A      I have, yes.

19    Q      What kind of research have you done?

20                 MS. REYES:     Your Honor, pardon the interruption.

21    As stated earlier, we are willing to stipulate to Dr.

22    Turner's expertise.

23                 THE COURT:     And I appreciate the collegiality

24    there.    I will tell you that your expert that just testified,

25    I was able to consider her entire curriculum vitae when she
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 1    testified at the motion in limine.            While that's a very

 2    generous offer to the government, I'm going to leave it to

 3    them as to whether or not they want to lay it out.

 4                 I don't have a C.V. on this witness that I have on

 5    yours.    I don't know anything about this witness.              So, Ms.

 6    Gable, the ball is in your court on this one.

 7                 MS. GABLE:     Thank you.

 8    BY MS. GABLE:

 9    Q      Are have you conducted research in the area of

10    psychosexual risk assessment?

11    A      Yes, I have.

12    Q      And what research have you conducted?

13    A      I've published numerous studies in the area of -- well,

14    the broad area of risk assessment of sex offenders, risk

15    assessment of adults who sexually offend against children,

16    ethical considerations in sex offender risk assessments.

17    That was a textbook chapter that I co-authored.

18           I was contacted recently by the F.B.I.'s behavior

19    analysis unit to participate or collaborate in a study on

20    risk factors among contact child molesters as well as

21    non-contact child pornography offenders.

22           I've done research on grooming.           A large part of my

23    practice is research.        I'm a bit of a nerd in that way.

24    Q      Have you received any training in the area of

25    psychosexual risk assessment?
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 1    A      Yes, I have.

 2    Q      What kind of training have you received?

 3    A      The program that I attended at Sam Houston State

 4    University, it was a clinical program, but the majority of

 5    the practicum placements and a lot of the specialized classes

 6    that you could take were in the field of mental health and

 7    law, forensic psychology.

 8           I've worked at numerous correctional facilities,

 9    juvenile and adult.        My predoctoral internship was with the

10    Federal Bureau of Prisons, and my first job was with the

11    Federal Bureau of Prisons.

12    Q      Dr. Turner, at the request of the United States have you

13    conducted a psychosexual risk assessment of the defendant,

14    Mr. Gillis?

15    A      Yes, I have.

16    Q      And in preparing for your assessment, did you review

17    documents in this case?

18    A      I did, yes.

19    Q      What did you review?

20    A      I reviewed the -- quite a bit, actually.             The

21    Superseding Indictment.         I reviewed the computer evidence;

22    the adult B.D.S.M., which is bondage sadomasochistic

23    pornography, as well as child erotica that was seized from

24    his computer; various photographs of the victim, Michelle;

25    trial Exhibit 17 -- well 12 through 17, which were various
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 1    pictures and photographs; transcripts of his e-mail

 2    correspondence with other Craigslist users; a summary of his

 3    e-mail correspondence with the undercover agent; the thank

 4    you note to Mr. Gillis from the victim, Michelle; transcripts

 5    of e-mails between the defendant and various other parties

 6    related to kidnapping and rape of the adult victim; his

 7    Internet search history and his Internet -- so his search-

 8    specific titles that he used to search as well as his

 9    Internet history that was obtained during the forensic

10    examination by the government; his Samsung Galaxy extraction

11    report; the Bing toolbar search terms obtained during the

12    forensic examination; a summary of his interview with the

13    F.B.I. subsequent to his arrest; a copy of the polygraph

14    examination; a CV of Dr. Sullivan; Dr. Sullivan's report; Dr.

15    Sullivan's handwritten notes; a partial trial transcript of

16    U.S. versus Dane Gillis; and then the testing results for the

17    in M.M.P.I., the Abel, the P.C.L.R. as submitted by Dr.

18    Sullivan; the United States Attorney's Sentencing Memorandum.

19    That's just about it.

20    Q      After reviewing all of that material, have you formed an

21    opinion regarding the defendant's risk to re-offend sexually?

22    A      Yes, I have.

23    Q      What is your opinion?

24    A      My opinion is that he represents a high risk to

25    re-offend sexually.
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 1    Q      What is the basis of your opinion?

 2    A      The basis of the opinion uses empirically supported risk

 3    factors.      It's factors that are shown across research studies

 4    to increase or lower a person's degree of risk of

 5    re-offending sexually.

 6    Q      In the field of risk assessment, are there predictors of

 7    sexual recidivism?

 8    A      Yes.

 9    Q      What are those predictors?

10    A      Well, the two largest predictors of sexual re-offending

11    are the presence of antisociality, which is antisocial

12    beliefs, personality, usually indicated by behaviors as well.

13    So because they have these personality characteristics, they

14    tend to act a certain way.          And that's one of the biggest

15    risk factors.

16           The second most powerful predictive risk factor is

17    degree of sexual deviance.

18    Q      What is "sexual deviance"?

19    A      "Sexual deviance" can be sort of defined differently by

20    different people, but essentially it's just a sexual

21    attraction to something, in this case something that would

22    require victimization.         It can be indicated by a fetish,

23    sexual attraction to an inanimate object, children, sadism.

24    All those are considered sexual deviancy.

25    Q      Is there an authoritative manual in the practice or
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 1    field of psychology that psychologists use to diagnose sexual

 2    deviancy?

 3    A      Yes.

 4    Q      What is that?

 5    A      Well, used to diagnose paraphilias, yes, and that's the

 6    Diagnostic and Statistical Manual-5, the D.S.M.-5.

 7    Q      Do you have an opinion as to whether or not the

 8    defendant meets the criteria, the diagnostic criteria for any

 9    sexual deviances?

10    A      Yes, I do.

11    Q      And what is your opinion?

12    A      He meets criteria for pedophilia, non-exclusive type,

13    attracted to females; and he meets criteria for sexual

14    sadism.

15    Q      What is "pedophilia"?

16    A      "Pedophilia" is a sexual attraction to prepubescent

17    children.     A guideline is given of about age 13, but people

18    can reach sexual maturity at different ages.               So it varies

19    from case to case.        That cause -- that last over a certain

20    amount of time.       The guideline is given of six months, but

21    that's just to show a pattern, that it wasn't just someone

22    got high on PCP and looked at child pornography one night.                  I

23    mean, it's a pattern and it causes problems for them.

24    Q      And what are the indicators or what evidence did you

25    review that shows that the defendant meets the diagnostic
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 1    criteria for pedophilia?

 2    A      Well, he's viewed child pornography since 2011, at

 3    least.    So we have the six-month criteria is easily met, 2011

 4    through 2015.

 5           He was convicted of conspiring to meet with an

 6    eleven-year-old girl for sex.

 7           I viewed the child erotica that he was looking at.                I

 8    don't know if you want me to describe that at this point or

 9    not.

10    Q      What did it depict?

11    A      Well, it was -- it was prepubescent children in

12    underwear or, I guess, sort of lingerie and they were in

13    sexual poses.      Some of the times they were nude, but they

14    would have their hands over their chest.              They didn't really

15    have breasts, so I guess it was just their nipples, or they

16    would have their panties partially moved to almost show their

17    vaginas.     So we have that from 2011 to 2015.

18           And the erotica was just what was seized on his

19    computer.     We have him convicted of planning to meet an

20    eleven-year-old for sex, him talking about what he would do

21    with the eleven-year-old sexually.            He admitted to the F.B.I.

22    that he found it titillating.           Some of the statements that he

23    made to the undercover agent about is she -- is she bald down

24    there, or something to that effect; statements that he made

25    of things that he would like to do to her as well as the fact
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 1    that, you know -- so the second criteria being does it cause

 2    problems for them in functioning.            Well, he was -- he was

 3    convicted of that, and so, you know, he certainly meets

 4    criteria for the disorder.

 5    Q      Did you find evidence that the defendant has any other

 6    sexual deviancies?

 7    A      I did, yes.

 8    Q      And what is that?

 9    A      Sexual sadism.

10    Q      What is "sadism"?

11    A      "Sadism" is gaining sexual arousal from the humiliation

12    of the victim, inflicting of pain, seeing fear, feeling the

13    power and control, things like that, in a sexual situation

14    such that -- and then it goes on to say, you know, it causes

15    problems for them and has existed for a period of time, so is

16    therefore a pattern.

17    Q      What evidence did you see in the record that the

18    defendant has a diagnosis of sexual sadism?

19    A      He admits in several different places to an interest in

20    violent sexual encounters, forcing others to have sex with

21    him.    The transcripts with other Craigslist users and the

22    undercover agent are quite graphic in his descriptions of

23    what he wanted to do to the victim, Michelle.

24           And then we also have the B.D.S.M. pornography that was

25    collected from his computers, which I viewed, which depicted
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 1    vary graphic scenes of rape and torture of a sexual nature of

 2    older females and younger females.

 3    Q      How many times have you diagnosed sexual sadism and

 4    pedophilia in the same individual?

 5    A      Never.

 6                 MS. REYES:     Object to improper bolstering.

 7                 THE COURT:     "How many times have you diagnosed

 8    sexual sadism and pedophilia in the same individual?"                 The

 9    objection is bolstering.         I'm going to overrule the objection

10    and allow the question to be answered.

11    A      Never.

12    Q      How does -- do these -- within the defendant, as you

13    viewed the evidence, do these two sexual deviancies that he

14    has, do they exist in a vacuum?

15    A      No, they do not.

16    Q      And how -- what evidence do you have of that?

17    A      Well, we have no evidence that he is sexually attracted

18    to adult females only when he's inflicting pain, rape and

19    torture on them, but with children, he wants a nice, sweet

20    relationship.      I mean, there's nothing to indicate that.

21           In fact, the evidence that is present indicates that the

22    two paraphilias sort of intersect and cross.               He talks with

23    the undercover agent about getting the adult victim together

24    with the eleven-year-old female and letting them do things

25    together.     So we see what we usually see when there's lots of
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 1    different types of sexual deviance.            We see a crisscross and

 2    an intermingling of the two.

 3    Q      Do you have an opinion as to why the defendant obsessed

 4    on the victim, M.O., in this case, Michelle?

 5    A      I do.

 6                   MS. REYES:   Objection to speculation.

 7                   THE COURT:   What's the response?

 8                   MS. GABLE:   Your Honor, he's testifying as an

 9    expert.     I'm asking him for an opinion.          It will then be tied

10    up to his overall risk assessment of this defendant.

11                   THE COURT:   I'm going to overrule the objection.

12    A      Based on the description of the victim that I received

13    in the record, she appears to be rather innocent, maybe even

14    naive, sort of a soccer mom kind of individual, and this

15    would speak exactly to his desire to dominate and control.

16           When we think of sexual attraction, we think of

17    someone --

18                   MS. REYES:   Objection to non-responsive.

19                   THE COURT:   Overruled.      Go on ahead and continue.

20    A      -- we think of someone as being sexually attracted to

21    another individual because of physical beauty or some kind of

22    physical attraction; but when you're looking at something

23    like sadism, you have to keep in mind that what constitutes

24    the sexual attraction is the domination and the inflicting of

25    pain and humiliation.        So what better person than someone
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 1    that is that idyllic and rather Donna Reedish, if you will.

 2    Q      How does the fact that the defendant has both -- these

 3    two paraphilias that you've discussed, how does that affect

 4    your overall risk assessment of this defendant in terms of

 5    his risk to re-offend sexually?

 6    A      Sure.    It increases his risk.

 7    Q      And how is that?

 8    A      Well, it increases his risk because it's further

 9    evidence of sexual deviance.          And so when we're considering

10    the two biggest risk factors, we're looking at antisociality

11    and sexual deviance.        So he has more sexual deviance than,

12    say, someone who is strictly a pedophile or strictly a

13    sadist.

14           And then, also, you have to look at a potential victim

15    pool, and we already see evidence of that.              He's not only

16    capable of hurting children for sexual gratification; he's

17    capable of hurting adults as well for sexual gratification.

18    So that increases his risk in turn.

19    Q      Dr. Turner, in reviewing the defendant -- or Dr.

20    Sullivan's report, she indicated that the defendant tested on

21    the Abel Assessment as being sexually attracted to

22    adolescents ages 14 through 17, and then opined that that did

23    not indicate sexual deviancy.           Do you agree with that?

24    A      No, I don't.

25    Q      And why not?
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 1    A      There's some controversy about the Abel instrument.

 2    Fourteen to 17 is a night and day difference, and Abel says

 3    in the manual that it's prejudicial and it should not be

 4    considered abnormal.

 5           And I wouldn't say that it's abnormal for an adult man

 6    to be sexually attracted to a 17-year-old female.                I would

 7    say that it's abnormal for a adult man to be sexually

 8    attracted to a 14-year-old female.

 9           So I think to just chuck 14 and 17 as the same thing is

10    inaccurate, and I think what should happen would be a follow-

11    up period of questioning about, okay.             Well, let's look.        Is

12    it 17 or is it 14?

13    Q      Did you see any indication that that follow-up was done

14    in this case?

15    A      No.

16    Q      Is there, in fact, a D.S.M. diagnosis for sexual

17    attraction to younger adolescents?

18    A      It's not in the D.S.M., but there is a paraphilia

19    entitled hebophelia, yes.

20    Q      And what is hebophelia?

21    A      Hebophelia is a sexual attraction to children, but

22    children that are either peri-, so going through puberty, or

23    post-pubescent, around twelve to 14.

24    Q      Now, you also mentioned that the other predictor of

25    recidivism is antisociality?
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 1    A      Correct.

 2    Q      What is "antisociality"?

 3    A      "Antisociality" is the presence of traits of

 4    entitlement; grandiosity; shallow affect, meaning not showing

 5    much of emotion; lack of remorse; lack of ability to

 6    empathize with other people; feeling entitled, that you're

 7    owed something; being willing to victimize other people; and

 8    then generally just irresponsible behavior, impulsivity, not

 9    taking responsibility for your own actions.              It usually shows

10    up in some sort of criminal history, substance abuse,

11    unstable background, things like that.

12    Q      Is there a test that psychologists administer to test

13    antisociality?

14    A      The P.C.L.R. is administered to assess for psychopathy.

15    Antisociality and psychopathy are closely related, but

16    they're not exactly the same thing.

17    Q      Were you able to administer the P.C.L.R. in this case?

18    A      No, I was not.

19    Q      And why not?

20    A      Well, I didn't interview the -- Mr. Gillis in person.

21    And sometimes there's enough information and the A.P.A.

22    ethical guidelines even account for conducting forensic

23    evaluations without an interview just because it happens so

24    frequently, and sometimes there's enough information to score

25    based on the records and other interviews that may have
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 1    occurred, but in this case I didn't feel that ethically I

 2    could provide a total score based on the information that I

 3    had.

 4    Q      And was the information that you had primarily in the

 5    report of Dr. Sullivan?

 6    A      About his background and history, yes, ma'am.

 7    Q      What other kind of information would you have sought

 8    from Mr. Gillis?

 9    A      Well, in a psychosexual risk assessment I would want to

10    ask about anything that would lead to a diagnosis of

11    Antisocial Personality Disorder.           I would want to know

12    whether he played with fire as a child.             I would want to know

13    whether he hurt animals for fun.           I would want to know

14    whether he shoplifted.         I would want to know whether he was

15    truant, was he suspended, was he expelled from school, what

16    kind of things was he in trouble for, was he a bully, was he

17    in physical altercations.

18           I would want to know about his school history, why he

19    left the different schools, why there was a ten-year period

20    between different schools, what he did during those ten-year

21    periods.

22           I would want to know more about his activity with

23    prostitutes.      He admitted to sexual activity at least six

24    times with prostitutes.         That wasn't really followed up.

25           I would want to know more about the period of arrest and
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 1    being pursued by law enforcement and placed on probation.                  I

 2    would want to know if he completed that probation

 3    successfully.

 4           I would want to know more about his substance use

 5    history and then his sexual history.            That's really what

 6    we're here for.       So I would want to know about his

 7    masturbation habits, when he first looked at pornography, how

 8    often he looked at pornography, what were his preferences

 9    when he masturbated, just a lot of detail that wasn't

10    available in the report.

11    Q      Based on the evidence that you reviewed, did you see

12    evidence that Mr. Gillis possesses characteristics of

13    antisociality or associated with antisociality?

14    A      Yes, I did.

15    Q      And what is that?       What evidence did you see?

16    A      He does have a criminal history.           He was arrested for

17    D.U.I. in 1985.       He was placed on probation in 1989 after

18    evading arrest for a period of time.

19           You know, we -- in my review of the testing materials

20    and his responses, he was quite dishonest about numerous

21    things that were contraindicated by his interview with the

22    F.B.I., for example, and his activity online.

23           You know, his statements about what he wanted to do to

24    the victim, the fact that he had ridden in the car with the

25    victim's children but was still planning all this, put her
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 1    picture out there, her name, that's evidence of callousness

 2    and a lack of ability to empathize.

 3           You know, I -- I asked you -- at one point during our

 4    discussions I told you what I imagined his presentation on

 5    the stand --

 6                 MS. REYES:     Objection, Your Honor, to speculation.

 7                 MS. GABLE:     I'll cut this off.        Thank you, Your

 8    Honor.

 9                 THE COURT:     All right.      I'll sustain it, then.

10    BY MS. GABLE:

11    Q      Did you review the defendant's testimony and the direct

12    and cross-examination of the defendant's trial testimony?

13    A      Yes, I did.

14    Q      And in reviewing that testimony, did you see any

15    indicators of lack of empathy or callousness?

16    A      Yes, I did.

17    Q      And what was that?

18    A      It was the -- his general response pattern.              He seemed

19    rather glib.      There wasn't any expression of remorse that I

20    saw.

21           He referred to the victim as "the MILF" repeatedly.                So

22    that's a depersonalization.          So that's -- that's evidence of

23    the personality construct, at least, of antisociality,

24    psychopathy, conning, manipulation, failure to accept

25    responsibility for his own actions.
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 1    Q      Did you see any evidence that he was irresponsible in

 2    his life?

 3    A      I did, yes.

 4    Q      What was that?

 5    A      Well, he had a pretty extensive history of substance

 6    use, cocaine, marijuana, alcohol, and then some that the

 7    report said he refused to reveal what they were.

 8           I know that there was one job that some of the records

 9    indicated he was fired from for anger.

10           His history of relationships is unstable.             By his own

11    report, in the report to Dr. Sullivan he says that he looks

12    back on his life as failure after failure after failure after

13    failure.

14           He does have an arrest history.           He does have a history

15    of anger.     He does have a history of anger outbursts.

16           He admitted to missing work at times due to substance

17    abuse, drinking, things like that.            All of that is evidence

18    of irresponsibility.        And that's only what I was able to

19    glean without an interview, based on the records.

20    Q      You've mentioned the term "protective factor" earlier in

21    your testimony.       What is a "protective factor"?

22    A      A "protective factor" is something that can lower a

23    person's risk of re-offending.

24    Q      Did you see any evidence of a protective factor or any

25    protective factors in this case?
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 1    A       I did, with -- with a caveat, yes.

 2    Q       And what was that?

 3    A       His age.    Generally, a relatively older offender

 4    represents a younger -- I'm sorry -- represents a lower risk

 5    of re-offending than a younger offender; but the caveat is

 6    that that's generally reserved for someone that offends very

 7    young, serves a period of time, and then is released as an

 8    older individual.

 9            But in this case that's mitigated.           The protective

10    nature of his age is mitigated by the fact that these

11    offenses just occurred and all signs indicate that his

12    behavior and fantasies and degree of violence was actually

13    escalating.

14    Q       And what is it that you saw in the record that indicated

15    that?

16    A       The pornography, the fact that he had progressed from

17    viewing pornography to seeking out others online, to actually

18    planning to meet, to actually showing up to meet, that he had

19    engaged in specific behaviors to facilitate the abduction of

20    Michelle, such as looking over her shoulder and seeing her

21    phone pin, knowing her schedule, posting that online.                 So

22    those would be some examples.

23    Q       How does the evidence of his escalating behaviors affect

24    your risk assessment of the defendant in this case?

25    A       Well, it speaks directly to his risk assessment.              He has
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 1    engaged in these behaviors over a period of many years, and

 2    he's escalating in his intensity and degree of violence and

 3    what he's willing to do that is illegal in order to satisfy

 4    those sexual urges.

 5           In Dr. Sullivan's report, she also indicates that due to

 6    erectile dysfunction, he has to seek more arousing

 7    pornography.      I find it concerning that the "arousing

 8    pornography" that he's seeking is more and more violent

 9    pornography, leading up to the subsequent offenses that he's

10    been sentenced for.

11    Q      Thank you, sir.      I have no further questions.

12                 THE COURT:     Ms. Reyes, cross-examination?

13                 MS. REYES:     Yes, Your Honor.

14                                CROSS-EXAMINATION

15    BY MS. REYES:

16    Q      Dr. Turner, when were you retained by the government in

17    this case?

18    A      I believe it would have been sometime in the summer or

19    late spring.      I don't have an exact date.

20    Q      Do you have an exact month?

21    A      No.

22    Q      Do you -- did you know, based on all of the documents

23    that you looked at in this case, that he was convicted in May

24    of this year?

25    A      I'm sure I read that at some point, yes.
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 1    Q       And that sentencing in this case was set for August of

 2    this year?

 3    A       Yes.

 4    Q       And that a continuance was granted so that you could

 5    conduct an evaluation of my client?            A two-month continuation

 6    was granted in this case so that you could conduct an

 7    evaluation of my client; did you know that?

 8    A       No, I was not aware of that.

 9    Q       Okay.   At any point did you ever ask me for permission

10    to meet with my client?

11    A       No.

12    Q       How much have you been paid by the government in this

13    case?

14    A       I don't have an exact amount.         I'd have to estimate it

15    for you.

16    Q       Have you been paid at all as of today, September 21,

17    2016?

18    A       No.

19    Q       Okay.   And how many times have you testified for the

20    federal government on the prosecution side?

21    A       I've been retained or testified?

22    Q       The question is:      How many times have you testified for

23    the federal government, prosecution side?

24    A       I believe three times.

25    Q       And what is the total amount of money that you have
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 1    received from the Department of Justice for your services?

 2    A      I have no idea.

 3    Q      The latest publication that you have listed in your C.V.

 4    is the bulletin from last July, correct?

 5    A      Correct.

 6    Q      And this was an article that you published in connection

 7    with the Department of Justice?

 8    A      Correct.

 9    Q      And it's basically a how-to, debunking defense experts

10    in sentencing proceedings for child pornography offenders?

11    A      That's not how I would describe it, but I could see that

12    you would see it that way.

13    Q      Were you paid for that article?

14    A      No.

15    Q      So you did it pro bono?

16    A      Correct.

17    Q      Did you review the images that are -- that you're -- on

18    direct examination that you're characterizing as child

19    pornography?

20    A      Yes.

21    Q      And would it surprise you -- and that was mentioning the

22    child pornography, that Mr. Gillis viewed it for over a

23    five-year period, that was a big part of your assessment,

24    correct?

25    A      Correct.
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 1    Q      However, those images are not child pornography,

 2    correct?

 3                   MS. GABLE:   Your Honor, I'll object to that.

 4                   THE COURT:   I would imagine the expert is in a good

 5    position to answer that question.            Overruled.     He can answer.

 6                   MS. GABLE:   Well, he isn't a lawyer, Your Honor.

 7                   THE COURT:   I understand and I'll take that into

 8    consideration.

 9                   MS. GABLE:   Thank you.

10    A      I think there are guidelines for attorneys, agents to

11    consider things as child pornography, child erotica.

12           From my standpoint, as a source of sexual attraction,

13    what I saw I would consider it child pornography.

14    Q      Would it surprise you to learn that he was never charged

15    with possession of child pornography?

16    A      No.

17    Q      The Abel Assessment that you testified on direct

18    examination, you're actually not licensed to conduct that

19    test, correct?

20    A      No, I'm not licensed specifically by Abel, if that's

21    what you mean.

22    Q      Okay.    So your concerns about it are you couldn't -- you

23    couldn't have done the follow-up for it had you wanted to or

24    taken the time to because you're not licensed for that,

25    correct?
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 1    A      No, that's not correct.

 2    Q      You're not licensed to do the Abel Assessment?

 3    A      Correct.

 4    Q      Okay.    So the concerns that you've mentioned on direct

 5    examination to the government, you couldn't have followed up

 6    with them had you chosen to because you're not licensed to do

 7    the Abel Assessment?

 8    A      No, that's not correct.

 9    Q      Okay.    To your knowledge, in your vast experience, the

10    Abel Assessment is graded off site?

11    A      Yes.

12    Q      So it's objectively graded?

13    A      Portions of it are objective.          Portions of it are

14    subjective because they're self-report.

15    Q      And based on what you testified on direct examination,

16    it has to be a totality of the circumstances of every single

17    test, right?

18    A      Correct.

19    Q      Okay.    Would you agree -- you're concerned about the

20    Abel grouping 14 to 17 year olds, right?

21    A      Yes.

22    Q      Okay.    Would you agree that 14 to 17 includes both

23    prepubescent and post-pubescent?

24    A      It's possible.      People reach pubescence at different

25    periods.
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 1    Q      Are you saying that you're able to tell a difference

 2    between a 14-year-old post-pubescent girl and a 17-year-old

 3    post-pubescent girl?

 4    A      Sometimes, I think.       Sometimes not.

 5    Q      Are you challenging the foundation of the Abel

 6    Assessment Test?

 7    A      I'm challenging grouping 14 and 17 in the same group and

 8    saying they're the same thing.           So if that means that I'm

 9    challenging the foundation, then that's fine.

10    Q      And have you contacted Dr. Abel to tell him that his

11    test is not valid?

12    A      No.    There's plenty of criticism in the research of his

13    test already.

14    Q      Have you published any articles or done any research on

15    attacking the validity of the Abel Assessment Test?

16    A      No, ma'am.

17    Q      You testified on direct examination that Mr. Gillis has

18    been fired from work for anger management purposes?

19    A      Yes.

20    Q      Were you privy to the Presentence Investigation Report

21    in this case?

22    A      No.

23    Q      So your information was gleaned from a conversation with

24    the prosecutor regarding that specific issue?

25    A      Yes.
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 1    Q      Would it surprise you to learn that he's never, ever

 2    been fired from a job for anger management reasons?

 3    A      It wouldn't surprise me.

 4    Q      Okay.    But you just testified to that on direct

 5    examination, right?

 6    A      I was told that, yes.

 7    Q      Okay.    And you testified on direct examination regarding

 8    his unstable relationships, correct?

 9    A      Yes.

10    Q      Okay.    Would it surprise you to learn that he's had

11    three relationships and all three have been long-term?

12    A      No.    I knew that.

13    Q      Okay.    But you would consider that to be unstable?

14    A      The nature of his relationships, yes.

15    Q      Okay.    And what is the nature of his relationships that

16    you find to be unstable?

17    A      Well, one of them was with a married woman, one of them

18    was with a 19-year-old when he was in his 40s.               I mean,

19    things like that.

20    Q      Which one was the relationship with the married woman?

21    A      The first.     His first relationship.

22    Q      Would you --

23    A      Or one of his first relationships.

24    Q      Would it surprise you to learn that that's absolutely

25    incorrect?
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 1    A       It would surprise me to learn that.

 2    Q       Okay.   And as part of your investigation in this case,

 3    did you actually read his entire transcript that he testified

 4    at trial?

 5    A       No.

 6    Q       So you pick and choose what parts of the transcript to

 7    read?

 8    A       No.

 9    Q       What parts of the transcript did you read?

10    A       I read portions of the transcript that were sent to me

11    related to various parts of the offense conduct.

12    Q       So this transcript was approximately 110 pages.              You

13    could not have read that since July of -- or since you were

14    hired in the summer?

15    A       I don't know -- I don't know how much of it I read.                I

16    read what I was sent.

17    Q       Okay.   You testified on direct regarding a paraphilic

18    disorder that is not in the D.S.M., correct?

19    A       Correct.

20    Q       Okay.   So if it's not in the D.S.M., would you agree

21    with me that it's not relied on by actual professionals?

22    A       No.

23    Q       Okay.   You testified that Mr. Gillis has lived a life of

24    irresponsibility?

25    A       Yes.
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 1    Q      Did you testify to that on direct?

 2    A      Yes.

 3    Q      Okay.    Would you consider it irresponsible to take

 4    family members in when they have nowhere else to go?

 5    A      No.

 6    Q      Would you consider it irresponsible to have a job when

 7    you're 19 years old for 19 years?

 8    A      No.

 9    Q      Would you consider it irresponsible to have -- after

10    that, to have a second career in the culinary industry?

11    A      No.

12    Q      Would you consider it irresponsible to take care of an

13    ailing father prior to his demise?

14    A      No.

15    Q      Would you consider it irresponsible to completely uproot

16    your entire life and travel from Illinois to Florida to

17    accomplish that?

18    A      No.

19    Q      Would you consider it irresponsible to then, after the

20    father dies, actually move permanently to Florida to care for

21    an ailing mother?

22    A      No.

23    Q      Would you consider it irresponsible to help raise young

24    women?

25    A      I would consider it maybe concerning, in light of the
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 1    offenses he was sentenced for.

 2    Q      Okay.

 3                   MS. REYES:   May I have a brief moment, Your Honor?

 4                   THE COURT:   Certainly.

 5    BY MS. REYES:

 6    Q      You testified on direct examination that Mr. Gillis lied

 7    about substance abuse.

 8    A      I don't know if I said he -- if I did say he lied about

 9    substance abuse, I think -- I didn't mean to say he lied.                  He

10    was just -- he wasn't completely forthright about it.

11    Q      And where did you get that information?

12    A      It's in the -- it's on the testing results, multiple

13    testing results and his interview with Dr. Sullivan.

14    Q      Would it surprise you to learn that in his interview

15    with a United States Probation Officer sentencing guideline

16    specialist, he was completely forthright about his substance

17    abuse?

18    A      No.

19    Q      And his substance abuse is approximately 30 years old?

20    A      No, that wouldn't surprise me.

21    Q      And you testified on direct that you're very concerned

22    about a D.U.I. that he got in 1985, correct?

23    A      I said I'm concerned that he has a criminal history.

24    Q      Which includes one D.U.I. from over 30 years ago?

25    A      Correct.
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 1    Q      That concerns you?

 2    A      Yes.

 3    Q      Okay.    You testified on direct that one of the most

 4    effective ways to measure antisocial behavior is through the

 5    P.C.L.R.?

 6    A      Correct.

 7    Q      And you were very concerned about all these questions

 8    that weren't developed in Dr. Sullivan's report?

 9    A      Correct.

10    Q      But you had access to her raw data, correct?

11    A      Correct.

12    Q      And all of those -- the checklist for this was properly

13    administered by Dr. Sullivan, correct?

14    A      I had a hard time reading the notes from her evaluation.

15    I saw the score for the P.C.L.R. that she administered.

16    Q      If you wanted to follow up, based on all of these

17    concerns that you mentioned on direct, there was nothing

18    stopping you from talking to my client, correct?

19    A      That wasn't my understanding, no.

20    Q      Was it your understanding that the government asked for

21    a continuance in order for you to evaluate my client?

22    A      No, that was not my understanding.

23    Q      You testified on direct that Mr. Gillis has been viewing

24    child pornography since 2011?

25    A      Correct.
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 1    Q      Where did you get that information?

 2    A      It was in the summary of his interview with the F.B.I.

 3    Q      Have you -- in your vast experience, have you learned of

 4    defendants not agreeing with what the F.B.I. agent attributes

 5    to them?

 6    A      Sure.    Absolutely.

 7    Q      Okay.    You had access in Texas or Louisiana -- you

 8    actually had access to all of the evidence in this case,

 9    correct?

10    A      Yes.

11    Q      Okay.    Based on your view of the evidence, would it be

12    fair to say that his viewing of what you term "pornography"

13    was intermittent?

14    A      Yes.

15    Q      And it wasn't continuous for 2011 to 2015?

16    A      Correct.

17                   MS. REYES:    Nothing further, Your Honor.

18                   THE COURT:    Thank you, Ms. Reyes.

19                   Redirect examination?

20                                REDIRECT EXAMINATION

21    BY MS. GABLE:

22    Q      Dr. Turner, regarding the instability of the defendant's

23    relationships, did you obtain the information that the

24    defendant's first relationship was a married woman from the

25    report of Dr. Sullivan?
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 1    A      I did, yes.

 2    Q      And did you obtain the information that he was with a

 3    19-year-old woman when he was 40 from the report of Dr.

 4    Sullivan?

 5    A      Yes, I did.

 6    Q      Dr. Turner, did you -- in the testimony that you

 7    reviewed from the trial, was it the direct and cross-

 8    examination of the defendant, Dane Gillis?

 9    A      Yes, it was.

10    Q      Thank you.     I have no further questions.

11                 THE COURT:     Thank you, Doctor.        Feel free to be

12    seated in the courtroom.

13                 Will the government be calling any further

14    witnesses at this time?

15                 MS. GABLE:     No, Your Honor.       I do have a letter --

16    it's a very short letter -- to read from the victim to the

17    Court.

18                 THE COURT:     Well, that was going to be my next

19    question.     Why isn't the victim here?

20                 MS. GABLE:     Your Honor, candidly, she was afraid.

21                 THE COURT:     All right.      And she asked you to read

22    that letter to the Court?

23                 MS. GABLE:     She did, yes.

24                 THE COURT:     All right.      Feel free to read the

25    letter.
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                      Exhibit G
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Brief Communication


Prevalence of Childhood Sexual Abuse and Timing of
Disclosure in a Representative Sample of Adults
From Quebec


Martine Hébert, PhD1,2; Marc Tourigny, PhD2,3; Mireille Cyr, PhD2,4; Pierre McDuff, MSc5;
Jacques Joly, PhD3

                                          Objective: Our study sought to explore patterns of disclosure of child sexual abuse (CSA)
                                          in a sample of adult men and women.
                                          Method: A telephone survey conducted with a representative sample of adults (n = 804)
                                          from Quebec assessed the prevalence of CSA and disclosure patterns. Analyses were
                                          carried out to determine whether disclosure groups differed in terms of psychological
                                          distress and symptoms of posttraumatic stress, and a logistic regression was used to
                                          examine factors associated with prompt disclosure.
                                          Results: Prevalence of CSA was 22.1% for women and 9.7% for men. About 1 survivor
                                          out of 5 had never disclosed the abuse, with men more likely not to have told anyone, than
                                          women. Only 21.2% of adults reported prompt disclosure (within a month of the first
                                          abusive event), while 57.5% delayed disclosure (more than 5 years after the first episode).
                                          CSA victims who never disclosed the abuse and those who delayed disclosure were more
                                          likely to obtain scores of psychological distress and posttraumatic stress achieving clinical
                                          levels, compared with adults without a history of CSA. In the multivariate analysis,
                                          experiencing CSA involving a perpetrator outside the immediate family and being female
                                          were factors independently associated with prompt disclosure.
                                          Conclusion: A significant number of adult women and men reported experiencing CSA,
                                          and most victims attested to either not disclosing or significantly delaying abuse disclosure.
                                          Can J Psychiatry. 2009;54(9):631–636.


                                            Clinical Implications
                                            · The high frequency of undisclosed or delayed disclosure underscores the need for health
                                              professionals to inquire about past CSA.
                                            · The high rate of revictimization suggests that health professionals should promote
                                              self protective skills among CSA survivors.
                                            · Prevention initiatives need to promote prompt disclosure of CSA, especially for boys and
                                              victims of abuse by an intrafamilial perpetrator.

                                            Limitations
                                            · The sample is relatively small and precluded the possibility of conducting separate analyses
                                              within gender groups.
                                            · Data regarding attributions or feelings of blame associated with the abuse that may impact
                                              disclosure patterns were not documented.
                                            · Variables related to disclosure (recipient, nature of the response following disclosure) that may
                                              influence subsequent distress were not investigated.



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Brief Communication



Key Words: sexual abuse, disclosure, psychological distress         supports statistical precision. Analyses were performed with
                                                                    this representative sample of adults (n = 804). The telephone
   n past years, numerous CSA programs have been imple-
I  mented in schools.1 One of the main messages is to encour-
age victims to promptly disclose the abuse to a trusted adult to
                                                                    survey was conducted in April and May 2006 by an estab-
                                                                    lished survey firm. Verbal consent of respondents was solic-
                                                                    ited and our study received approval from the Internal
prevent further abuse. Disclosure of CSA is likely to be fol-       Review Board of the University of Sherbrooke.
lowed with numerous interventions from judiciary, medical,
and treatment settings to address resulting symptoms.2 As           Measures
such, it would be plausible to expect disclosure of CSA to be       Two indicators of CSA were used: unwanted sexual touching
associated with better long-term outcomes. However, empiri-         and unwanted sexual intercourse before the age of 18 years.8
cal data have not found disclosure to be a reliable predictor of    Respondents indicated if any of these experiences ever hap-
long-term outcomes as no clear-cut relation between telling         pened to them and the identity of the perpetrator: a member of
someone about the abuse and psychological distress can be           the immediate family (for example, father, stepfather,
derived from current empirical studies2–4 underlying the need       brother), a member of the extended family (for example,
for further investigation in this area. In addition, data regard-   grandfather, uncle, cousin), a known but unrelated person
ing disclosure rates are scarce5 and few studies have explored      (for example, friend of the family, neighbour, teacher), and
factors related to prompt disclosure in representative samples.     an unknown perpetrator. Participants were asked their age
Published studies have often relied exclusively on women’s          during the first abusive episode, whether they ever disclosed
experience of CSA. Our study aims to explore disclosure pat-        the abuse, and the delay between the first episode and the dis-
terns of CSA victims in a representative sample of both adult       closure, and any sexual revictimization (another episode of
women and men in Quebec.                                            sexual abuse involving a different perpetrator).
                                                                    The brief French version of the Psychological Distress Scale
Method                                                              of the Quebec Health Survey9 (translation of the Psychiatric
Participants                                                        Symptom Index10,11) was used to obtain a measure of psycho-
Data were collected by a telephone survey with a sample of          logical distress symptoms in the week prior to evaluation.
adults (n = 1002) from Quebec. Selection without substitution       Each item is coded on a 4-point Likert scale, from 0 (never) to
was performed in 2 steps. First, households with telephones         3 (very often), with higher scores indicating increased sever-
were selected by random digit dialing. Then, in each selected       ity of distress. Normative values (80th percentile) are avail-
household, a respondent aged 18 years or older and able to          able for a noninstitutionalized Quebec population by sex and
complete the survey in either French or English was chosen          age12 and were used to define clinical levels of distress.
using a random selection schedule with no substitution of
                                                                    The PC-PTSD13 is intended to reflect the 4 factors specific to
respondent allowed. The overall response rate was 30%, con-
                                                                    the PTSD construct: reexperiencing, numbing, avoidance,
sidering refusals, incomplete interviews, and selected house-
                                                                    and hyperarousal.14–16 A positive response to the screen indi-
holds that remained impossible to reach after 5 attempts on
                                                                    cates that the respondent may have PTSD or trauma-related
different days and times.
                                                                    problems and that further investigation by a mental health
Data from respondents (n = 1002) were weighted by region,           professional may be warranted. A cut-off score of 2 is recom-
age, and sex based on the 2001 Canadian census data of adults       mended to optimize sensitivity or to detect positive cases.13
aged 18 years and older.6 A correction for design effect was        PC-PTSD scores are highly correlated with scores derived
applied. Design effect is equal to 1/(1 + variance of weighted      from a structured clinical interview (Clinician Administered
coefficients) and each weighted coefficient was multiplied by       PTSD Scale).
0.81 (or 1/1.24) to correct for the weighting effect on statisti-
cal accuracy.7 This weighting and correction for design effect      Results
reduces disparities between characteristics of the sample and
                                                                    Prevalence of CSA
those of the population, prevents overestimating, and
                                                                    In our sample, 21.4% of women and 9.5% of men reported
                                                                    unwanted sexual activities involving touching by an adult or
                                                                    a child 3 years older than them, and 5.2% of women and 2.3%
 Abbreviations used in this article                                 of men reported rape, for an overall CSA prevalence of
 CSA             child sexual abuse                                 22.1% of women and 9.7% of men (Table 1). Both unwanted
 PC PTSD         Primary Care PTSD Screen                           touching (n = 797, c2 = 21.43, df = 1, P < 0.001) and rape (n =
 PTSD            posttraumatic stress disorder                      800, c2 = 4.56, df = 1, P < 0.05) were reported more fre-
                                                                    quently by women, compared with men. Nearly one-fifth of

632                                                                         W La Revue canadienne de psychiatrie, vol 54, no 9, septembre 2009
    Case: 1:19-cr-00567 Document #: 260-2 Filed: 08/08/22 Page 160 of 198 PageID #:1818
                                                   Prevalence of Childhood Sexual Abuse and Timing of Disclosure in a Representative Sample of Adults From Quebec




                            Table 1 Prevalence of CSA, disclosure patterns, and revictimization, %
                                                                               Women                  Men           Overall sample
                                                                              (n = 411)            (n = 393)          (n = 804)

                            Touching                                             21.4                 9.5                 15.6
                                Member of immediate family                       27.1                 5.4                 20.5
                                Member of extended family                        29.4                21.6                 27.0
                                Known person                                     32.9                45.9                 36.9
                                Unknown person                                   10.6                27.0                 15.6
                                Age at first episode, years
                                       <6                                        21.8                 2.8                 16.3
                                       6 11                                      37.9                63.9                 45.5
                                       12 18                                     40.2                33.3                 38.2
                            Rape                                                  5.2                 2.3                  3.8
                                Member of immediate family                       20.0                44.4                 27.6
                                Member of extended family                        15.0                11.1                 13.8
                                Known person                                     50.0                44.4                 48.3
                                 Unknown person                                  15.0                 0.0                 10.3
                                Age at first episode, years
                                      <6                                          9.5                 0.0                  6.7
                                       6 11                                      19.0                33.3                 23.3
                                       12 18                                     71.4                66.7                 70.0
                            Any CSA                                              22.1                 9.7                 16.0
                            Disclosure of the abuse
                                 Never                                           15.7                34.2                 21.3
                                 Within 24 hours                                 20.2                10.5                 17.3
                                 Within 1 month                                   5.6                 0.0                  3.9
                                 Within 5 years                                   7.9                10.5                  8.7
                                 After more than 5 years                         50.6                44.7                 48.8
                            Sexual revictimization                               22.2                21.1                 21.9




survivors, both men (21.4%) and women (22.2%) reported                             analysis of variance revealed a significant main effect. Fur-
revictimization (n = 128, c2 = 0.21, df = 1, nonsignificant).                      ther posthoc analyses, using the Games-Howell statistic to
                                                                                   account for unequal n’s and lack of homogeneity of variance
Regarding disclosure patterns, almost 1 out of every 5 CSA                         of scores across groups, indicated that victims of sexual
victims had not disclosed the sexual abuse to anyone prior to                      abuse who delayed disclosure obtained scores indicating
the survey, with men more likely not to have told (34.2%) than                     greater psychological distress (mean difference = 7.11, P <
women (15.7%) (n = 127, c2 = 5.43, df = 1, P < 0.05). Overall,                     0.01) and PTSD (mean difference = 0.53, P < 0.01) than
21.2% of victims reported having promptly disclosed the                            adults without a history of CSA. In addition, a marginal effect
abuse (within a month), while nearly one-half (48.8%) of vic-                      was found suggesting that adults who never disclosed the
tims waited 5 years or more following the abuse to tell                            abuse displayed higher psychological distress relative to
someone.                                                                           adults without a history of CSA (mean difference = 8.95, P =
                                                                                   0.06).
Disclosure Patterns and Outcomes
Table 2 shows the mean and standard deviation of the psycho-                       Chi-square analyses were performed on the percentage of
logical distress and PTSD scales for the nonvictimized group                       cases reaching clinical levels of psychological distress and
and the abused groups (prompt disclosers [less than 1 month],                      PTSD (Table 3) and adjusted standardized residuals are pre-
late disclosers [1 month or more], and nondisclosers). An                          sented (values greater than 1.96 flag observed values

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Brief Communication




  Table 2 Means (SD) of psychological distress and PTSD scores by groups
                                                           CSA promptly     Delayed disclosure
                                           No CSA           disclosed            of CSA        CSA not disclosed
                                          (n = 673)          (n = 27)            (n = 74)          (n = 27)                        F



  Psychological distress                10.42 (11.57)       12.49 (8.37)      17.53 (17.29)          19.37 (17.32)              11.26a
  PTSD                                   0.34 (0.79)         0.51 (0.82)       0.87 (1.28)            0.95 (1.32)               11.93a
  a
      df = 3,800; P < 0.001




  Table 3 Percentage (adjusted residuals) of participants reaching clinical levels by groups
                                                             CSA promptly         Delayed
                                             No CSA           disclosed      disclosure of CSA CSA not disclosed
                                            (n = 673)          (n = 27)           (n = 74)         (n = 27)                       c2

  Psychological distress                  10.1% (-3.8)        7.4% (0.7)        25.7% (3.8)            25.9% (2.3)              20.92a
  PTSD (score 2)                           3.3% (-5.8)        7.4% (0.5)        17.8% (5.0)            19.2% (3.2)              38.80a
  a
      df = 3; P < 0.001




significantly different than expected). In both cases, a signifi-     Discussion
cant effect was found and follow-up 2 ´ 2 chi-square analyses         In our study, 22.1% of women and 9.7% of men reported
indicate that both victims who did not disclose the abuse (n =        CSA, rates similar to those in North American community
700, c2 = 6.79, df = 1, P < 0.01) and those who delayed the dis-      samples.17 Our data suggest that one-fifth of all adults sexu-
closure (n = 747, c2 = 15.71, df = 1, P < 0.001) were more            ally victimized in childhood had not disclosed the abuse prior
likely to achieve clinical scores of psychological distress,          to the survey, with men more likely not to have told anyone.
compared with adults without a history of CSA. A similar pat-         Moreover, nearly one-half of the victims who had disclosed
tern is evident for the analysis of clinical scores on the PTSD       waited more than 5 years after the first episode to do so.
scale (n = 700, c2 = 17.14, df = 1, P < 0.001 and n = 747, c2 =       These results are similar to data provided in a study18 that
31.07, df = 1, P < 0.001). Finally, a higher percentage of adults     focused solely on adult women and highlights the fact that
who delayed disclosure achieved scores reaching clinical              delayed disclosure of CSA is quite frequent. Our results indi-
levels of psychological distress relative to participants in the      cate that victims who never disclosed the abuse and those
prompt disclosure group (n = 100, c2 = 4.01, df = 1, P < 0.05).       who delayed the disclosure are more likely to achieve clinical
                                                                      level scores of psychological distress and posttraumatic
Variables Related to Prompt Disclosure                                stress, compared with adults without a history of CSA.
A logistic regression analysis was conducted where prompt             In exploring variables predicting prompt disclosure, only 2
disclosure served as the dependent variable and severity of           variables were found to independently predict rapid disclo-
abuse (penetration), relation to perpetrator, age of onset, and       sure of the abuse: sex of the victim and identity of the perpe-
sex of the victim served as the independent variables while           trator. Being female was associated with a higher probability
controlling for age of the respondent. Results revealed a sig-        of telling promptly. Socialization practices and traditional
nificant effect (n = 125, c2 = 12.54, df = 2, P < 0.01). After        views of masculinity may contribute to male victims experi-
controlling for other variables, sex (P < 0.05) and relation to       encing greater feelings of shame. Male victims may be more
the perpetrator (P < 0.05) were independently predictive of           likely to blame themselves for not being able to prevent the
prompt disclosure. Odds ratios indicate that abuse disclosure         abuse, which in turn may hinder disclosure.19 Our results also
within 1 month was 6.76 times greater for victims abused by           indicate that sexual abuse involving a perpetrator outside the
perpetrators outside their immediate family, compared with            immediate family was more likely to be promptly disclosed,
victims abused by a family member. Moreover, female vic-              while abuse by a family member was less likely to be associ-
tims of CSA had 3.76 times greater probability of prompt dis-         ated with rapid disclosure. This finding is consistent with
closure, compared with male victims.                                  empirical reports and theory on the family dynamics of

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issues more systematically.                                                              Manuscript received April 2008, revised, and accepted November 2008.
                                                                                         1
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                     Funding and Support                                                   Professor, Chaire de recherche interuniversitaire Fondation
Our research received a grant from the Marie Vincent Foundation.                         Marie Vincent sur les agressions sexuelles envers les enfants, Montréal,
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                                                                                         3
                                                                                           Professor, Département de Psychoéducation, Université de Sherbrooke,
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Brief Communication




                Résumé : La prévalence de l’abus sexuel dans l’enfance et le moment de la
                divulgation dans un échantillon représentatif d’adultes du Québec
                Objectif : Notre étude cherchait à examiner les modèles de divulgation de l’abus sexuel dans
                l’enfance (ASE) dans un échantillon d’hommes et de femmes.
                Méthode : Un sondage téléphonique mené auprès d’un échantillon représentatif d’adultes (n = 804)
                du Québec a évalué la prévalence d’ASE et les modèles de divulgation. Des analyses ont été
                effectuées pour déterminer si les groupes de divulgation différaient en ce qui a trait à la détresse
                psychologique et aux symptômes de stress post-traumatique, et une régression logistique a servi à
                examiner les facteurs associés à une divulgation rapide.
                Résultats : La prévalence des ASE était de 22,1 % chez les femmes et de 9,7 % chez les hommes.
                Environ un survivant sur 5 n’avait jamais divulgué l’abus, les hommes étant plus susceptibles que
                les femmes de n’avoir jamais rien dit à personne. Seulement 21,2 % des adultes déclaraient une
                divulgation rapide (moins d’un mois après le premier abus) alors que 57,5 % ont retardé la
                divulgation (plus de 5 ans après le premier épisode). Les victimes d’ASE qui n’ont jamais divulgué
                l’abus et celles qui ont retardé la divulgation étaient plus susceptibles d’obtenir des scores de
                détresse psychologique et de stress post-traumatique atteignant des seuils cliniques,
                comparativement aux adultes sans antécédents d’ASE. Dans l’analyse multivariée, l’expérience
                d’un ASE impliquant un agresseur hors de la famille immédiate et être de sexe féminin étaient des
                facteurs indépendamment associés à une divulgation rapide.
                Conclusion : Un nombre significatif d’hommes et de femmes adultes ont déclaré avoir vécu un
                ASE et la plupart des victimes attestaient soit ne pas l’avoir divulgué, soit avoir significativement
                retardé la divulgation.




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                      Exhibit H
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                                                                                                                           DISCLOSURE OF CHILD SEXUAL ABUSE
                                                                                                                        What Does the Research Tell Us About the Ways That
                                                                                                                                          Children Tell?
                                                                                                                     Kamala London and Maggie Bruck                                        Stephen J. Ceci
                                                                                                                                Johns Hopkins University                                   Cornell University

                                                                                                                                                             Daniel W. Shuman
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                                                                                                                        The empirical basis for the child sexual abuse accommodation syndrome (CSAAS),
                                                                                                                        a theoretical model that posits that sexually abused children frequently display
                                                                                                                        secrecy, tentative disclosures, and retractions of abuse statements was reviewed.
                                                                                                                        Two data sources were evaluated: retrospective studies of adults’ reports of having
                                                                                                                        been abused as children and concurrent or chart-review studies of children under-
                                                                                                                        going evaluation or treatment for sexual abuse. The evidence indicates that the
                                                                                                                        majority of abused children do not reveal abuse during childhood. However, the
                                                                                                                        evidence fails to support the notion that denials, tentative disclosures, and recanta-
                                                                                                                        tions characterize the disclosure patterns of children with validated histories of
                                                                                                                        sexual abuse. These results are discussed in terms of their implications governing
                                                                                                                        the admissibility of expert testimony on CSAAS.

                                                                                                                          Although it is widely acknowledged that the sexual assault of children is a
                                                                                                                     major societal concern, it is not known how many children are victims of sexual
                                                                                                                     abuse in the United States (Ceci & Friedman, 2000). There are two major reasons
                                                                                                                     for this lack of data. First, present estimates of the incidence of child sexual abuse
                                                                                                                     (CSA) are primarily based on reports received and validated by child protection
                                                                                                                     agencies. These figures, however, do not reflect the number of unreported cases
                                                                                                                     or the number of cases reported to other types of agencies (e.g., sheriff’s offices)
                                                                                                                     and professionals (e.g., mental health diversion programs). Second, the accuracy
                                                                                                                     of diagnosis of CSA is often difficult because definitive medical or physical
                                                                                                                     evidence is lacking or inconclusive in the vast majority of cases (Bays &
                                                                                                                     Chadwick, 1993; Berenson, Heger, & Andrews, 1991), and because there are no
                                                                                                                     gold standard psychological symptoms specific to sexual abuse (Kendall-Tacket,
                                                                                                                     Williams, & Finkelhor, 1993; Poole & Lindsay, 1998; J. M. Wood & Wright,
                                                                                                                     1995). Given these limitations of medical and psychological evidence, children’s
                                                                                                                     statements typically represent the central evidence for judging the occurrence of


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                                                                                                                                                                      194
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                                                                                                                                             DISCLOSURE OF CHILD SEXUAL ABUSE                                     195

                                                                                                                     CSA. In making these judgments, professionals must often address the delicate
                                                                                                                     issue concerning how children disclose abuse.
                                                                                                                          According to some experts, a major problem with relying on children’s
                                                                                                                     statements in forensic investigations is that many sexually abused children remain
                                                                                                                     silent about abuse; they may deny that abuse ever occurred, or they may produce
                                                                                                                     a series of disclosures of abuse followed by recantations of these disclosures. In
                                                                                                                     1983, Roland Summit, a psychiatrist, published a formal description of how
                                                                                                                     sexually abused children disclose abuse. The purpose of this model, termed child
                                                                                                                     sexual abuse accommodation syndrome (CSAAS),1 was to outline for clinicians
                                                                                                                     why child victims of intrafamilial abuse may be reluctant to disclose abuse.2
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                                                                                                                     Summit’s model included five components: (a) secrecy; (b) helplessness; (c)
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                                                                                                                     entrapment and accommodation; (d) delayed, conflicted, and unconvincing dis-
                                                                                                                     closures; and (e) retraction of disclosure. Summit argued that children who have
                                                                                                                     been sexually abused may respond with self-blame and self-doubt. They may fear
                                                                                                                     the perpetrator and the possible consequences of disclosure. Hence, in order to
                                                                                                                     survive sexual abuse by a trusted family member, children make accommodating
                                                                                                                     efforts to accept the abuse and to keep the abuse secret. Furthermore, according
                                                                                                                     to Summit (1983), when children do reveal their abuse, disclosure will be
                                                                                                                     incremental over time, a process that often includes outright denials and recan-
                                                                                                                     tations of prior disclosures, and then reinstatements of the abuse. It is important
                                                                                                                     to keep in mind that there are two separate aspects of this model, each with its own
                                                                                                                     components. The first stipulates the psychological consequences of abuse (fear,
                                                                                                                     blame, and accommodation). The second aspect, the focus of this article, stipu-
                                                                                                                     lates the consequences that these psychological states have on behavior (secrecy,
                                                                                                                     denial, and recantation).
                                                                                                                          Summit’s (1983) model has received much attention and has had a significant
                                                                                                                     impact in the area of child sexual abuse. His 1983 article was rated by profes-
                                                                                                                     sionals as one of particular influence in the area of child sexual abuse (Oates &
                                                                                                                     Donnelly, 1997). The components of his CSAAS model have been endorsed by
                                                                                                                     many clinicians and scholars who continue to base clinical and forensic judgments
                                                                                                                     on its tenets (e.g., Adams, 1994; Browne, 1991; Carnes, 2000; Elias, 1992; Ford,
                                                                                                                     Schindler, & Medway, 2001; Kelley, Brant, & Waterman, 1993; King Mize,
                                                                                                                     Bentley, Helms, Ledbetter, & Neblett, 1995; Leonard, 1996; MacFarlane, 1992;
                                                                                                                     Reichard, 1992; Reiser, 1991; Waterman, Kelly, Oliveri, & McCord, 1993; see
                                                                                                                     also Conte, Sorenson, Fogarty, & Rosa, 1991, for a survey of professionals’
                                                                                                                     beliefs). For example, Browne (1991) stated, “Disclosure is almost always an
                                                                                                                     ongoing process. It may begin with an initial quite dramatic first step, or it may
                                                                                                                     manifest itself as a series of tentative revelations, hints, and explorations” (p.
                                                                                                                     153). Similarly, Kelley et al. (1993) wrote, “Disclosures are often delayed and
                                                                                                                     gradual” (p. 82). Salter (1995) declared, “The child is viewed as having betrayed
                                                                                                                     the family by telling ‘strangers,’ and such children are frequently pressured to
                                                                                                                     recant” (p. 231). Salter also stated, “Denial is not a door that victims exit; it is a

                                                                                                                         1
                                                                                                                            A similar model posited by Sgroi (1982), child sexual abuse accommodation (CSAA),
                                                                                                                     provided a checklist of 20 hypothesized behavioral indicators of CSA. MacFarlane and Krebs (1986)
                                                                                                                     also proposed a model of reluctant disclosure, one that they termed “no-maybe-sometimes
                                                                                                                     syndrome.”
                                                                                                                          2
                                                                                                                            In 1992, Summit (1992) expanded the model to include victims of extrafamilial abuse.
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                                                                                                                     196                       LONDON, BRUCK, CECI, AND SHUMAN

                                                                                                                     line that victims walk back and forth many times before moving forward” (Salter,
                                                                                                                     1995, p. 243).
                                                                                                                          Today these beliefs are echoed in guidelines for assessment and diagnosis of
                                                                                                                     CSA. For example, Children’s Institute International,3 a California-based child
                                                                                                                     abuse assessment and treatment center that has trained over 40,000 professionals
                                                                                                                     worldwide, recommends training and offers a course on CSAAS for all profes-
                                                                                                                     sionals and paraprofessionals who work with children. Another influential orga-
                                                                                                                     nization, the National Children’s Advocacy Center (Carnes, 2000), states in one
                                                                                                                     of its publications, “Forensic evaluation is a process of extended assessment of a
                                                                                                                     child when that child is too frightened or young to be able to fully disclose their
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                                                                                                                     experiences on an initial forensic interview” (p. 14). “For many children, abuse
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                                                                                                                     disclosure is a process, not an event” (Carnes, 2000, p. 21). “Reluctance is
                                                                                                                     commonplace and difficult to overcome in suspected child sexual abuse cases”
                                                                                                                     (Carnes, 2000, p. 42).
                                                                                                                          Some professionals have gone as far as suggesting that children who readily
                                                                                                                     disclose abuse should be considered suspect. Rather, only those children who
                                                                                                                     initially deny abuse, then make a sexual abuse allegation, then recant it, and later
                                                                                                                     re-disclose, should be considered reliable cases of sexual abuse. For example,
                                                                                                                     Summit (1983) states, “The more illogical and incredible the initiation scene [of
                                                                                                                     the abuse] might seem to adults, the more likely it is that the child’s plaintive
                                                                                                                     description is valid” (p. 183). These beliefs are echoed in the courtroom, as
                                                                                                                     demonstrated in the following examples.
                                                                                                                             Finally, the majority of children who are sexually abused underreport the extent
                                                                                                                             and severity of the abuse. If I would have heard about lengthy disclosures with a
                                                                                                                             specific beginning, middle, and end to the story, I would have been less impressed
                                                                                                                             since that type of recounting is not likely with sexually abused children, particu-
                                                                                                                             larly preschoolers. The two most common types of reports that I hear from a
                                                                                                                             sexually abused child of this age are either flat denials or fragmented segments of
                                                                                                                             an incident. (Expert testimony in Lillie v. Newcastle City Council, 2002, p. 42)

                                                                                                                     In the following, a prosecutor questions his expert witness:
                                                                                                                             Q: Doctor, you mentioned earlier that with respect to child victims, it is not
                                                                                                                             unusual that they would fully describe all of the events in your first interview.
                                                                                                                             A: No.
                                                                                                                             Q: And if they do, is it suspicious to you?
                                                                                                                             A: To me, yes. (People v. Carroll, 2001, p. 70)

                                                                                                                          Although Summit (1992) wrote that he did not intend to imply that CSAAS
                                                                                                                     is present in all abused children, or that it should be treated as diagnostic of abuse,
                                                                                                                     many professionals have adopted CSAAS as a template by which to diagnose
                                                                                                                     sexual abuse (Fisher, 1995; Kovera & Borgida, 1998; Robin, 1991; Summit,
                                                                                                                     1992). Perhaps the best example of this practice is reflected in State v. Michaels
                                                                                                                     (1993). Margaret Kelly Michaels was accused and convicted of 115 counts of
                                                                                                                     sexual abuse involving 20 children from the Wee Care Day Nursery in Maple-

                                                                                                                          3
                                                                                                                            See http://childrensinstitute.org/ for Children’s Institute International’s description of their
                                                                                                                     contemporary interview training procedures.
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                                                                                                                                           DISCLOSURE OF CHILD SEXUAL ABUSE                                  197

                                                                                                                     wood, New Jersey. Expert testimony was presented at trial by Eileen Treacy, who
                                                                                                                     stated that children in the case showed behavior consistent with CSAAS and thus
                                                                                                                     their testimony and conduct was consistent with CSA. After 5 years in prison,
                                                                                                                     Michaels’ conviction was overturned for reasons including the inadmissibility of
                                                                                                                     testimony that uses CSAAS as a tool to diagnose abuse.
                                                                                                                          In keeping with the legal rule of excluding expert testimony that seeks to tell
                                                                                                                     the jury to believe a witness (i.e., that the child witness is being truthful, or in
                                                                                                                     general that children are truthful), the courts have uniformly excluded CSAAS
                                                                                                                     evidence that is used to persuade the jury that a child’s testimony about sexual
                                                                                                                     abuse is truthful or diagnostic of abuse (e.g., People v. Duell, 1990; Snowden v.
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                                                                                                                     Singletary, 1998; State v. Gokey, 1990; State v. JQ, 1993; State v. Jones, 1993;
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                                                                                                                     State v. Myers, 1984; see also Freckelton, 1997, for a review of New Zealand and
                                                                                                                     Australian rulings). When a child’s inconsistency has been the subject of an attack
                                                                                                                     on credibility during cross-examination, however, most courts have assumed that
                                                                                                                     CSAAS rests on a reliable scientific foundation and have permitted the prosecu-
                                                                                                                     tion to introduce evidence of CSAAS to explain “what would be expected of, or
                                                                                                                     what would be consistent with, facts surrounding other victims of childhood
                                                                                                                     sexual abuse” (State v. Huntington, 1998, p. 698).
                                                                                                                          Given the widespread appeal and currency of CSAAS in the mental health
                                                                                                                     community and its acceptance in the forensic arena, especially when used to
                                                                                                                     rehabilitate an inconsistent child witness on redirect, it is important to examine the
                                                                                                                     empirical basis for this syndrome. In his original article, Summit (1983) stated
                                                                                                                     that the CSAAS model was based on an empirical foundation:

                                                                                                                            This study draws in part from statistically validated assumptions regarding prev-
                                                                                                                            alence, age, relationships and role characteristics of child sexual abuse and in part
                                                                                                                            from correlations and observations that have emerged as self-evident within an
                                                                                                                            extended network of child abuse treatment programs and self-help organizations.
                                                                                                                            (Summit, 1983, p. 180)

                                                                                                                     Despite this claim, however, Summit’s (1983) article contained no data and
                                                                                                                     seemed to be predicated solely on clinical intuition. Almost a decade later,
                                                                                                                     Summit (1992) clarified, “It should be understood without apology that the
                                                                                                                     CSAAS is a clinical opinion, not a scientific instrument” (p. 156).
                                                                                                                          In the rest of this article, we review and evaluate the existing empirical data
                                                                                                                     to assess the scientific support for the behavioral components of CSAAS—
                                                                                                                     secrecy/silence, denial, and recantation. We draw on two major sources of
                                                                                                                     empirical data on children’s disclosure patterns, each with its own limitations: (a)
                                                                                                                     retrospective accounts from adults who claimed to have been abused as children
                                                                                                                     and (b) examinations of children undergoing sexual abuse evaluations. To fore-
                                                                                                                     shadow the results of this review, we conclude that although a substantial
                                                                                                                     proportion of children delay reporting or altogether fail to report incidents of CSA
                                                                                                                     (the secrecy stage), there is little evidence to suggest that denials, recantations,
                                                                                                                     and re-disclosures are typical when abused children are directly asked about
                                                                                                                     abuse. As is seen later in the present article, this emerges as an important
                                                                                                                     distinction on both scientific and applied grounds.
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                                                                                                                           Patterns of Disclosure Among Adults in Retrospective Surveys
                                                                                                                     Disclosure Rates
                                                                                                                          The studies discussed in this section include those in which adults with
                                                                                                                     self-reported histories of CSA were asked in a survey whether and at what age
                                                                                                                     they first disclosed their abuse. Table 1 lists 11 studies that yielded rates of
                                                                                                                     childhood disclosure of CSA. Studies that did not provide relevant statistics are
                                                                                                                     not listed in the table but are cited when relevant for related topics (e.g., predictors
                                                                                                                     of disclosure patterns). Finally, we focused on studies that were conducted since
                                                                                                                     1990 in order to control for cohort effects; in other words, the rates obtained in
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                                                                                                                     older studies might reflect practices of several decades ago that are no longer
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                                                                                                                     current because of changes in education, advocacy, increased sensitivity, and legal
                                                                                                                     procedures.
                                                                                                                          As shown in Table 1, the modal childhood disclosure rate (in 6 of the 11
                                                                                                                     studies) is just over 33%. Three other studies (7, 8, 9) reported slightly higher
                                                                                                                     rates of disclosure that are still low and are consistent with the claims of the
                                                                                                                     CSAAS model that nondisclosure of sexual abuse (silence) in childhood is very
                                                                                                                     common. The disclosure rate of 87% reported by Fergusson, Lynskey, and
                                                                                                                     Horwood (1996) is much higher than those found in other studies, an issue to
                                                                                                                     which we later return. In summary, these data indicate that two thirds of adults
                                                                                                                     who claimed in retrospective surveys to have been abused as children reported
                                                                                                                     that they did not disclose the abuse during childhood.
                                                                                                                          Disclosure rates were similar for studies that specifically recruited adults with
                                                                                                                     childhood histories of CSA (see Table 1; Studies 3, 4, 5, 8, and 9) and for studies
                                                                                                                     that recruited adults from the general population (Studies 1, 2, 6, and 10). For
                                                                                                                     example, Somer and Szwarcberg (2001) questioned 41 Israeli women who re-
                                                                                                                     ported that they were sexually abused as children and who at the time of the
                                                                                                                     interview were attending rape crisis centers. (It is unclear whether the women
                                                                                                                     were seeking treatment at the centers for the childhood abuse incident or for some
                                                                                                                     more recent incident.) Less than half (45%) reported that they had disclosed abuse
                                                                                                                     by age 17, and the average delay between abuse onset and disclosure was 15
                                                                                                                     years. Lamb and Edgar-Smith (1994) questioned 48 women and 12 men who
                                                                                                                     responded to a city newspaper advertisement seeking research participants who
                                                                                                                     had been sexually assaulted during childhood. Although a high proportion of these
                                                                                                                     respondents reported severe intrafamilial abuse, only 36% of the participants
                                                                                                                     disclosed the abuse during childhood (defined in this study as before age 14). The
                                                                                                                     same childhood disclosure rate of 36% was obtained from a sample of women
                                                                                                                     who reported sexual abuse by a relative before the age of 16 (Roesler & Wind,
                                                                                                                     1994). In another study (Roesler, 1994), 37% of adults with childhood histories of
                                                                                                                     abuse involving genital contact disclosed abuse during childhood. Finally, a
                                                                                                                     slightly higher rate of childhood disclosure was obtained in Ussher and Dewber-
                                                                                                                     ry’s (1995) survey of 775 women who responded to a questionnaire published in
                                                                                                                     a women’s magazine. Approximately 54% of these participants disclosed CSA
                                                                                                                     during childhood. These women reported a range of abuse severity, from un-
                                                                                                                     wanted sexual attention to severe and repeated abuse from family members. The
                                                                                                                     mean age at disclosure for this group was 26 years, 12 years after the average time
                                                                                                                     when the abuse had ended.
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Table 1
Childhood Disclosures of Sexual Abuse: Retrospective Studies
                                                                                                                                               Avg.
                                                                                                                                              age at
                                                                                                     Reports                        Report time of Avg. age
                                                                                                     abuse at   Childhood             to      abuse of sample
         Study                 n           Sample sourcea      Definition of CSA                      survey     disclosure       authorities (yrs.)  (yrs.)
 1. Arata (1998)           860 (f)       College sample       Unwanted contact                       24.0% 31% (at time of abuse)    10%        8.50    23
                                                               before 14 yrs.
 2. Smith et al. (2000)    3,220 (f)     National probability Rape                                   9.0%         34% (within 6 months             12%    10.90   45
                                          sample                                                                    of abuse)
 3. Roesler & Wind         286 (f)       CSA hotline callers Intrafamilial before                    100%         36%                                      6      41
    (1994)                                                     16 yrs.
 4. Lamb & Edgar-          48 (f)        Newspaper ad         Not specified                          100%         36% (by age 13)                          8.15   30
    Smith (1994)           12 (m)
 5. Roesler (1994)         168 (f)       Abuse center     Genital contact                            100%         37%                                    ⬍16.00   41
                           20 (m)                          before 16 yrs.
 6. Tang (2002)            1,151 (f) Hong Kong Chinese Unwanted sexual                               6.0%         38%                                     11.00   21
                           887 (m)    college students     experiences before
                                                           18 yrs.
 7. Finkelhor et al.       1,481 (f) National probability Before 18 yrs.                             27.0%        42% within 1 yr. of                      9.70   30
    (1990)                 1,145 (m) sample                                                            (f)          abuse
                                                                                                     16.0%                                                        39
                                                                                                       (m)
 8. Somer &                41 (f)        Israeli abuse center         CSA survivors                  100%         45% (by age 17)                          7.11   32
    Szwarcberg (2001)
 9. Ussher & Dewberry      775 (f)       Magazine survey     Unwanted sexual                         100%         54%                              18%     8.50   38
    (1995)                                                     attention
10. Fergusson et al.         1,019     New Zealand           Unwanted experience                     10.0%        87% (by age 18)                        ⬍16.00   18
    (1996)                     (m & f) longitudinal study      before 16 yrs.
11. Hanson et al. (1999)     4,008 (f) National probability Nonconsensual                            8.5%                                          13%   ⬍18.00   38
                                         sample                penetration assaults
                                                               before 18 yrs.
Note. CSA ⫽ child sexual abuse; Avg. ⫽ average; yrs. ⫽ years; f ⫽ female; m                         ⫽ male.
a
  Unless noted, all studies were conducted in the United States.
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                                                                                                                          One might argue that the rates of childhood disclosure obtained in these five
                                                                                                                     studies may not be reliable population estimates because they were obtained from
                                                                                                                     samples of participants who had to declare before study enrollment that they had
                                                                                                                     been abused as children. Perhaps such procedures draw victims with very late
                                                                                                                     disclosures and exclude those who had disclosed at much earlier ages. Alterna-
                                                                                                                     tively, it could be argued that these rates underestimate the failure to disclose
                                                                                                                     because those who never told anyone may be less likely to respond to such
                                                                                                                     advertisements. Notwithstanding these competing suggestions, however, similar
                                                                                                                     findings have been obtained in studies that included convenience samples of
                                                                                                                     college students as well as national probability samples that were not selected on
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                                                                                                                     the basis of childhood histories. For example, Smith et al. (2000) examined data
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                                                                                                                     from a nationally representative telephone survey on women’s experiences with
                                                                                                                     trauma and mental health (Resnick, Kilpatrick, Dansky, Saunders, & Best, 1993).
                                                                                                                     In this study, 9% of the women retrospectively reported at least one incident of
                                                                                                                     rape (i.e., vaginal, oral, and/or anal penetration by a penis, finger, or object) prior
                                                                                                                     to their 18th birthday. Approximately 27% of these abused women remembered
                                                                                                                     disclosing the rape to someone within 1 month of the sexual abuse; another 34%
                                                                                                                     said they had disclosed within 6 months of the abuse; an additional 18% were not
                                                                                                                     sure when they had first disclosed the abuse. Thus, a considerable number of
                                                                                                                     women delayed or altogether failed to disclose the childhood rape; 47% waited
                                                                                                                     more than 5 years to report the abuse, and 28% said that they had never told
                                                                                                                     anyone about the incident prior to the telephone interview.
                                                                                                                          Similar rates of nondisclosure were obtained by Finkelhor, Hotaling, Lewis,
                                                                                                                     and Smith (1990) in their national telephone survey of 2,626 American men and
                                                                                                                     women. In that study, 27% of women and 16% of men reported a history of CSA.
                                                                                                                     Of those with histories of CSA, 42% reported having disclosed abuse within 1
                                                                                                                     year of the incident, 20% told someone of the event later, and 38% had never told
                                                                                                                     anyone of the abuse prior to the telephone interview. Abused men were more apt
                                                                                                                     than abused women never to have disclosed the abuse (42% vs. 33%).
                                                                                                                          Low rates of disclosure also characterized two college student samples. Arata
                                                                                                                     (1998) found that 24% of female undergraduate students attending a southeastern
                                                                                                                     university reported unwanted sexual contact before age 14 by someone 5 or more
                                                                                                                     years older. Of those with CSA histories, 31% reported having disclosed the abuse
                                                                                                                     to someone around the time of the abuse. Tang (2002) found that in a sample of
                                                                                                                     Hong Kong Chinese college students who reported abuse, 38% disclosed abuse in
                                                                                                                     childhood.
                                                                                                                          Only 1 of the 11 studies in Table 1 reported high rates of disclosure. The study
                                                                                                                     was carried out in New Zealand by Fergusson et al. (1996) and involved a
                                                                                                                     longitudinal study of 1,265 children. Sexual abuse was defined broadly in this
                                                                                                                     study, ranging from noncontact activities, such as indecent exposure or lewd
                                                                                                                     suggestions (including experiences with same-aged peers), to rape before age 16.
                                                                                                                     At 18 years old, 87% of the abused subsample reported having told someone
                                                                                                                     about the abuse. There are several factors that may account for Fergusson et al.’s
                                                                                                                     finding of high disclosure rates relative to the other studies. As the authors noted,
                                                                                                                     such high rates of disclosure may partially reflect the young age of the adults in
                                                                                                                     their sample: possibly some were still denying the abuse, thus producing lower
                                                                                                                     rates of CSA with concomitantly inflated rates of disclosure. Another factor that
                                                                                                                     could explain high rates of disclosure is that many of their participants reported
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                                                                                                                     noncontact activities such as lewd suggestions, which reportedly the participants
                                                                                                                     did not consider as incidents of CSA. This could also explain why many of these
                                                                                                                     participants denied abuse history 3 years later, during a follow-up interview
                                                                                                                     (Fergusson, Horwood, & Woodward, 2000).
                                                                                                                         In summary, although one study yielded extremely high disclosure rates
                                                                                                                     (Fergusson et al., 1996), the results of the 10 other retrospective studies indicated
                                                                                                                     that only one third of adults who suffered CSA revealed the abuse to anyone
                                                                                                                     during childhood. Given the differences in methodology, definitions of abuse, and
                                                                                                                     sample characteristics, the general consistency of these findings across these
                                                                                                                     studies is noteworthy.
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                                                                                                                     Predictors of Nondisclosure
                                                                                                                         In addition to providing overall disclosure rates, some studies also examined
                                                                                                                     predictors of disclosure rates. In this section, we examine associations of some of
                                                                                                                     these predictors from data within studies and, when possible, across studies.
                                                                                                                         Summit’s (1983) original model was based on disclosure patterns of children
                                                                                                                     who were victims of familial abuse. Thus, one would expect that such children
                                                                                                                     would be less likely to disclose than children who were abused by nonfamilial
                                                                                                                     perpetrators. The results of two studies (Hanson, Resnick, Saunders, Kilpatrick, &
                                                                                                                     Best, 1999; Smith et al., 2000) are consistent with these claims; CSA disclosure
                                                                                                                     was more likely when the perpetrator was a stranger rather than a family member.
                                                                                                                     Consistent with these findings, Ussher and Dewberry (1995) reported longer
                                                                                                                     delays to disclosure among intra- versus nonfamilial abuse. In contrast to these
                                                                                                                     three supporting studies, five studies failed to find an association between rela-
                                                                                                                     tionship to perpetrator and CSA disclosure (Arata, 1998; Kellogg & Hoffman,
                                                                                                                     1995; Kellogg & Huston, 1995; Lamb & Edgar-Smith, 1994; Roesler, 1994).
                                                                                                                     These are surprising findings given the fact that Summit (1983) originally con-
                                                                                                                     structed his model to account for nondisclosure in the context of intrafamilial
                                                                                                                     abuse.
                                                                                                                         Age at time of abuse has not been consistently associated with failure to
                                                                                                                     disclose. Although Smith et al. (2000) found that younger victims were more
                                                                                                                     likely to delay disclosure than older child victims, other researchers (e.g., Arata,
                                                                                                                     1998; Kellogg & Hoffman, 1995) failed to find any relationship between age and
                                                                                                                     delay of disclosure. There is one important caveat to this conclusion. When study
                                                                                                                     participants reported experiencing CSA during adolescence, this was consistently
                                                                                                                     accompanied by high disclosure rates (Everill & Waller, 1995; Kellogg &
                                                                                                                     Hoffman, 1995; Kellogg & Huston, 1995). For example, in the Everill and Waller
                                                                                                                     (1995) study, in which the mean age at time of abuse was 14 years, 69% of this
                                                                                                                     female sample reported having disclosed to a friend, most around the time of the
                                                                                                                     incident. Kellogg and Huston (1995) found that 85% of their sample of young
                                                                                                                     adults (mean current age ⫽ 19.5 years, mean age of abuse ⫽ 14 years) had also
                                                                                                                     disclosed at some point in the past. In these cases, the most common confidant
                                                                                                                     was another adolescent (Lamb & Edgar-Smith, 1994; Tang, 2002). In contrast,
                                                                                                                     adults reporting that they revealed CSA as school-aged children did so to a parent
                                                                                                                     rather than to a peer (Arata, 1998; Lamb & Edgar-Smith, 1994; Palmer, Brown,
                                                                                                                     Rae-Grant, & Loughlin, 1999; Roesler, 1994; Roesler & Wind, 1994; but see
                                                                                                                     Smith et al., 2000; Somer & Szwarcberg, 2001). These studies, taken together,
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                                                                                                                     imply that disclosure rates may vary as a function of age at CSA onset, which in
                                                                                                                     turn is associated with the availability of a same-aged confidante.
                                                                                                                          Finally, no systematic relationships have been reported between demographic
                                                                                                                     variables, such as race and ethnicity, and childhood disclosure rates (e.g., Arata,
                                                                                                                     1998; Hanson et al., 1999; Kellogg & Hoffman, 1995; Kellogg & Huston, 1995;
                                                                                                                     Smith et al., 2000). However, most of the retrospective studies have too little
                                                                                                                     variability in their sample’s demographic composition to test for differences. (For
                                                                                                                     discussions on how demographic variables—race and gender—may be related to
                                                                                                                     CSA disclosure, see Fontes, 1993; Kazarian & Kazarian, 1998; Kenny &
                                                                                                                     McEachern, 2000; Levesque, 1994; Toukmanian & Brouwers, 1998.)
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                                                                                                                          We examined the existing data to determine its support for one of the major
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                                                                                                                     assumptions of the CSAAS model; that is, disclosure is related to the amount of
                                                                                                                     fear or violence associated with the abuse. According to the model, children do
                                                                                                                     not disclose because they are afraid of the perpetrator who physically coerced or
                                                                                                                     harmed them. In addition, children also do not disclose because they are threat-
                                                                                                                     ened with consequences of disclosure that involve harm to family members or to
                                                                                                                     the self. On the basis of these assumptions, it is predictable that the more severe
                                                                                                                     or frightening the abuse or the more the child is threatened postabuse, the less
                                                                                                                     likely the child would be to disclose.
                                                                                                                          In general, the data do not support the hypothesis that disclosure rates are
                                                                                                                     related to severity of abuse. Although Arata (1998) found lower disclosure rates
                                                                                                                     for contact versus noncontact abuse, there was no relationship between disclosure
                                                                                                                     and method of coercion (e.g., threat, gift, curiosity, appeal to authority, or physical
                                                                                                                     force). To further call into question the validity of this assumption of the CSAAS
                                                                                                                     model, most researchers have either found the opposite pattern—that is, higher
                                                                                                                     disclosure rates are associated with incidents that are life threatening and involve
                                                                                                                     physical injury (Hanson et al., 1999; Kellogg & Hoffman, 1995)— or have not
                                                                                                                     found any significant relationship between severity and method of coercion and
                                                                                                                     disclosure (Lamb & Edgar-Smith, 1994; Roesler, 1994; Smith et al., 2000).
                                                                                                                          Another method to examine the relationship between severity/coercion/phys-
                                                                                                                     ical harm and disclosure is to compare the rates among studies in Table 1 in terms
                                                                                                                     of the types of abuse that were included in the study. Some experimenters defined
                                                                                                                     CSA broadly (i.e., unwanted sexual attention by anyone), and some defined it
                                                                                                                     more narrowly (e.g., forcible penetration). Despite the differences in definitions
                                                                                                                     (excluding the outlier study by Fergusson et al., 1996), disclosure rates reported
                                                                                                                     across studies were very similar. In summary, the data indicate no consistent
                                                                                                                     association between severity or method of coercion and disclosure.
                                                                                                                          Next, we searched for studies that examined the relationship between threats
                                                                                                                     that were used to secure the child’s silence (“Don’t tell or else. . . .”) and
                                                                                                                     disclosure. The major problem encountered was that the few studies that reported
                                                                                                                     threat data did not stipulate whether the measure of “threat” referred to statements
                                                                                                                     or actions during the commission of the assault to engender physical compliance
                                                                                                                     or to threats used to engender silence (see, e.g., Arata, 1998; Hanson et al., 1999;
                                                                                                                     Roesler, 1994; Smith et al., 2000). This failure to provide operational definitions
                                                                                                                     of threats is problematic on methodological grounds (How did the study partic-
                                                                                                                     ipant interpret the question?) and on interpretational grounds (How does the
                                                                                                                     consumer of the literature interpret the statistics?). Hence, the extant retrospective
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                                                                                                                     data are insufficient to examine whether childhood disclosure rates vary as a
                                                                                                                     function of whether the child was threatened to remain silent.

                                                                                                                     Summary
                                                                                                                          The results of the retrospective studies make two important contributions to
                                                                                                                     our knowledge about the patterns of children’s disclosure of abuse. First, these
                                                                                                                     data, when taken at face value, reveal that approximately 60%–70% of adults do
                                                                                                                     not recall ever disclosing their abuse as children, and only a small minority of
                                                                                                                     participants (10%–18%) recalled that their cases were reported to the authorities
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                                                                                                                     (see Table 1, Column 7). Furthermore, to underscore the results of nondisclosure,
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                                                                                                                     many of the adults reported that their first disclosure was during the study survey.
                                                                                                                     Thus, the retrospective studies provide evidence to support the assumption that
                                                                                                                     many incidents of CSA go unreported and that the stage of silence in the CSAAS
                                                                                                                     model has a strong empirical foundation. Second, analyses of predictor variables
                                                                                                                     in these retrospective studies provide few insights into the factors associated with
                                                                                                                     disclosure. They do suggest, however, that commonly held assumptions, such as
                                                                                                                     fewer disclosures among more severe cases of CSA, or in cases of intrafamilial
                                                                                                                     abuse, lack empirical support. We must await further data to examine these issues
                                                                                                                     definitively.
                                                                                                                          There are two limiting aspects, however, of the adult retrospective literature.
                                                                                                                     The first is common to all retrospective studies; namely, the design raises
                                                                                                                     concerns about the accuracy of the informants’ reports. Specifically, it is possible
                                                                                                                     that some adults in these retrospective studies had been abused but continued to
                                                                                                                     deny abuse. Such false denials would work to reduce the overall CSA prevalence
                                                                                                                     rates and inflate the disclosure rates. Alternatively, it is possible that some adults
                                                                                                                     in these retrospective studies had not been abused but claimed to have been. Such
                                                                                                                     false allegations would inflate the incidence of CSA and render the data on
                                                                                                                     disclosure nonmeaningful. Finally, some adults may have disclosed abuse in
                                                                                                                     childhood, despite their reports to the contrary. In some cases, participants may
                                                                                                                     have misdated their disclosure, placing it much further from their victimization
                                                                                                                     than was the actual case. In a related vein, they may in fact have told someone but
                                                                                                                     failed to remember having done so. A rich cognitive psychology literature
                                                                                                                     demonstrates the myriad of retrospective biases, even when the events in question
                                                                                                                     are highly emotional (e.g., Freyd, 1996; Neisser, 1997; Read & Lindsay, 1997;
                                                                                                                     Ross, 1989). In their investigation of flashbulb memories, Schooler and colleagues
                                                                                                                     (Schooler, Ambadar, & Bendiksen, 1997; Schooler, Bendiksen, & Ambadar,
                                                                                                                     1997) coined the term “forgot-it-all-along-effect” to describe the finding that
                                                                                                                     people sometimes inaccurately recall to whom, when, and whether they reported
                                                                                                                     an important life event. Adults’ denial of CSA reports that were actually made
                                                                                                                     during childhood would not affect prevalence rates of CSA but would lead to an
                                                                                                                     underestimation of childhood disclosure rates.
                                                                                                                          A second constraint in the interpretation of the adult retrospective literature is
                                                                                                                     that although the studies indicate that delayed disclosure or silence is common
                                                                                                                     among sexually abused children, these studies are uninformative as to the fre-
                                                                                                                     quency that abused children deny or recant abuse reports. This is because
                                                                                                                     participants in these retrospective surveys were not asked if as children anyone
                                                                                                                     had ever asked them about abuse, and, if so, what they had replied. Thus, it is not
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                                                                                                                     known whether the high rates of childhood silence reflected the fact that survey
                                                                                                                     participants had never been asked about abuse, or whether it reflected denial to
                                                                                                                     abuse-related questions. In order to examine the probability of this latter outcome,
                                                                                                                     the literature on children’s patterns of disclosure must be examined.

                                                                                                                     Patterns of Disclosure Among Children Treated or Evaluated for Sexual
                                                                                                                                                   Abuse
                                                                                                                          In this section, we review studies of disclosure patterns of children who were
                                                                                                                     specifically assessed or treated for sexual abuse. We examine studies that yielded
                                                                                                                     data on (a) delay of disclosure, (b) denial, and (c) recantation. We also searched
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                                                                                                                     for studies that reported data on the correlates of delay, denial, and recantation. As
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                                                                                                                     with the retrospective studies reported above, we excluded studies published prior
                                                                                                                     to 1990 because of possible cohort effects that could be due to the changes in
                                                                                                                     interviewing practices and prevention programs (for children) that have occurred
                                                                                                                     in the decade of the 1990s.

                                                                                                                     Delay of Disclosure (Silence)
                                                                                                                          The results of the studies using child samples echo the adult retrospective
                                                                                                                     finding regarding delay of abuse disclosure; namely, when children do disclose, it
                                                                                                                     often takes them a long time to do so. For example, disclosure rates of children
                                                                                                                     whose cases were referred for prosecution were examined by Goodman et al.
                                                                                                                     (1992) and by Sas and Cunningham (1995). Although 37%– 42% of the children
                                                                                                                     had disclosed within 48 hr of the abuse, it took more than 6 months or even 1 year
                                                                                                                     for many of the children to make a disclosure. Even higher rates of delayed
                                                                                                                     disclosure were obtained in Elliott and Briere’s (1994) study, in which 75% of
                                                                                                                     children did not disclose CSA within the first year following the abuse, and 18%
                                                                                                                     waited more than 5 years to disclose the abuse. Similarly, Henry (1997) found
                                                                                                                     that, among 89 criminal CSA records, there was an average 2-year delay between
                                                                                                                     abuse and disclosure. Some of the variability in the length of delay in the child
                                                                                                                     studies may reflect the settings in which the data were collected. Shorter periods
                                                                                                                     of delay may show up in surveys of children in criminal trials simply because
                                                                                                                     delayed disclosure cases might be excluded from consideration because of the
                                                                                                                     inherent difficulty in obtaining convictions. Therefore, it may be that cases in the
                                                                                                                     prosecutor’s office are unrepresentative of those that never reach the courtroom.
                                                                                                                          Few of the studies on delay of disclosure examined individual differences.
                                                                                                                     Nonetheless, there are some data on gender differences, suggesting that boys may
                                                                                                                     be more reluctant to disclose than girls (e.g., DeVoe & Faller, 1999; Goodman-
                                                                                                                     Brown, Edelstein, Goodman, Jones, & Gordon, 2003; Gries, Goh, & Cavanaugh,
                                                                                                                     1996; Sas & Cunningham, 1995; Stroud, Martens, & Barker, 2000; but see
                                                                                                                     DiPietro, Runyan, & Fredrickson, 1997; Keary & Fitzpatrick, 1994, who report
                                                                                                                     null gender findings). However, as Goodman-Brown et al. (2003) discuss, gender
                                                                                                                     differences in disclosure rates may be suppressed by other abuse-related variables
                                                                                                                     associated with gender (e.g., prior disclosure or relationship to perpetrator).
                                                                                                                          With regard to empirical findings on disclosure and ethnicity or race, Shaw,
                                                                                                                     Lewis, Loeb, Rosado, and Rodriguez (2001) found that Hispanic girls waited
                                                                                                                     longer to disclose (average delay ⫽ 19 months) than African American girls
                                                                                                                     (average delay ⫽ 9 months). This finding is consistent with the report that African
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                                                                                                                     American children received more maternal support to disclose abuse than did
                                                                                                                     Hispanic children (Rao, DiClemente, & Ponton, 1992). Although it has been
                                                                                                                     suggested that children raised with values typifying Eastern cultures (e.g., col-
                                                                                                                     lectivist values, preservation of family, etc.) may be more apt to conceal abuse
                                                                                                                     than children raised in Western cultures (e.g., Futa, Hsu, & Hansen, 2001; Rao et
                                                                                                                     al., 1992; Toukmanian & Brouwers, 1998; Wong, 1987), data are needed to
                                                                                                                     address this hypothesis. In short, there are reasons to suspect that members of
                                                                                                                     certain ethnic groups, as well as boys, may face additional and culture-specific
                                                                                                                     barriers to CSA disclosure. However, the studies that have examined children’s
                                                                                                                     disclosure patterns to date do not present a coherent canvas of the effects of
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                                                                                                                     demographic variables on abuse disclosure.
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                                                                                                                          Some researchers have examined the association of the abuse characteristics
                                                                                                                     and delay of disclosure. At times, when associations between abuse variables and
                                                                                                                     disclosure are reported, the researchers fail to provide adequate operational
                                                                                                                     definitions of the abuse variables. For example, as was the case with the retro-
                                                                                                                     spective studies, the data on “threats” are difficult to interpret because researchers
                                                                                                                     do not specify whether threats are defined tactics to gain the child’s compliance
                                                                                                                     during the commission of the assault or as tactics to scare the child into not
                                                                                                                     revealing the abuse. When clearly defined data on abuse characteristics do exist,
                                                                                                                     they are sparse and do not consistently support assumptions underlying the
                                                                                                                     CSAAS model. For example, Sas and Cunningham (1995) found that children
                                                                                                                     waited longer to disclose abuse when the perpetrator “groomed” them and
                                                                                                                     established a close relationship than if the perpetrator used force. Some research-
                                                                                                                     ers have found that children who are victims of familial abuse tend to delay
                                                                                                                     disclosure longer than those experiencing extrafamilial abuse (Goodman-Brown
                                                                                                                     et al., 2003; Sjöberg & Lindblad, 2002). However, these studies are exceptional
                                                                                                                     because the majority of studies we examined either failed to find such an
                                                                                                                     association or failed to report an association.
                                                                                                                          As the analyses of Goodman-Brown et al. (2003) demonstrated, the relation-
                                                                                                                     ship between delayed disclosure and abuse characteristics is mediated by a
                                                                                                                     complex interplay of variables. These researchers found that in a sample of 218
                                                                                                                     CSA cases referred for prosecution, older children and victims of familial abuse
                                                                                                                     tended to perceive that more negative consequences would result from disclosure,
                                                                                                                     which in turn was associated with the time taken to disclose. Goodman-Brown et
                                                                                                                     al. (2003) also found increased delays among children feeling responsible for the
                                                                                                                     abuse; additionally, older children were more apt than younger children to feel
                                                                                                                     responsible for the abuse. It is clear from the results of this study that future work
                                                                                                                     must focus on a multivariate model that attempts to provide a causal explanation
                                                                                                                     for the timing of disclosure. Note that none of the studies covered in this section
                                                                                                                     addressed issues concerning denial of abuse. These are addressed in the next
                                                                                                                     section.


                                                                                                                     Rates of Disclosure (Denial)
                                                                                                                         In this section, we review 16 articles that were published since 1990 that
                                                                                                                     contained statistics on the frequency of denial. These are listed in Table 2,
                                                                                                                     Column 4, in ascending order of disclosures. When relevant, we cite other studies
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Table 2
Disclosure and Recantation Rates From Child Clinic Studies
                                                                                                                 No. SSI
             Study                     n            Age (range)             Disclosing       Recantations       citations        Type of interview
Gonzalez et al. (1993)                  63     (2–12)                      24%                  27.0%                9       Therapy
Sorenson & Snow (1991)                 116     Mode ⫽ 6–9 (3–17)           25%                  22.0%              70        Therapy
Lawson & Chaffin (1992)                 28     M ⫽ 7.00                    43%                                     31        Social worker
Carnes et al. (2001)                   147     M ⫽ 6.00 (2–17)             45%                                  not listed   CSA team
B. Wood et al. (1996)                   55     M ⫽ 5.70 (6–11)             49%                                       2       CSA team
Bybee & Mowbray (1993)                 106     M ⫽ 5.60 (2–11)             58%                  11.0%                5       CPS and therapy records
Cantlon et al. (1996)                1,535     Mode ⫽ 4.00 (2–17)          61%                                       3       CSA team
Gries et al. (1996)                     96     M ⫽ 8.30 (3–17)             64%                  15.0%                2       CSA clinic
Stroud et al. (2000)                 1,043     M ⫽ 8.40 (2–18)             65%                                       1       CSA clinic
Gordon & Jaudes (1996)a                141     M ⫽ 6.40 (3–14)             74b                                       4       CSA team
DiPietro et al. (1997)                 179     M ⫽ 7.50 (1.4–22)           76% (47%)c                                4       CSA team
Dubowitz et al. (1992)                 132     M ⫽ 6.00 (⬍ 12)             83% (59%)c                              22        CSA clinic
Elliott & Briere (1994)                399     M ⫽ 11.03 (8–15)            85% (57%)c            9.0%              31        Clinician
DeVoe & Faller (1999)                   76     M ⫽ 6.80 (5–10)             87% (62%)c                                7       Social worker
Keary & Fitzpatrick (1994)             251     Mode ⫽ 6–10                 91% (50%)c                              16        CSA team
Bradley & Wood (1996)                  234     M ⫽ 10.00 (1–18)            96%c                  4.0%              16        CPS
Faller & Henry (2000)                  323     M ⫽ 11.70 (3–21)                                  6.5%                1       CPS/police
                                                                                                                                                            LONDON, BRUCK, CECI, AND SHUMAN




Note. SSI ⫽ Social Sciences Citation Index; CSA ⫽ child sexual abuse; CPS ⫽ Child Protective Services.
a
  We do not report Gordon and Jaudes’s (1996) “recantation” rate because the child was not interviewed under the same clinical watch, but
rather the first interview was a brief medical screening. Also, the authors include parents’ disclosures (i.e., as historian) in the base rate. bThis
rate is the percentage of children from the total sample disclosing during the investigative interview. The authors do not report the percentage
of disclosing during the investigative interview for substantiated cases. cDenotes studies based on cases classified as probable abuse cases;
the first disclosure rate is that of children classified as substantiated, high probability, and so forth, the second disclosure rate is for all children
examined, regardless of classification of abuse likelihood.
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                                                                                                                     that did not provide data on the rate of disclosure in their sample but that do shed
                                                                                                                     light on the correlates of disclosure.
                                                                                                                          Most of the studies listed in Table 2 involved “chart reviews” of children who
                                                                                                                     were interviewed by child protective services (CPS), mental health, or medical
                                                                                                                     professionals specializing in the assessment and treatment of sexual abuse (see
                                                                                                                     Table 2, Column 7, for the type of assessment in each study). Children presented
                                                                                                                     at these various settings for a variety of reasons that included a prior disclosure to
                                                                                                                     an adult, a suspicion of abuse by an adult or an agency, or the need for a second
                                                                                                                     opinion or more extensive interviewing. Thus, across and within studies, there is
                                                                                                                     often great variability in the methods by which children were interviewed, in the
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                                                                                                                     information collected, and in the procedures of diagnosing CSA. Furthermore, in
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                                                                                                                     some studies, as is later noted, researchers categorized the children according to
                                                                                                                     the likelihood of abuse (e.g., highly probable, unclear, or not abused); in other
                                                                                                                     studies, only children who met some prespecified criteria for abuse were included;
                                                                                                                     and in still other studies, the certainty of abuse status was not specified. For those
                                                                                                                     studies that categorized children by likelihood of abuse, the rates for substantiated
                                                                                                                     cases are presented first in Column 4 of Table 2.
                                                                                                                          The pooled mean of disclosures for studies listed in Table 2 is 64% (range ⫽
                                                                                                                     24%–96%), or the mean of denials is 36%. For reasons discussed below, however,
                                                                                                                     these figures should not be viewed as the best estimate of central tendency. We
                                                                                                                     focus on four factors that account for the enormous between-study variability in
                                                                                                                     disclosure/denial rates in order to highlight methodological and design factors that
                                                                                                                     need to be considered in evaluating the generalizability, validity, and reliability of
                                                                                                                     the findings in Table 2. These factors are age of the child, previous disclosure of
                                                                                                                     abuse, substantiation of abuse, and representativeness of the selected sample. We
                                                                                                                     conclude that when such factors are considered, mean denial rates are quite low
                                                                                                                     when children are explicitly asked about sexual abuse.
                                                                                                                          Developmental differences. The wide variation in the ages of the children,
                                                                                                                     both within and between studies (see Table 2, Column 3), could account for
                                                                                                                     differences in the rates of disclosure across studies. In order to examine this
                                                                                                                     hypothesis, age– denial associations were examined within studies. Although no
                                                                                                                     significant relationships between age and denial were found in two studies
                                                                                                                     (Bradley & Wood, 1996; DeVoe & Faller, 1999), the more common finding was
                                                                                                                     that school-aged children are more apt than preschoolers to disclose abuse during
                                                                                                                     formal evaluation. For example, B. Wood, Orsak, Murphy, and Cross (1996)
                                                                                                                     found that older children made more credible disclosures of abuse than younger
                                                                                                                     children.4 Similarly, DiPietro, Runyan, and Fredrickson (1997) found that older
                                                                                                                     children were more likely to disclose than younger children and that children
                                                                                                                     generally became more likely to disclose abuse after age 4. Keary and Fitzpatrick
                                                                                                                     (1994) conducted a chart review of 251 children assessed by a multidisciplinary
                                                                                                                     team at a CSA unit. Only 29% of children younger than 5 years disclosed during
                                                                                                                     the assessment, compared with 51%, 64%, and 67% of 6- to 10-year-olds, 11- to

                                                                                                                          4
                                                                                                                            B. Wood et al. (1996) defined a credible disclosure as one that “was adequate for use as
                                                                                                                     evidence in a future legal and/or child protection proceedings” (p. 84). The “not credible” category
                                                                                                                     included cases “where the child did not disclose, denied sexual abuse, refused to cooperate, provided
                                                                                                                     insufficient detail or was not believable” (p. 84). The authors did not cite the number of children
                                                                                                                     falling into each of the not credible subcategories.
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                                                                                                                     15-year-olds, and 16⫹ years, respectively. And finally, among foster children
                                                                                                                     receiving therapy for suspected CSA, children who disclosed abuse in the first
                                                                                                                     interview were likely to be older (M ⫽ 9.3 years) than were children who took two
                                                                                                                     sessions to disclose (M ⫽ 5.8 years) (Gries, Goh, & Cavanaugh, 1996). Thus, it
                                                                                                                     appears that different rates of disclosure/denial will be obtained depending on the
                                                                                                                     age levels of the children in the sample (see also Cantlon, Payne, & Erbaugh,
                                                                                                                     1996; Sas & Cunningham, 1995). Of course, these rates are only meaningful if all
                                                                                                                     the children in the sample were actually sexually abused—an issue that we
                                                                                                                     address later in this article.
                                                                                                                          There are several possible explanations to account for these developmental
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                                                                                                                     differences in children’s abuse disclosures. They could reflect the single influence
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                                                                                                                     or combined influences of linguistic, cognitive, and social– emotional factors.
                                                                                                                     Thus, younger children may not have the same linguistic skills to convey their
                                                                                                                     abuse experience, or younger children may not understand the “meaning” of
                                                                                                                     abusive acts and thus fail to make explicit disclosures. Studies that examine the
                                                                                                                     intent of children’s disclosing statements provide some data for this developmen-
                                                                                                                     tal hypothesis. These studies show that younger children are more likely to make
                                                                                                                     accidental disclosures, whereas older children are more likely to make purposeful
                                                                                                                     disclosures (Campis, Hebden-Curtis, & DeMaso, 1993; Fontanella, Harrington, &
                                                                                                                     Zuravin, 2000; Nagel, Putnam, Noll, & Trickett, 1997). That is, younger children
                                                                                                                     are more likely to make spontaneous statements about abuse that are not consis-
                                                                                                                     tent with the topic of conversation or of the ongoing activity (e.g., stating, while
                                                                                                                     watching TV, “Uncle Bob hurt my bottom”). In contrast, older children are more
                                                                                                                     likely to report the abuse to an adult when asked. Although the conclusions are
                                                                                                                     consistent across studies, the ages of the “younger” and “older” children are not
                                                                                                                     the same across studies. Thus, there is no objective age cutoff that can be inferred
                                                                                                                     from the literature.
                                                                                                                          A second possible explanation for developmental differences in rates of denial
                                                                                                                     is that there may be higher rates of true denials among younger than older
                                                                                                                     children. This hypothesis is based on several interrelated findings. Younger
                                                                                                                     children may be more likely than older children to be brought for assessment
                                                                                                                     because of their caregivers’ concerns about behaviors (rather than an abuse
                                                                                                                     disclosure) that often are ambiguous and do not necessarily reflect CSA (see
                                                                                                                     Campis et al., 1993; Fontanella et al., 2000; Levy, Markovic, Kalinowski, Ahart,
                                                                                                                     & Torres, 1995; Nagel et al., 1997). Thus, in any sample there may be a greater
                                                                                                                     proportion of younger nonabused children than of older nonabused children, and
                                                                                                                     the higher denial rates by younger children would then reflect a higher rate of
                                                                                                                     denial that are true negatives. For example, Keary and Fitzpatrick (1994) were
                                                                                                                     less likely to categorize younger children’s presentation as diagnostic of CSA
                                                                                                                     compared with that of the older children; in addition, the younger children were
                                                                                                                     less likely to disclose abuse. Unfortunately, these researchers did not present data
                                                                                                                     on age differences in denial rates among older versus younger children who were
                                                                                                                     classified as “founded” by the assessment team.
                                                                                                                          Although most of the data indicate that younger children may be less likely
                                                                                                                     to disclose than older children, upon closer investigation, there may also be
                                                                                                                     patterns specific to adolescents. At least among cases that reach authorities,
                                                                                                                     children are most likely to reveal the abuse to their primary caregiver (Campis et
                                                                                                                     al., 1992; Faller & Henry, 2000; Fontanella et al., 2000; Gray, 1993; Henry, 1997;
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                                                                                                                     Sas & Cunningham, 1995). However, adolescents may have a greater appreciation
                                                                                                                     of the consequences of disclosing intrafamilial abuse and thus withhold informa-
                                                                                                                     tion. It is also possible that they may not readily disclose extrafamilial abuse to
                                                                                                                     family members or to investigators because they feel it is a personal matter, or
                                                                                                                     they have already disclosed to peers, as noted in the retrospective studies reviewed
                                                                                                                     in the first part of this article. Hence, the rate of CSA disclosure to parents and
                                                                                                                     authorities may resemble an inverted U-pattern, with an increase in disclosure as
                                                                                                                     one moves from preschoolers to school-aged children, followed by an apparent
                                                                                                                     decrease as one moves into adolescence. There are, however, few data on
                                                                                                                     disclosure patterns in adolescence, and we must await these before drawing any
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                                                                                                                     definite conclusions. In addition, regardless of potential developmental differ-
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                                                                                                                     ences in disclosure patterns, it is highly likely (although not yet researched) that
                                                                                                                     different factors account for denial or disclosure at different age levels.
                                                                                                                          Prior disclosure of abuse predicts disclosure during formal assessment. The
                                                                                                                     studies included in Table 2 focus on children’s reports during forensic interviews
                                                                                                                     and psychotherapy. That is, the children in these studies were specifically brought
                                                                                                                     to a clinic, mental health professional, or law enforcement agency either because
                                                                                                                     they had previously made a claim of abuse or because there was a suspicion of
                                                                                                                     abuse that required further investigation. Thus, most of the children in each study
                                                                                                                     had been questioned by someone (e.g., teacher, parent) about abuse prior to the
                                                                                                                     formal interviews or therapy sessions. This fact is important because, as shown in
                                                                                                                     Table 3, the most significant predictor of disclosure in the formal interview is
                                                                                                                     whether the child had disclosed before (e.g., to a parent, a teacher, a CPS worker,
                                                                                                                     etc.). For example, Keary and Fitzpatrick (1994) reported that of the 123 children
                                                                                                                     who had made a prior disclosure, 86% disclosed again during the formal inter-
                                                                                                                     view; in contrast, only 14% of the 128 children with no prior disclosures disclosed
                                                                                                                     at interview.5 Similar patterns of results were found by Gries et al. (1996),
                                                                                                                     DiPietro et al. (1997), and DeVoe and Faller (1999).
                                                                                                                          This pattern of consistency of disclosure is most common in older children.
                                                                                                                     Among children who had disclosed prior to formal assessment, older children
                                                                                                                     were more likely than younger children to disclose again during formal assess-
                                                                                                                     ment (Keary & Fitzpatrick, 1994; see also Ghetti, Goodman, & Eisen, 2002).
                                                                                                                          In summary, several studies suggest that once children have made an abuse
                                                                                                                     disclosure, they are likely to maintain their allegations during formal assessments.
                                                                                                                     This finding suggests that if children have already told a professional or a
                                                                                                                     caretaker about an abusive event, then they are likely to repeat the disclosure in
                                                                                                                     a formal investigation. Discrepant cases (in which a child discloses before the
                                                                                                                     formal interview but denies at the time of the formal interview) represent a small
                                                                                                                     minority and may occur most commonly among very young children.
                                                                                                                          Abuse substantiation. The third and perhaps most important methodological
                                                                                                                     factor that accounts for variation in disclosure patterns across studies concerns the
                                                                                                                     validity of the diagnosis of CSA. In conducting studies of CSA disclosure

                                                                                                                          5
                                                                                                                            When children have made a prior allegation but do not repeat it during a formal investigation,
                                                                                                                     this should not be categorized as a recantation because it is possible that the child’s first allegation
                                                                                                                     was incorrect or misinterpreted, and the report during the formal investigation is accurate. In this
                                                                                                                     article, recantations are defined as statements that are made to the same assessment team who heard
                                                                                                                     the disclosure.
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                                                                                                                     Table 3
                                                                                                                     Rates of Disclosure During Forensic Interviews as a Function of Prior
                                                                                                                     Disclosure
                                                                                                                                                  % of children disclosing at   % of children disclosing at
                                                                                                                                                   formal interviews with       formal interviews with no
                                                                                                                                 Study                 prior disclosure              prior disclosure
                                                                                                                     DeVoe & Faller (1999)                    74                            25
                                                                                                                     DiPietro et al. (1997)                   77                             7
                                                                                                                     Keary & Fitzpatrick (1994)               86                            14
                                                                                                                     Gries et al. (1996)                      93                            40
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                                                                                                                     patterns, it is of utmost importance to ensure that the group under study had in fact
                                                                                                                     experienced CSA; otherwise, counts of frequency of delay to disclosure, denials,
                                                                                                                     recantations, and restatements are meaningless. That is, children may deny be-
                                                                                                                     cause they in fact never were abused; children may take a long time to disclose
                                                                                                                     because it is only with repeated suggestive interviewing that they will make
                                                                                                                     disclosures that are false; and children may recant in order to correct their prior
                                                                                                                     false disclosures.
                                                                                                                          In order to address problems of substantiation of abuse, some researchers
                                                                                                                     have classified children in the sample in terms of the likelihood of abuse having
                                                                                                                     occurred. Cases of suspected abuse that meet one or more of the following criteria
                                                                                                                     (depending on the study) are classified as substantiated abuse cases: perpetrator
                                                                                                                     convictions, plea bargains or confessions, medical evidence, other physical evi-
                                                                                                                     dence, and children’s statements. Although the use of such criteria is a good start,
                                                                                                                     it should be noted that there are problems with each. First, the accused may be
                                                                                                                     persuaded to accept a plea bargain because of the stress, financial burden, and
                                                                                                                     uncertain outcome of facing trial. Also, there are some accused who have been
                                                                                                                     falsely convicted despite the absence of direct evidence to prove child abuse, and
                                                                                                                     on appeal, their convictions have been overturned (Ceci & Bruck, 1995). Al-
                                                                                                                     though this may not be common, it does happen. Next, medical evidence is not
                                                                                                                     always an accurate indicator of abuse. In the statistically rare case in which genital
                                                                                                                     or anal abnormalities are found, similar abnormalities can sometimes be found
                                                                                                                     among nonabused children (Berenson et al., 1991). Finally, in terms of the studies
                                                                                                                     that are included in this article, the children’s statements at the time of formal
                                                                                                                     interview are used as indicators of abuse. But this is a circular exercise whereby
                                                                                                                     children who make spontaneous disclosures with much elaboration, for example,
                                                                                                                     are categorized in the “high-certainty” abuse group. The analysis of the disclosure
                                                                                                                     patterns of the high-certainty group indicates that the children disclosed sponta-
                                                                                                                     neously and/or with much elaboration (or did not deny).
                                                                                                                          Notwithstanding these problems with the use of certainty criteria, there must
                                                                                                                     be some reliable basis to categorize the children in studies of CSA disclosure, lest
                                                                                                                     the disclosure rates obtained merely reflect the overall responses of children
                                                                                                                     (abused and nonabused alike) who are assessed for sexual abuse. Keeping these
                                                                                                                     reservations in mind, we now review those studies that have examined disclosure
                                                                                                                     patterns as a function of the certainty of abuse diagnosis. We argue that, with a
                                                                                                                     few exceptions, high disclosure rates characterize those samples that contain
                                                                                                                     sexually abused children with high-certainty diagnoses, and low disclosure rates
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                                                                                                                     are associated with samples for which the diagnoses of abuse are either unknown
                                                                                                                     or questionable. If correct, then this conclusion bypasses the sundry assumptions
                                                                                                                     of models, such as the CSAAS, and in their place posits that children are found
                                                                                                                     to disclose least when their history of sexual abuse is least certain.
                                                                                                                          Referring to the studies listed in Table 2, the highest disclosure rates (76%–
                                                                                                                     96%) were obtained from those studies that focused on children with high-
                                                                                                                     certainty diagnoses of sexual abuse. Disclosure rates are greatly lowered in these
                                                                                                                     same studies when the data from the unsubstantiated or unclear cases are averaged
                                                                                                                     with the substantiated cases (see data in parentheses in Table 2, Column 4). Thus,
                                                                                                                     although only 62% of DeVoe and Faller’s (1999) entire sample of 5- to 10-year-
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                                                                                                                     olds disclosed abuse, when only substantiated cases are included, the disclosure
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                                                                                                                     rate rises to 87%. The overall rate of disclosure in the Keary and Fitzpatrick
                                                                                                                     (1994) study was 50%; however, when only the substantiated cases are included,
                                                                                                                     the rate was 95%. DiPietro et al. (1997) classified each of the children in their
                                                                                                                     sample who were assessed because of suspicions of CSA as unfounded, possible,
                                                                                                                     probable, or definitive abuse. Rates of disclosure during the first visit increased as
                                                                                                                     a function of abuse certainty, with 7%, 8%, 59%, and 76%, respectively, disclos-
                                                                                                                     ing. The overall disclosure rate in Dubowitz, Black, and Harrington (1992) was
                                                                                                                     58%; however, among their cases rated by an interdisciplinary team as holding
                                                                                                                     low to possible likelihood, the disclosure rate was only 19%, compared with the
                                                                                                                     disclosure rate of 83% for the moderate to high likelihood cases. Elliott and Briere
                                                                                                                     (1994) examined the case records of 399 8- to 15-year-olds who were seen at a
                                                                                                                     child sexual assault assessment center. Overall, 57% of the 399 cases disclosed
                                                                                                                     abuse, with 20 of these children later recanting. When only the 248 children who
                                                                                                                     were in the “abused” category were included in the calculation, the rate of
                                                                                                                     disclosure increased to 84%. It is interesting to compare the profiles of these
                                                                                                                     children with the 20% of the sample who were categorized as “unclear.” The latter
                                                                                                                     sample all made noncredible disclosures or noncredible denials of abuse. These
                                                                                                                     unclear children were more likely to be referred by a mandated reporter because
                                                                                                                     of a suspicion of abuse, more likely to be male, and more likely to exhibit
                                                                                                                     increased sexual acting-out behavior.
                                                                                                                          Returning to Table 2, studies that include cases without providing information
                                                                                                                     on their diagnostic certainty (in ascending order, Gordon & Jaudes, 1996; Stroud
                                                                                                                     et al., 2000; Gries et al., 1996) yield disclosure rates (61%–74%) that are lower
                                                                                                                     than those of the studies just discussed. In these studies, there is no other evidence
                                                                                                                     to confirm the abuse status of these children, and hence the disclosure rates of true
                                                                                                                     positive abuse cases are not ascertainable from the data.
                                                                                                                          Table 2 shows that the lowest rates of disclosure are provided by Sorensen
                                                                                                                     and Snow (1991) and Gonzalez et al. (1993). On the basis of our analysis of the
                                                                                                                     cases included in these studies, we conclude that these low rates reflect the
                                                                                                                     unreliable diagnoses of sexual abuse in these two studies. Because the Sorensen
                                                                                                                     and Snow study is most frequently cited as supporting the notion that sexually
                                                                                                                     abused children deny and recant (see Table 2, Column 6), it is important to
                                                                                                                     carefully review this study and the characteristics of the sample.
                                                                                                                          Sorensen and Snow (1991) selected 116 cases of confirmed CSA from a larger
                                                                                                                     sample of 633 children who were involved in CSA allegations from 1985 to 1989.
                                                                                                                     Sorensen and Snow reported that 72% of children denied abuse when first
                                                                                                                     questioned by either a parent or an investigative interviewer; only 7% of these
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                                                                                                                     deniers immediately moved into an “active disclosure” stage, which involved
                                                                                                                     detailed, coherent, first-person descriptions of the abuse. Seventy-eight percent
                                                                                                                     moved into a “tentative disclosure” stage, with partial, vague, or vacillating
                                                                                                                     disclosures of sexual abuse. Eventually, 96% of children made an active
                                                                                                                     disclosure.
                                                                                                                          There are several factors to be considered in interpreting these data. First, the
                                                                                                                     authors do not state the criteria by which they selected the 116 cases out of the
                                                                                                                     larger sample of 633. One needs some reassurance that the disclosure patterns of
                                                                                                                     this group were similar to that of the larger sample, assuming that the larger
                                                                                                                     sample also contained “confirmed” cases. Second, the children in this study were
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                                                                                                                     selected from the private psychological practice of the two authors, and most had
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                                                                                                                     been in therapy with Dr. Snow. Sorensen and Snow (1991) did not note how long
                                                                                                                     the children were in therapy or what type of therapeutic methods were used to
                                                                                                                     elicit these eventual disclosures, recantations, and re-disclosures. (For example, it
                                                                                                                     is unclear how forensically based these therapeutic interviews were, compared
                                                                                                                     with, say, the use of play therapy, empowerment enactments with dolls and props,
                                                                                                                     visualization exercises, or other techniques that have been shown to reduce a
                                                                                                                     child’s report accuracy.) This raises the issue that the reported patterns of
                                                                                                                     disclosure were consequences of the specific therapeutic practices (of the authors)
                                                                                                                     rather than of reflections of the manner in which children disclose abuse under
                                                                                                                     formal interviewing conditions. This raises the hypothesis that many of the
                                                                                                                     children in their sample may not have been abused (see Ceci & Bruck, 1995).
                                                                                                                          A glimpse of the authors’ clinical practices and cases can be gleaned from a
                                                                                                                     review of the social science and legal records. First, in 1990, Snow and Sorensen
                                                                                                                     (1990) published an article entitled “Ritualistic Child Abuse in a Neighborhood
                                                                                                                     Setting,” in which ritualistic abuse was defined as repetitive, bizarre sexual,
                                                                                                                     physical, and psychological abuse of children that included supernatural themes
                                                                                                                     and/or religious activities. Of the 575 cases of alleged child abuse in which the
                                                                                                                     authors served as therapists and/or evaluators between 1985 and 1988, 52 were
                                                                                                                     identified as ritualistic child abuse. Of the 52 children, 39 were allegedly abused
                                                                                                                     in a neighborhood setting. In a number of these cases, the children were first
                                                                                                                     brought in for therapy because of allegations of ritualistic abuse by a nonfamily
                                                                                                                     member; during the course of therapy, the children came to make the following
                                                                                                                     types of disclosures:
                                                                                                                            Cross-dressing, masks, and costumes (31%) included red and black robes, men’s
                                                                                                                            wearing of women’s erotic underwear and dresses, clowns and devil’s masks,
                                                                                                                            capes, and costumes such as a lion, bear, snake, witch, devil, Darth Vader,
                                                                                                                            vampires, skeleton, and leather loin cloths. The killing of children and infants was
                                                                                                                            identified by six children in four neighborhoods (15%). Thirteen percent of the
                                                                                                                            children said that they had participated in eating flesh. (Snow & Sorensen, 1990,
                                                                                                                            p. 483)

                                                                                                                         The disclosures resulted in trials and convictions of two adults. One of the
                                                                                                                     cases, State v. Hadfield (1990), was successfully appealed. In addition, five
                                                                                                                     adolescents from other neighborhoods were accused, three of whom were acquit-
                                                                                                                     ted, and two pleaded guilty.
                                                                                                                         There is a high probability that a number of the children classified as ritually
                                                                                                                     abused were included in Sorensen and Snow’s (1991) study, which sampled from
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                                                                                                                     the same but slightly smaller population that was described in their 1990 study. In
                                                                                                                     addition, because the accused in their neighborhood cases either made pleas or
                                                                                                                     were convicted, these cases met criteria for substantiated cases of abuse.
                                                                                                                          The problem with the inclusion of these types of cases into studies of
                                                                                                                     disclosure patterns is that there is no evidence to support the once popular belief
                                                                                                                     that ritualistic sexual abuse is common (see Nathan & Snedekor, 1995, for
                                                                                                                     examples). Numerous authorities have failed to find any physical evidence to
                                                                                                                     support the many allegations that have been made and that were the basis of many
                                                                                                                     of the multivictim, multiperpetrator criminal trials of the 1980s and early 1990s
                                                                                                                     (e.g., Lanning, 1991). Furthermore, it appears that the large proportion of reported
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                                                                                                                     cases of ritualistic abuse can be accounted for by the practices of a small minority
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                                                                                                                     of clinicians (Bottoms, Shaver, & Goodman, 1996; Lanning, 1991). Because
                                                                                                                     Sorensen and Snow diagnosed so many “ritually abused” children in their prac-
                                                                                                                     tice, this, by inference, leads to the possibility that these children’s allegations
                                                                                                                     were a product of the practices and beliefs of these clinicians. This information
                                                                                                                     would undermine the reliability of the results of the Sorensen and Snow (1991)
                                                                                                                     disclosure study, rendering them scientifically doubtful.
                                                                                                                          Reviews of the court records for two trials in which patients of Snow testified
                                                                                                                     about allegations of sexual abuse provide support for the view that the children’s
                                                                                                                     allegations were associated with biased suggestive interviewing practices:
                                                                                                                           Defendant offered several witnesses at trial who described the suggestive and
                                                                                                                           coercive interviewing techniques allegedly utilized by Dr. Snow and one police
                                                                                                                           officer who described how the children in Dr. Snow’s care were able to reproduce
                                                                                                                           specific information after he had suggested to Dr. Snow that such information
                                                                                                                           should be presented in their statements. (State v. Hadfield, 1990, p. 508)

                                                                                                                     On the basis of Snow’s testimony in State v. Bullock (1989), one of the judges in
                                                                                                                     the case concluded,
                                                                                                                           Indeed, Dr. Snow herself admitted that she used interrogation procedures that were
                                                                                                                           not intended to sift truth from error. She forthrightly admitted she was not a neutral
                                                                                                                           interviewer; rather she was “an ally for the child”, “biased”, and not a fact collector
                                                                                                                           like the police. . . . She also testified in effect that there was nothing in her methods
                                                                                                                           that served as a standard for determining the truthfulness of the stories she
                                                                                                                           produced by her interrogation. . . . But since she starts an interrogation with the
                                                                                                                           assumption that abuse occurred, she then proceeds to prove that point. . . . In short,
                                                                                                                           any claim that scientific principles or Dr. Snow’s own expertise and experience
                                                                                                                           validated her conclusions and procedures is devastatingly refuted by her own
                                                                                                                           statement, “I didn’t believe any of those kids when they told me it didn’t happen.”
                                                                                                                           (State v. Bullock, 1989, p. 175)

                                                                                                                         Given the nature of the “validated” cases in the Sorensen and Snow (1991)
                                                                                                                     sample, as well as in the apparently biased and suggestive interviewing/therapeu-
                                                                                                                     tic techniques, the results of the study are uninterpretable. The patterns of
                                                                                                                     disclosure may merely be characteristic of children who come to make false
                                                                                                                     allegations as a result of suggestion. This would explain why these children
                                                                                                                     originally denied having been abused (because they were telling the truth), why
                                                                                                                     they eventually disclosed (because they were pressured into making allegations),
                                                                                                                     and why they recanted (they wanted to restate the truth).
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                                                                                                                          The Gonzalez et al. (1993) study suffers from many of the same problems.
                                                                                                                     These authors examined the disclosure and recantation patterns of 63 children in
                                                                                                                     therapy for sexual and ritualistic abuse in day care facilities. Gonzalez et al.’s
                                                                                                                     source of data was the therapists’ retrospective accounts of the behavior they
                                                                                                                     reportedly saw in their child patients. They found that within the first 4 weeks of
                                                                                                                     therapy, 76% of the children had made vague disclosures (“bad things had
                                                                                                                     happened”)6; that by 8 weeks, 45% of the children had disclosed highly specific
                                                                                                                     terrorizing acts (killing of adults, children, and animals); and that by 20 weeks,
                                                                                                                     43% of the children had reported aspects of ritualistic abuse (organized cults).
                                                                                                                     However, for the same reasons that apply to the Snow and Sorensen (1990)
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                                                                                                                     article, the findings of this study are scientifically problematic. First, the children
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                                                                                                                     in this study were from the McMartin Preschool case and other cases that arose
                                                                                                                     in the community at the same time. The allegations in this case, which involved
                                                                                                                     claims of ritualistic abuse, arose after multiple highly suggestive interviews with
                                                                                                                     evaluators and therapists (see Nathan & Snedekor, 1995). At the time of their
                                                                                                                     study, the children had been in therapy on average for over 1 year. There was no
                                                                                                                     physical or corroborative evidence of abuse, and the charges in these cases were
                                                                                                                     eventually all dropped. The interviewing methods used by the children’s thera-
                                                                                                                     pists and evaluators have been documented elsewhere (e.g., Garven, Wood,
                                                                                                                     Malpass, & Shaw, 1998), and the scientific evidence now shows that these
                                                                                                                     methods can produce erroneous reports when used in interviews with children.
                                                                                                                     Thus, the patterns of disclosures made by children in the Gonzalez et al. study
                                                                                                                     may represent those of children who make false disclosures as a result of
                                                                                                                     suggestive interviewing practices.
                                                                                                                          Finally, the results of the Bybee and Mowbray (1993) study may be open to
                                                                                                                     the same criticism as detailed above. The participants in this study were all
                                                                                                                     involved in a Michigan day care case that involved multiple perpetrators. The case
                                                                                                                     eventually resulted in only one conviction, which was overturned on appeal.
                                                                                                                     Compared with the other studies in Table 2, disclosure rates were quite low; of the
                                                                                                                     106 children, 58% disclosed abuse.
                                                                                                                          Representativeness of selected sample. In order to examine the rates of
                                                                                                                     disclosure among sexually abused children who are questioned about abuse, the
                                                                                                                     sample in question not only should have substantiated diagnoses of sexual abuse
                                                                                                                     but also should not be selected on the basis of their preinterview disclosure
                                                                                                                     patterns. For example, it would be meaningless to examine disclosure patterns in
                                                                                                                     a sample of children who were selected because they had already disclosed abuse;
                                                                                                                     the results of this type of study would merely indicate the consistency of
                                                                                                                     children’s responses across time. Similarly, one would not want to study disclo-
                                                                                                                     sure rates of children who were selected for study because they had previously
                                                                                                                     denied abuse. The results of the latter type of study would only address the issue
                                                                                                                     of the degree to which deniers disclose sexual abuse with repeated interviewing.
                                                                                                                          Three studies in Table 2 (Carnes, Nelson-Gardell, Wilson, & Orgassa, 2001;
                                                                                                                     Lawson & Chaffin, 1992; B. Wood et al., 1996) reported the disclosure rates of

                                                                                                                           6
                                                                                                                           We present a disclosure rate of 24% in Table 2 because it seems that 76% of the children
                                                                                                                     merely said that “bad things had happened,” thus not making any claims of abuse. But the denial rate
                                                                                                                     could be higher if the remaining 24% clearly denied any wrongdoing.
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                                                                                                                     children who had not disclosed abuse during an initial interview. The Lawson and
                                                                                                                     Chaffin (1992) study is used to illustrate the point because this sample included
                                                                                                                     children with medical substantiations of sexual abuse; thus, the degree of abuse
                                                                                                                     certainty is high in this study. From a sample of over 800 children who tested
                                                                                                                     positive for a sexually transmitted disease (STD) at a large pediatric hospital,
                                                                                                                     cases that met the following criteria were selected: The presenting complaint was
                                                                                                                     solely physical; there was no prior disclosure or suspicion of abuse; the child was
                                                                                                                     older than 3 and premenarcheal. A sample of 28 girls met these criteria; their
                                                                                                                     mean age was 7 years, and most of the children were from minority households
                                                                                                                     without a father. These 28 children and their mothers were called back to the
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                                                                                                                     hospital after they tested positive for an STD. During this interview, the mothers
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                                                                                                                     were given the diagnosis for the first time and then were interviewed about sexual
                                                                                                                     abuse. Next, their daughters were interviewed by a trained social worker. Only
                                                                                                                     43% of the girls made an abuse disclosure during this initial interview.7 This rate,
                                                                                                                     however, is based on a very different population than sampled in other studies, in
                                                                                                                     which children were brought in either because of a suspicion or disclosure of
                                                                                                                     abuse. Rather, in the Lawson and Chaffin study, children were selected because
                                                                                                                     of their medical history and because they had not disclosed abuse. Because it is
                                                                                                                     not known how many of the 800 children in the larger sample had already
                                                                                                                     disclosed abuse, this subgroup of 28 children with no prior disclosure might
                                                                                                                     compose an unusual sample; that is, they may represent the small hard core of
                                                                                                                     children who do not disclose abuse when directly asked. If they are a small
                                                                                                                     minority, then these results are not generalizable to the entire population of
                                                                                                                     children with STDs. In addition, it should be remembered that very few children
                                                                                                                     who have been sexually abused have any physical symptoms or STDs, and thus
                                                                                                                     this sample again is not representative of the CSA population. There is a second
                                                                                                                     factor that is important to consider. In this study, when the children were called
                                                                                                                     back to the hospital, their mothers were first informed of the STD diagnosis of
                                                                                                                     their children. Children whose mothers accepted the possibility of abuse (the
                                                                                                                     parents were labeled as supportive) were more likely to disclose (63% of this
                                                                                                                     group disclosed), compared with children whose parents were not supportive and
                                                                                                                     did not believe their child had been abused (only 17% of these children disclosed).
                                                                                                                     Elliott and Briere (1994) also found a similar pattern of higher disclosure rates for
                                                                                                                     children with supportive mothers. Among children who disclosed abuse in their
                                                                                                                     sample, 78% had supportive mothers, whereas only 40% of nondisclosers had
                                                                                                                     supportive mothers. Thus, differences among studies might reflect the role of
                                                                                                                     parental support, which might be quite low when parents are first confronted with
                                                                                                                     the fact that their children were abused, as was the case in the Lawson and Chaffin
                                                                                                                     study.8
                                                                                                                          B. Wood et al. (1996) examined 55 videotaped interviews of children referred

                                                                                                                          7
                                                                                                                            In a follow-up study, Chaffin, Lawson, Selby, and Wherry (1997) located 5 of these 28
                                                                                                                     participants. Though not specifically asked about their children’s disclosure, four out of five mothers
                                                                                                                     spontaneously mentioned that the child disclosed CSA subsequent to this initial evaluation.
                                                                                                                          8
                                                                                                                            Although many mothers do not support their children’s disclosures of abuse, many are
                                                                                                                     supportive, especially if the defendant is an estranged husband or partner rather than a current one.
                                                                                                                     In many studies, the support rate is between 50% and 85% (see Lyon, 1999, notes 238 –239, for
                                                                                                                     details).
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                                                                                                                     by CPS to a multidisciplinary assessment center. All 55 children had been
                                                                                                                     interviewed previously by CPS or law enforcement officials and were included in
                                                                                                                     the study because they had not disclosed. Thus, the disclosure rate of 49% in
                                                                                                                     Table 2 is based on the percentage of children disclosing out of these 55 children
                                                                                                                     who had not previously disclosed during police or CPS interviews. Finally,
                                                                                                                     Carnes et al. (2001) reported that their sample of children undergoing extended
                                                                                                                     CSA assessment because of failure to initially disclose represented approximately
                                                                                                                     10%–15% of the total population presenting for assessment to the clinics in their
                                                                                                                     study. Thus, the results of this study, as well as the results of the B. Wood et al.
                                                                                                                     study, merely indicate the response patterns of children who had previously failed
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                                                                                                                     to disclose abuse during an initial assessment. Furthermore, although this is not
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                                                                                                                     the case for the Lawson and Chaffin (1992) study, there are no data on the number
                                                                                                                     of children in both the B. Wood et al. and the Carnes study who met acceptable
                                                                                                                     criteria for diagnosis of sexual abuse. Thus, children who did or did not disclose
                                                                                                                     with extra assessment may or may not have been abused.
                                                                                                                          Recantations. There are fewer studies on recantations than on denials or
                                                                                                                     disclosures of sexual abuse. All but one of eight studies that have examined this
                                                                                                                     issue (see Table 2, Column 5) also included information on disclosure rates. For
                                                                                                                     the one exception, Faller and Henry (2000) examined the recantation rates of
                                                                                                                     children who testified at trial about their sexual abuse. Thus, all these children had
                                                                                                                     made prior disclosures that were judged as credible by the prosecutors’ office.
                                                                                                                     Before reviewing the actual data of the studies, it is important to point out that
                                                                                                                     there could be two different interpretations of recantation. The first is that the
                                                                                                                     child is withdrawing a true statement of abuse. The second is that the child is
                                                                                                                     withdrawing a false allegation of abuse. The child’s underlying motivation for a
                                                                                                                     statement is unknowable in each study.
                                                                                                                          The recantation rates of the studies listed in Table 2 range from 4% to 27%.
                                                                                                                     Our analysis of the variability is very similar to that just carried out with respect
                                                                                                                     to the disclosure rates; namely, the highest rates of recantation are obtained for
                                                                                                                     studies that have the least certain diagnoses of sexual abuse. The two studies with
                                                                                                                     the highest recantation rates were those of Gonzalez et al. (1993) and Sorensen
                                                                                                                     and Snow (1991), in which the recantation rates were 27% and 22%, respectively.
                                                                                                                     Because of concerns about the actual abuse status of the children in these studies,
                                                                                                                     one might argue that these recantation rates reflect the number of children who
                                                                                                                     attempt to discredit their own previous false allegations by setting the record
                                                                                                                     straight.9 (In the Gonzalez et al. [1993] and Sorensen and Snow [1991] studies,
                                                                                                                     these attempts appeared to have failed, however, as the authors of both studies
                                                                                                                     reported that most of the children reinstated their earlier accusations.)
                                                                                                                          The lowest rates of recantation are obtained from samples that have the most
                                                                                                                     certain diagnoses of sexual abuse (4%: Bradley & Wood, 1996; 6.5%: Faller &
                                                                                                                     Henry, 2000; 9%: Elliott & Briere, 1994). The slightly higher rate of 15% reported
                                                                                                                     by Gries et al. (1996) is difficult to interpret because there is no information on
                                                                                                                     the number of children who were diagnosed as clear or unclear cases of abuse.

                                                                                                                           9
                                                                                                                          There were also issues concerning the validity of the sexually abused sample in Bybee and
                                                                                                                     Mowbray (1993), who reported a much lower recantation rate of 11%. Thus, recantation rates do not
                                                                                                                     necessarily have to be high for doubtful cases.
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                                                                                                                         Although our analysis shows that some children recant sexual abuse, the
                                                                                                                     results of this analysis show that recantation is uncommon among sexually abused
                                                                                                                     children. In fact, it shows just the opposite; that is, only a small percentage of
                                                                                                                     children in these studies recant.

                                                                                                                                                        Conclusions
                                                                                                                          We began this article by describing the popular view that sexually abused
                                                                                                                     children do not readily disclose their abuse and that even when they disclose, they
                                                                                                                     commonly recant such disclosures. Given how frequently these claims are made
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                                                                                                                     in the literature (as well as in proffered expert testimony), we sought to examine
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                                                                                                                     their scientific basis. A review of retrospective studies showed that most adults
                                                                                                                     with histories of CSA recall that they never told anyone about the abuse during
                                                                                                                     childhood. This pattern confirms the view that failure to disclose is common
                                                                                                                     among sexually abused children. However, these findings do not address the issue
                                                                                                                     of whether children will deny abuse or recant their disclosures when interviewed.
                                                                                                                     In order to examine these issues, it is necessary to study how sexually abused
                                                                                                                     children disclose abuse when asked directly. Because it is difficult if not impos-
                                                                                                                     sible to obtain accurate information if the first disclosure is made outside a formal
                                                                                                                     setting (e.g., to a parent, friend, or teacher), we have to rely on studies in which
                                                                                                                     children are questioned in formal investigative interviews. We identified 17
                                                                                                                     studies that contained relevant data and found that, when the analysis focused on
                                                                                                                     children with substantiated diagnoses of abuse and on children who have not been
                                                                                                                     subjected to the potentially suggestive techniques, most children do disclose abuse
                                                                                                                     within the first or second interview. Only a small minority of these children recant
                                                                                                                     their abuse reports. Even if analyses were broadened to include children with less
                                                                                                                     certain CSA diagnoses, in all but two studies, the majority of children disclosed
                                                                                                                     abuse when directly asked, and only a minority of them recanted their previous
                                                                                                                     disclosures.
                                                                                                                          One of the basic problems in interpreting the literature on children’s disclo-
                                                                                                                     sures of sexual abuse involves the issue of the validity of sexual abuse diagnosis.
                                                                                                                     As we stated above, in many of the cited studies, classification of abuse was often
                                                                                                                     based in part on children’s disclosures; consequently, the conclusion that abused
                                                                                                                     children do disclose abuse during formal interviews may be circular. However,
                                                                                                                     there is some evidence that shows that when children are classified as abused on
                                                                                                                     the basis of medical evidence or other nonchild factors (confession, material
                                                                                                                     evidence), most of these children do disclose abuse. For example, in the Elliott
                                                                                                                     and Briere (1994) study, there were 118 children involved in cases with external
                                                                                                                     evidence: 84% of these 118 children at one point disclosed abuse. In Dubowitz et
                                                                                                                     al. (1992), the finding that 83% of children disclosed abuse was based on the
                                                                                                                     calculation of the number of children with medical findings (but see Gordon &
                                                                                                                     Jaudes, 1996).
                                                                                                                          Although there are a number of studies to address issues of patterns of
                                                                                                                     disclosure, several overriding issues remain to be addressed. These issues focus
                                                                                                                     on the central theme of individual differences in rates of secrecy, denial, and
                                                                                                                     recantation. Specifically, although the data clearly demonstrate that most children
                                                                                                                     who are interviewed about sexual abuse do disclose and do not later recant, there
                                                                                                                     does exist a minority of children who fit the behavioral pattern that is put forth in
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                                                                                                                     the CSAAS model. The outstanding issues thus focus on the characteristics of
                                                                                                                     these children, and whether these children fit the psychological profiles of the
                                                                                                                     CSAAS model. For example, although Summit’s (1983) CSAAS model was
                                                                                                                     developed to explain why children may not disclose intrafamilial abuse, there are
                                                                                                                     few data on potential differences in disclosure patterns when the alleged abuse is
                                                                                                                     intrafamilial versus extrafamilial. Next, there needs to be a greater focus on
                                                                                                                     developmental differences in disclosure patterns. In many of the studies we
                                                                                                                     reviewed, children ranged in age from early preschool to late adolescence.
                                                                                                                     Clearly, it is not very informative to provide group means when age ranges are so
                                                                                                                     great. Studies are needed to examine potential developmental trends in loyalty to
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                                                                                                                     family and peers, reactions to fear, need for privacy, choice of confidants, and
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                                                                                                                     then to relate these factors to disclosure patterns in children of various ages.
                                                                                                                     Another important area concerns the potential role of threats, which plays a
                                                                                                                     central role in the CSAAS model. In this future research venture, it is crucial to
                                                                                                                     distinguish threats that were used to coerce the child into molestation from threats
                                                                                                                     that were used to secure the child’s silence. Finally, in most of the studies cited
                                                                                                                     in this article, there was little if any detailed information about how the children
                                                                                                                     were interviewed and the degree to which standardized and validated protocols
                                                                                                                     were used. In future studies, it would be important to compare the disclosure
                                                                                                                     patterns of children interviewed with current standardized interviews (e.g.,
                                                                                                                     Hunter, Yuille, & Harvey, 1990; Sternberg, Lamb, Esplin, Orbach, & Hershkow-
                                                                                                                     itz, 2002). If these protocols do in fact optimize the elicitation of reliable
                                                                                                                     statements from children, then the disclosure patterns produced by these instru-
                                                                                                                     ments would provide the most reliable data to test various hypotheses about the
                                                                                                                     disclosure patterns of sexually abused children and to explore the factors that
                                                                                                                     distinguish disclosers from nondisclosers.
                                                                                                                          The status of the scientific findings of disclosure patterns is of importance, not
                                                                                                                     only for diagnostic and assessment purposes but also for issues regarding the
                                                                                                                     interviewing of children. As mentioned above, the CSAAS has provided a basis
                                                                                                                     for experts to advocate that when children deny abuse when directly asked, then
                                                                                                                     they should be questioned further and even should be questioned suggestively
                                                                                                                     (e.g., Carnes, 2000; Faller & Toth, 1995; MacFarlane & Krebs, 1986). In order for
                                                                                                                     such practices to be empirically grounded, it is important to demonstrate first that
                                                                                                                     children will commonly deny abuse when questioned (thus calling forth the need
                                                                                                                     for special strategies), and, second, that the use of special strategies will lead to
                                                                                                                     accurate reports of abuse. The findings presented in this article address the first
                                                                                                                     issue only. The second issue has been addressed by a multitude of researchers in
                                                                                                                     the past decade (e.g., Ceci & Bruck, 1995; Ghetti & Goodman, 2001; Poole &
                                                                                                                     Lindsay, 2002; J. M. Wood & Garven, 2000). Professionals need to be aware that
                                                                                                                     although suggestive techniques may produce correct reports from otherwise silent
                                                                                                                     children, these same techniques, especially when used by biased interviewers,
                                                                                                                     entail a risk of producing false allegations (e.g., Bruck, Ceci, & Hembrooke,
                                                                                                                     2002; Poole & Lamb, 1998). Part of the bias may include the notion that when
                                                                                                                     children deny abuse, they must be pursued until they disclose their abuse;
                                                                                                                     however, as we demonstrated in this present article, the need for suggestive
                                                                                                                     interviewing is probably overestimated because denial of sexual abuse to profes-
                                                                                                                     sionals is not as rampant as previously suspected. Our analysis clearly shows that
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                                                                                                                     when children who have been abused are questioned in formal settings, they will
                                                                                                                     usually tell, obviating the need for suggestive questioning strategies.
                                                                                                                          We have provided a host of studies that fail to support the view that children
                                                                                                                     who are sexually abused most commonly deny abuse and frequently recant
                                                                                                                     disclosures. Nonetheless, we find that the strong and unqualified assertions
                                                                                                                     regarding the frequency of denials and recantations continue and are supported by
                                                                                                                     the most scientifically problematic of the many studies we examined (e.g.,
                                                                                                                     Gonzalez et al., 1993; Sorensen & Snow, 1991). For example, in some recent
                                                                                                                     reviews of the literature, we find the following statements: “It is appropriate to tell
                                                                                                                     the jury that accommodation frequently occurs among abused children, in order to
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                                                                                                                     disabuse the jury of misconceptions regarding about how children ought to
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                                                                                                                     behave” (Lyon, 2002, p. 110); “A review of the research on CSAAS clearly
                                                                                                                     supports the conclusion that a substantial proportion of abused children exhibit
                                                                                                                     accommodation” (Lyon, 2002, p. 132)10; “Furthermore, research reveals that
                                                                                                                     disturbing numbers of children deny their sexual victimization even in the face of
                                                                                                                     compelling evidence to the contrary” (Paine & Hansen, 2002, p. 290); and
                                                                                                                     “Investigations of abuse have frequently been impeded when children fail to
                                                                                                                     disclose abuse, deny abuse that has occurred, or recant a prior disclosure” (Paine
                                                                                                                     & Hansen, 2002, p. 272).
                                                                                                                          Moreover, even when researchers themselves find low rates of denials or
                                                                                                                     recantations, they still maintain that these are consistent with the popular view.
                                                                                                                     For example, although Elliott and Briere (1994) found high rates of disclosure and
                                                                                                                     low rates of recantation, they concluded their article with the following: “Con-
                                                                                                                     sistent with Sorensen and Snow’s (1991) data, the present results suggest that
                                                                                                                     disclosing sexual abuse is more an ongoing process than a single event” (Elliott
                                                                                                                     & Briere, 1994, p. 274).
                                                                                                                          The courts have a long history of grappling with how to handle expert
                                                                                                                     testimony regarding characteristics of sexually abused children. In most cases,
                                                                                                                     when courts have permitted expert testimony concerning CSAAS, they have not
                                                                                                                     carefully scrutinized its scientific basis. Instead, they have relied on the unsub-
                                                                                                                     stantiated assurances of the proffering expert (as exemplified in the above quo-
                                                                                                                     tations) or the acceptance of CSAAS by other courts (e.g., State v. Edelman,
                                                                                                                     1999). As shown above, this reliance can result in experts providing incorrect
                                                                                                                     opinions. In recognizing that it makes no sense to accept that an assertion is
                                                                                                                     scientifically grounded “just because somebody with a diploma says it is so”
                                                                                                                     (United States v. Ingham, 1995, p. 226), Daubert v. Merrell Dow Pharmaceuti-
                                                                                                                     cals, Inc. (1993) and its progeny in the federal and state courts have directed trial
                                                                                                                     judges to assume the role of gatekeeper and, as such, to examine the relevance and
                                                                                                                     reliability of all proffers of expert testimony. In this role, trial judges are directed
                                                                                                                     to consider falsifiability, error rates, publication, peer review, and general accep-
                                                                                                                     tance. In other words, the expert testimony must “rest on a reliable foundation . . .”
                                                                                                                     (Daubert v. Merrell Dow Pharmaceuticals, Inc., 1993, p. 2799; see also General
                                                                                                                     Electric Co. v. Joiner, 1997). Daubert standards hold for scientific as well as
                                                                                                                     nonscientific experts (Kumho Tire Company Ltd. v. Carmichael, 1999).

                                                                                                                         10
                                                                                                                            See Lyon, 2002, p. 109, for Lyon’s operational definition of child sexual abuse
                                                                                                                     accommodation.
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                                                                                                                          According to these testimonial standards, the only component of the CSAAS
                                                                                                                     that has empirical support is that delay of abuse disclosure is very common.
                                                                                                                     However, the probative value of expert testimony on delayed disclosure, whether
                                                                                                                     for evidentiary or rehabilitative reasons, is undetermined; some evidence suggests
                                                                                                                     that knowledge about delay of disclosure is within the ken of the jury, perhaps
                                                                                                                     therefore obviating the need for expert evidence on the issue of delay. Gray (1993)
                                                                                                                     surveyed a sample of adults from the general public and a sample of jurors
                                                                                                                     regarding whether they agreed that delayed disclosure was common among
                                                                                                                     abused children ranging from 1 (strongly agree that delay is common) to 6
                                                                                                                     (strongly disagree). They found that the general public had a mean rating of 2.3,
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                                                                                                                     and jurors had a mean rating of 1.7, suggesting that laypeople tend to believe that
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                                                                                                                     delayed disclosure is common. Presently, there is insufficient evidence to con-
                                                                                                                     clude whether expert testimony on delayed disclosure meets the Daubert standard
                                                                                                                     of possessing probative value for jurors.
                                                                                                                          The research on denial and recantation shows that when directly questioned
                                                                                                                     in a formal setting, only a small percentage of abused children demonstrate these
                                                                                                                     behaviors. In terms of Daubert’s concern with error rate, our review of the
                                                                                                                     literature revealed that there was high variability in specific behaviors across
                                                                                                                     studies and that in some cases, the reported rates were inaccurate, reflecting
                                                                                                                     methodological flaws of the study. In summary, there is no convincing evidence
                                                                                                                     that CSAAS testimony on denial or recantation provides relevant or reliable
                                                                                                                     assistance to the fact finder to assess allegations of CSA.
                                                                                                                          Our intention in writing this article was to examine the empirical basis of
                                                                                                                     professional and lay opinions about disclosure patterns of CSA. In so doing, we
                                                                                                                     found that, although there was much support for the silence/secrecy stage of the
                                                                                                                     accommodation syndrome, most of the evidence failed to provide empirical
                                                                                                                     support for the rest of the model. In order to clearly present these conclusions, it
                                                                                                                     was necessary to dissect the methodological sections of each study and to point
                                                                                                                     out major problems when these occurred. It was also our intent to provide the
                                                                                                                     readers with a host of other studies that provided relevant data that were not prone
                                                                                                                     to the same or as many methodological weaknesses. We believe that child abuse
                                                                                                                     professionals should be aware of this information and incorporate it into their
                                                                                                                     clinical practice as well as into their expert courtroom testimony. If the field is to
                                                                                                                     be guided by scientifically validated concepts, then this must be predicated on the
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